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                    EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                 Plaintiffs,                    )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                    Defendant.                  )
                                                )


          DECLARATION OF DALE E. HO IN SUPPORT OF PLAINTIFFS’
       APPLICATION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES



       I, Dale E. Ho, declared under penalty of perjury that the following is true and correct:

       1.      The national American Civil Liberties Union (“ACLU”), the ACLU of Kansas

(“Kansas ACLU”), and Dechert LLP, were retained in 2015 to represent Plaintiffs in the above-

captioned matter.

       2.      The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit,

nonpartisan organization with approximately 2,000,000 members and supporters nationwide,

dedicated to defending the principles embodied in the Constitution and our nation’s civil rights

laws. The ACLU Foundation is a national nonprofit organization under section 501(c)(3) of the

Internal Revenue Code and educates the public about civil liberties and employs lawyers who

provide legal representation free of charge in cases involving civil liberties. The ACLU Voting

Rights Project was established in 1965 – the same year that the historic Voting Rights Act (VRA)

was enacted – and has litigated more than 300 cases since that time, including numerous voting
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rights cases in the U.S. Supreme Court, such as: Trump v. New York, 141 S. Ct. 530 (2020);

Department of Commerce v. New York, 139 S. Ct. 2551 (2019); Ohio A. Philip Randolph Institute

v. Husted, 138 S. Ct. 1833 (2018) (NVRA case); Shelby County, Alabama v. Holder, 570 U.S.

529 (2013); Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1 (2013) (NVRA case);

Northwest Austin Municipal Utility District No. One v. Holder, 557 U.S. 193 (2009); Crawford v.

Marion County Election Bd., 553 U.S. 181 (2008); and Abrams v. Johnson, 521 U.S. 74 (1997).

   3. Over the years, the ACLU Voting Rights Project has represented plaintiffs in jurisdictions

around the country bringing lawsuits to enforce the National Voter Registration Act, 52 U.S.C.

20501 et seq. (“NVRA”), the statute governing this case, including Arizona v. Inter Tribal

Council of Arizona, supra; Ohio A Philip Randolph Institute v. Husted, supra; Common Cause v.

Lawson, 937 F.3d 944 (7th Cir. 2019); League of Women Voters of California v. Kelly, No. 17-

CV-02665-LB, 2017 WL 3670786 (N.D. Cal. Aug. 25, 2017); and Georgia State Conference of

N.A.A.C.P. v. Kemp, 841 F. Supp. 2d 1320 (N.D. Ga. 2012).

       4.      The Kansas ACLU is the national ACLU’s statewide affiliate in Kansas. The

Kansas ACLU, based in Overland Park, KS, has a local presence in the state, with over 30,000

members statewide. Kansas ACLU attorneys have extensive experience practicing in Kansas

federal and state courts on a range of constitutional issues, including voting rights litigation.




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A.     Requested Attorneys’ Fees

Qualifications of ACLU Staff Working on the Case

       5.      In this section I will describe the qualifications and expertise of the staff of the

ACLU Voting Rights Project for whose time we seek to collect fees.

       6.      I am, and have been since May 2013, the director of the ACLU Voting Rights

Project. I served as lead counsel throughout this case. I set overall strategy for the case; argued

the motion for a preliminary injunction before this court and the Tenth Circuit; participated in

discovery, including taking and defending numerous depositions; examined an expert witness and

cross-examined two expert witnesses at trial; gave the opening statement and summation; argued

the appeal of the final judgment in the Tenth Circuit; and served as counsel of record in briefing

before the U.S. Supreme Court. My qualifications and expertise as of May 7, 2018 were

summarized in a previous filing before this court. See Doc. 529-1 at 3-6. More recent information

regarding my qualifications as an attorney is listed below.

            a. Since final judgment was rendered, I argued the appeal of this case before the Tenth

               Circuit, Fish v. Kobach, 957 F.3d 1105 (10th Cir. 2020) (affirming final judgment).

            b. I recently served as lead counsel in two cases that I argued before the United States

               Supreme Court: Department of Commerce v. New York, 139 S. Ct. 2551 (2019)

               (successfully challenging the inclusion of a citizenship question in the 2020 Census

               questionnaire); and Trump v. New York, 141 S. Ct. 530 (2020) (challenging the

               exclusion of undocumented immigrants from the census count used to apportion

               the House of Representatives).

            c. In 2019 I received the National Asian Pacific American Bar Association President’s

               Award. In 2020, I received the Asian Law Alliance Legal Impact Award.



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        7.      R. Orion Danjuma is a staff attorney at ACLU, and has served in that capacity

since 2015. Mr. Danjuma played a significant role in this case throughout the litigation from its

inception. He participated significantly in the discovery process; defended multiple depositions;

drafted multiple motions; prepared for and argued a motion for partial summary judgment;

examined an expert witness and a fact witness at trial; contributed to the drafting of the proposed

findings of fact; reviewed and revised the Tenth Circuit brief; participated in moot for oral

argument before the Tenth Circuit; and contributed to the brief in opposition to Defendant’s

petition for a writ of certiorari, among other things. Mr. Danjuma graduated from Stanford Law

School in 2010. His qualifications and expertise as of May 7, 2018 were summarized in a previous

filing before this court. See Doc. 529-1 at 7.

        8.      Sophia Lin Lakin is, and has been since February 2020, the deputy director of

the ACLU Voting Rights Project. Prior to becoming the deputy director, she was a staff attorney

with the Voting Rights Project, a position she had held since 2016. Ms. Lin Lakin played a

significant role in this case throughout the litigation. She participated significantly in the

discovery process; defended multiple depositions; drafted multiple motions; examined an expert

witness and a fact witness at trial; assisted in the preparation of other witnesses at trial;

contributed to the drafting of the proposed findings of fact; reviewed and revised the Tenth

Circuit brief; participated in moot for oral argument before the Tenth Circuit; and contributed to

the brief in opposition to Defendant’s petition for a writ of certiorari, among other things. Ms.

Lin Lakin graduated from Stanford Law School in 2012. Her qualifications and expertise as of

May 7, 2018 were summarized in a previous filing before this court. See Doc. 529-1 at 8. More

recent information regarding her qualifications as an attorney is listed below.




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            a. Ms. Lin Lakin recently served as lead counsel in a case in which she argued

               before the Missouri Supreme Court twice. Missouri State Conference of the

               NAACP v. Missouri, 607 S.W.3d 728 (Mo. 2020) (en banc) (challenging the in-

               person notary requirement for mail-in and absentee ballots during the COVID-19

               pandemic).

            b. Since final judgment was entered in this case, she has been admitted to practice in

               the U.S. Court of Appeals for the Seventh Circuit (2018) and U.S. Court of

               Appeals for the Third Circuit (2020).

       9.      Emily Rong Zhang was a legal fellow with the ACLU from 2017 to 2019, and

served as a member of the trial team in this matter. Ms. Zhang joined the litigation team for

purposes of trial, and played a significant role at trial. She examined an expert witness at trial;

assisted in the preparation of other witnesses and cross-examination outlines for trial; and

contributed to the drafting of the proposed findings of fact, among other things. Her

qualifications and experience are set forth below:

            a. She is a 2016 graduate of Stanford Law School.

            b. She has been admitted to the practice of law since December, 2017.

            c. She is admitted to practice in the following federal courts:

                    i. U.S. District Courts for the Southern District of New York (2018).

                   ii. U.S. Courts of Appeals for the Sixth Circuit (2019).

            d. Her voting rights matters have included: Ohio A. Philip Randolph Institute v.

               Householder, 360 F. Supp. 3d 681 (S.D. Ohio 2018) (challenging the Ohio

               congressional map as an unconstitutional partisan gerrymander); and League of




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                Women Voters of New York v. New York State Board of Elections, 2020 WL

                5745625 (N.Y.A.D. 1 Dept. Sep. 25, 2020).

             e. Her voting rights-related publications include: Blurred Lines: Conjoined

                Polarization and Voting Rights, 77 OHIO ST. L. REV. 867 (2016) (with co-author);

                A Reasonable Bias Approach to Gerrymandering: Using Automated Plan

                Generation to Evaluate Redistricting Proposals, 59 WM. & MARY L. REV. 1521

                (2018) (with co-authors); New Tricks for an Old Dog: Felon Disenfranchisement

                and Voter Confusion, 84 MO. L. REV. 1037 (2019).

       10.      The number of attorneys’ hours spent on this case was minimized because of the

assistance of ACLU support staff, including paralegals and law clerks. Plaintiffs seek

reimbursement for time spend on this case by other ACLU paralegals Lila Carpenter and Molly

Rugg at a rate of $110.00 per hour.



Qualifications of Kansas ACLU Staff Working on the Case

       11.      The Kansas ACLU is the national ACLU’s statewide affiliate in Kansas. The

Kansas ACLU, based in Overland Park, KS, has a local presence in the state, with over 30,000

members statewide. Stephen Douglas Bonney, the former Legal Director of the Kansas ACLU,

has extensive experience practicing in Kansas federal and state courts on a range of

constitutional issues, including voting rights litigation. Mr. Bonney played a significant role in

this case throughout the litigation, and participated in it since its inception. Throughout the

proceedings, Mr. Bonney helped develop legal strategy, and edited briefs. Mr. Bonney

participated significantly in the discovery process; examined a fact witness at trial; assisted in the

preparation of other witnesses at trial; and contributed to the drafting of the proposed findings of



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fact, among other things. Mr. Bonney’s qualifications and expertise as of May 7, 2018 were

summarized in a previous filing before this court. See Doc. 529-1 at 11-12.



Summary and Calculation of Attorney’s Fees

       12.      Below is a table summarizing all the time for which the Plaintiffs are seeking fees

in connection with this matter (minus time dedicated to a motion for contempt, for which this Court

has already awarded fees, see Doc. 554):

                                   Billable Hours

                              Time
  Name (position)             Spent     Hourly Rate* Billable Amount
  Dale Ho (attorney)            1,333.3 $     500.00       $666,650.00
  Doug Bonney (attorney)          311.7 $     500.00       $155,850.00
  R. Orion Danjuma (attorney)   1,907.6 $     250.00       $476,900.00
  Sophia Lin Lakin (attorney)   1,310.8 $     240.00       $314,592.00
  Emily Rong Zhang (attorney)     228.8 $     195.00        $44,616.00
  Molly Rugg (paralegal)           88.2 $     110.00          $9,702.00
  Lila Carpenter (paralegal)      593.5 $     110.00        $65,285.00
                                                SUM:     $1,733,595.00


       13.      The hours and rates being claimed by ACLU timekeepers, with billing judgement

exercised, are reasonable for successfully prosecuting this matter.

       14.      Hours.

             a. ACLU Attorneys’ and paralegals’ time records were kept contemporaneously with

                the work performed. The claimed amount for litigation work summarized in the

                chart above is the total lodestar amount—determined by multiplying the rate per

                hour by the hours each attorney or paralegal reasonably and necessarily worked

                on this litigation. As detailed in Plaintiffs memorandum in support of Motion for



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      Attorneys’ Fees, Experts’ Fees and Expenses, the rates reflect the usual and

      customary rate for attorneys with a comparable experience level and specialized

      skill in the Kansas City market.

   b. I have attached the detailed time records for each ACLU timekeeper as

      Attachments 1 (Ho), 2 (Bonney), 3 (Danjuma), 4, (Lin Lakin), 5 (Zhang), 6

      (paralegal Rugg), and 7 (paralegal Carpenter)

   c. One step I took to exercise billing judgment was to exclude the hours of several

      staff members who each individually spent fewer than 50 hours on this case. This

      included a number of senior litigators who supervised work on this matter,

      including:

          i. Supervisors at the ACLU National office: David Cole, the Legal Director of

             the ACLU, and Cecillia Wang, a Deputy Legal Director, who together

             contributed more than 15 hours to drafting, revising, and commenting on

             the brief in opposition to certiorari in the U.S. Supreme Court. Mr. Cole

             and Ms. Wang have significant experience practicing before the United

             States Supreme Court, and together have argued seven cases before the

             Supreme Court, most recently Bostock v. Clayton County, 140 S. Ct. 1731

             (2020), which established that Title VII of the Civil Rights Act protects

             employees against discrimination because of their sexual orientation or

             gender identity (Cole); and Nielsen v. Preap, 139 S. Ct. 954 (2019) (Wang).

          ii. Other ACLU National Staff, including Jenessa Calvo-Friedman, a 2014

             graduate of Georgetown Law Center, who contributed more than 25 hours

             to the brief in opposition to certiorari before the U.S. Supreme Court; as



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                   well as several support staff, including the special assistant to the Legal

                   Director (who specialized in Supreme Court practice) and paralegals, who

                   collectively contributed more than 30 hours of work to Supreme Court

                   briefing.

             iii. ACLU of Kansas staff who worked on the appeal of this matter before the

                   Tenth Circuit, including Lauren Bonds, who succeeded Mr. Bonney as

                   Legal Director of the Kansas ACLU, and Zal Schroff, a 2017 graduate of

                   Columbia Law School. Together, they contributed more than 15 hours of

                   work to this case, in particular on briefing and assisting in preparation for

                   oral argument for the appeal of final judgment before the Tenth Circuit.

             iv. The work of the above-named staff contributed substantially to the

                   successful resolution of this matter. Nonetheless, in an exercise of billing

                   judgment, I have excluded their time from this petition for attorneys’ fees.

       d. A second step I took to exercise billing judgment was to exclude travel time.

       e. A third step ACLU attorneys took to keep costs low was to ensure that as much

          work as possible was performed by qualified attorneys with lower hourly billing

          rates—instead of more experienced attorneys who charge higher fees—or by

          support staff and legal interns.

 15.      Rates.

       a. Each attorney seeks fees at rates that are well-within the range for attorneys of

          comparable skill and experience in the Kansas City-area market.

       b. In particular, this Court has already approved the requested rates for attorneys




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                Danjuma, Lin Lakin, and for paralegals. See Doc. 554. 1

            c. As set forth in Plaintiffs’ Memorandum in support of their request for attorneys’

                fees, the requested rates for other attorneys are consistent with what this Court

                previously ordered for attorneys with comparable experience, and are well-within

                the usual and customary rates in the Kansas City area.

     16. In addition to the lodestar methodology described in the Memorandum in Support of the

Motion for Attorneys’ Fees and Expenses, this Court is authorized to consider the additional

factors outlined in that Memorandum in concluding that our requested awards are appropriate.

Prosecuting this case involved a thorough factual investigation, multiple efforts to resolve this

issue outside of litigation, preliminary injunction proceedings with live testimony followed by an

appeal; a seven-day trial featuring 21 witnesses, and proposed findings of fact and conclusions of

law, resulting in a 118-page opinion by this court, followed by another appeal, and a petition for

a writ of certiorari.




B.      Reasonable Litigation Expenses and Costs

     17. Plaintiffs are also claiming $243,951.65 in costs and expenses for ACLU attorneys’ travel

costs associated with the contempt motion and hearing. A table summarizing the claimed taxable

and non-taxable costs is attached as Attachment 8 to this declaration. This does not include

expenses incurred by co-counsel Dechert LLP.




1
 While the rates sought for attorneys Danjuma and Lin Lakin are lower than what
Plaintiffs believe may be justified for attorneys of their experience, they are consistent
with what this Court previously authorized for them. See Doc. 554 (setting rates of
$250/hour and $240/ hour, respectively, for Danjuma and Lin Lakin.)
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       18.     These expenses were reasonably incurred in the course of providing effective

representation to the Plaintiffs, and Plaintiffs’ counsel made appropriate efforts throughout the

litigation to reduce unnecessary expenses.



C.     Compliance with Local Rule 54.2

       19.     Pursuant to Local Rule 54.2, on December 29, 2020, counsel for Plaintiffs in the

related action Bednasek v. Schwab, Case No. 15-9300 contacted Defendant’s counsel via email to

schedule a consultation regarding this request for attorneys’ fees. Plaintiffs’ counsel in Bednasek

contacted Defendant’s counsel again on January 5, 2021, offering various times and dates to meet.

Counsel for Defendant ultimately indicated that they would be willing to confer after they have

reviewed Plaintiffs’ request and supporting documentation.

       20.     Accordingly, Plaintiffs are filing this motion now to meet the deadline as set forth

in this Court’s Order dated July 2, 2018 (Doc. 546) and to provide Defendant’s counsel with the

information that they have seek before consulting with Plaintiffs’ counsel. Defendant’s counsel

have agreed to confer with Plaintiffs’ counsel on February 8, after which Plaintiffs’ counsel will

file the requisite certification in accordance with Local Rule 54.2(c)-(d) if necessary.



I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.



Dated: January 28, 2021.



                                               _/s/ Dale Ho________________
                                                DALE E. HO




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               ATTACHMENT 1
                 TO EXHIBIT A
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                                                    Fish v. Kobach, No. 16-2105
                                                   Dale E. Ho: 2015 - 2021 Hours

Project/Time entry                                                                 Start date Time (h)     Time (decimal)
Case management, drafting to do list, revising notice letter                         11/3/2015     1:45:00            1.75
Call w/ Co-Counsel                                                                  11/11/2015     1:15:00            1.25
Prep for Team Meeting                                                               11/16/2015     1:00:00            1.00
Team Meeting                                                                        11/16/2015     2:15:00            2.25
Revise Notice Letter                                                                11/18/2015     0:10:49            0.18
Revise Notice Letter                                                                11/18/2015     0:39:49            0.66
Drafting litigation plan and team assignments                                       11/18/2015     0:49:09            0.82
Revise Notice Letter                                                                11/18/2015     0:40:45            0.68
Revise notice letter                                                                11/20/2015     0:15:00            0.25
Call w/ potential clients                                                            12/4/2015     0:35:53            0.60
Draft retainer, notice letter                                                        12/7/2015     0:14:11            0.24
Draft retainer, notice letter                                                        12/8/2015     0:40:21            0.67
Draft retainer, notice letter                                                        12/8/2015     0:18:00            0.30
Emails re suspense list                                                             12/10/2015     0:41:30            0.69
Review lit memo; revise complaint                                                   12/10/2015     4:42:00            4.70
Revise Complaint                                                                    12/11/2015     3:50:00            3.83
Revise Complaint                                                                    12/11/2015     4:00:00            4.00
Revise Complaint                                                                    12/12/2015     4:00:00            4.00
Revise Complaint                                                                    12/13/2015     1:13:00            1.22
Revise notice letter; draft to do list                                              12/16/2015     1:12:00            1.20
Team Call                                                                           12/16/2015     0:42:00            0.70
Update To Do List; circulate documents                                              12/16/2015     0:10:25            0.17
Meeting re experts and PI                                                           12/17/2015     1:03:00            1.05
Team call                                                                           12/23/2015     0:45:00            0.75
Revise complaint and pi motion                                                        2/5/2016     8:00:00            8.00
Meeting to discuss PI memo                                                            2/8/2016     0:30:00            0.50
Revise PI Memo                                                                        2/8/2016     0:14:54            0.25
Revise Class Cert Motion                                                             2/12/2016     1:00:00            1.00
Revise Complaint                                                                     2/12/2016     1:00:00            1.00
Meeting re: POC next steps                                                           2/16/2016     0:30:00            0.50
Revise PI Brief                                                                      2/16/2016     2:00:00            2.00
Revise Class Cert, PI Briefs                                                         2/17/2016     1:29:44            1.50
Team Call                                                                            2/17/2016     0:45:38            0.76
Revise PI Brief                                                                      2/17/2016     0:47:00            0.78
Revise PI Brief                                                                      2/17/2016     0:49:55            0.83
Revise Complaint                                                                     2/17/2016     0:36:51            0.61
Revise Complaint                                                                     2/17/2016     2:00:00            2.00
FInalize, file complaint; discuss expert reports                                     2/18/2016     2:19:00            2.32
Review consolidation motion; expert reports                                          2/19/2016     1:00:05            1.00
Organize to-do list                                                                  2/22/2016     0:02:33            0.04
Revise expert reports                                                                2/22/2016     2:30:49            2.51
Discuss Expert Report                                                                2/22/2016     0:21:33            0.36
Client Call                                                                          2/24/2016     0:15:00            0.25
Agenda for team meeting                                                              2/24/2016     0:15:00            0.25
Team Call                                                                            2/24/2016     0:44:41            0.74
Call w/ other Plaintiffs' Counsel, meeting to discuss PI motion                      2/24/2016     0:55:31            0.93
Comments for expert reports                                                          2/24/2016     1:00:00            1.00
Revise PI Brief                                                                      2/25/2016     3:10:23            3.17
Schedule for filing; revise PI                                                       2/25/2016     0:40:50            0.68
Revise response to consolidation                                                      3/1/2016     1:00:00            1.00
Team Call                                                                             3/2/2016     1:05:01            1.08
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Draft case management email; discovery topics                                      3/2/2016    0:36:15    0.60
Work checklist                                                                     3/2/2016    0:12:00    0.20
Outline discovery requests                                                         3/2/2016    1:19:17    1.32
Comments for draft client declaration; draft response to defendants' scheduling
requests                                                                           3/2/2016    1:50:01    1.83
Draft Discovery Requests                                                           3/3/2016    1:26:00    1.43
Revise response re: consolidation                                                  3/3/2016    0:38:02    0.63
Draft and revise notes for status conference                                       3/4/2016    3:21:00    3.35
Prepare for status conference                                                      3/7/2016    1:36:09    1.60
Status Conference; Revise Discovery Requests                                       3/7/2016    1:41:12    1.69
Revise discovery requests                                                          3/7/2016    1:04:00    1.07
Draft notes for discovery strategy                                                 3/9/2016    0:28:40    0.48
Revise Discovery Requests                                                          3/9/2016    1:24:00    1.40
Revise Discovery Requests                                                          3/9/2016    0:13:03    0.22
Draft Initial disclosures                                                         3/10/2016    0:25:00    0.42
Draft Rule 26(f) report, discovery correspondence                                 3/10/2016    1:00:00    1.00
Discovery Call w/ other plaintiffs                                                3/11/2016    0:45:34    0.76
Draft Rule 26(f) Submission; discovery plan                                       3/11/2016    2:33:51    2.56
Revise draft Rule 25(f) report; amended complaint                                 3/14/2016    1:00:00    1.00
Prep for 26(f) Conference                                                         3/14/2016    0:31:00    0.52
26(f) Conference                                                                  3/14/2016    0:45:00    0.75
Call w/ Co-Counsel                                                                3/14/2016   13:15:00   13.25
Revise 26(f) Report                                                               3/14/2016    0:21:00    0.35
Revise 26(f) Report                                                               3/16/2016    2:30:00    2.50
Team Call                                                                         3/16/2016    0:42:00    0.70
Revise 26(f) Report                                                               3/16/2016    0:11:07    0.19
Revise 26(f) Report                                                               3/16/2016    0:20:56    0.35
Topics for discovery                                                              3/16/2016    0:53:00    0.88
Review Amended Complaint                                                          3/16/2016    0:42:38    0.71
Discovery plan                                                                    3/17/2016    0:30:00    0.50
Review Defendant's Discovery Objections; plan for Meet-and-Confer                 3/17/2016    1:30:00    1.50
Correspondence with client                                                        3/17/2016    0:20:00    0.33
Revise third party subpoena                                                       3/18/2016    0:20:20    0.34
Meet-and-confer re: expedited discovery                                           3/18/2016    0:48:00    0.80
Client Correspondence                                                             3/18/2016    0:07:00    0.12
Revise and circulate protective order                                             3/19/2016    0:45:00    0.75
Revise and circulate protective order                                             3/19/2016    1:00:00    1.00
Draft joint discovery motion                                                      3/19/2016    1:45:00    1.75
Draft joint discovery motion                                                      3/19/2016    0:45:00    0.75
Revise joint discovery motion; protective order                                   3/21/2016    0:31:54    0.53
Finalize and file status report; correspondence with defendants                   3/22/2016    3:43:00    3.72
Draft supplemental notice                                                         3/22/2016    0:57:16    0.95
Prep for status conference                                                        3/23/2016    2:00:00    2.00
Status Conference on Discovery                                                    3/23/2016    2:30:00    2.50
Emails re Discovery                                                               3/23/2016    0:30:00    0.50
Review discovery responses                                                        3/23/2016    1:00:00    1.00
Call w/ DOR                                                                       3/24/2016    0:30:00    0.50
Discovery correspondence; draft motion re protective order                        3/24/2016    1:02:06    1.04
Discovery correspondence                                                          3/24/2016    0:55:00    0.92
Draft joint motion for protective order                                           3/24/2016    0:25:00    0.42
Finalize Protective Order Filing                                                  3/28/2016    1:00:00    1.00
Review PI Opposition Briefs                                                       3/30/2016    1:08:00    1.13
Outline PI Reply brief                                                            3/31/2016    0:30:00    0.50
revise PI brief; draft topics for depositions                                     3/31/2016    2:34:33    2.58
Deposition prep                                                                    4/1/2016    0:15:19    0.26
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Review docs; expert disclosures; draft PI reply                           4/1/2016     3:08:00   3.13
Revise depo outline; draft argument outline                               4/4/2016     1:33:03   1.55
Oral arg outline; moot PI motion                                          4/5/2016     2:10:00   2.17
Prep for PI Hearing                                                       4/6/2016     2:30:00   2.50
Prep for PI Hearing                                                       4/6/2016     1:00:00   1.00
Revise cases, revise notes, prep for PI Hearing                           4/7/2016     5:00:00   5.00
Correspondence with Defendants                                            4/7/2016     0:30:00   0.50
Discuss PI Reply brief; correspondence w/ Defendants                      4/8/2016     0:30:00   0.50
Team email re: next steps                                                 4/8/2016     0:16:53   0.28
Notes for PI Reply                                                        4/9/2016     0:45:00   0.75
Revise PI Reply                                                           4/9/2016     3:30:00   3.50
Draft, revise PI Reply                                                    4/9/2016     7:02:00   7.03
Draft, revise PI Reply                                                   4/10/2016     1:45:00   1.75
Draft, revise PI Reply                                                   4/10/2016     5:42:00   5.70
Draft, revise PI Reply                                                   4/10/2016     2:08:00   2.13
Draft, revise PI Reply                                                   4/11/2016     2:58:12   2.97
Draft, revise PI Reply                                                   4/11/2016     0:20:00   0.33
Draft, revise PI Reply                                                   4/11/2016     2:23:01   2.38
Draft, revise PI Reply                                                   4/11/2016     1:00:00   1.00
Draft, revise PI Reply                                                   4/11/2016     0:43:00   0.72
Draft, revise PI Reply                                                   4/11/2016     1:23:00   1.38
Draft, revise PI Reply                                                   4/11/2016     0:34:39   0.58
Draft, revise PI Reply                                                   4/11/2016     0:07:35   0.13
Revise PI Reply                                                          4/12/2016     2:16:06   2.27
Prep for PI Hearing                                                      4/12/2016     0:24:05   0.40
Prep for PI Hearing                                                      4/12/2016     0:31:07   0.52
Revise PI Reply                                                          4/12/2016     1:58:11   1.97
Prep for PI Hearing                                                      4/13/2016     5:00:00   5.00
Moot PI Argument                                                         4/13/2016     1:00:00   1.00
Prep for PI Hearing                                                      4/13/2016     3:30:00   3.50
Prep for PI Hearing                                                      4/14/2016     1:00:00   1.00
PI Hearing                                                               4/14/2016     5:00:00   5.00
Organize files                                                           4/18/2016     0:41:12   0.69
Team Call                                                                4/19/2016     0:45:00   0.75
Revise Opposition to Jordan Motion to Dismiss                            4/19/2016     1:30:00   1.50
Tenth Circuit research                                                   4/21/2016     0:38:50   0.65
Correspondence with Defendants                                           4/21/2016     0:30:00   0.50
Correspondence with Defendants                                           4/21/2016     0:30:00   0.50
Deposition Prep                                                           5/2/2016     0:15:00   0.25
Meeting re: Deposition Prep                                               5/2/2016     1:00:00   1.00
Deposition Prep                                                           5/4/2016     1:30:00   1.50
Task List for call                                                        5/5/2016     0:14:00   0.23
Outline next steps; team call                                             5/5/2016     1:24:00   1.40
Team Call                                                                5/11/2016     1:00:00   1.00
Correspondence w Defendants; Next Steps                                  5/11/2016     0:30:00   0.50
Revise response to subpoena                                              5/13/2016     0:11:52   0.20
Revise response to supplemental authority letter                         5/13/2016     0:43:00   0.72
Revise RFAs                                                              5/14/2016     0:30:00   0.50
Revise discovery requests, discovery responses                           5/17/2016     0:10:12   0.17
Revise discovery requests, discovery responses                           5/17/2016     1:09:56   1.17
Discovery notes; review expert report                                    5/17/2016     2:45:52   2.76
Analyze PI opinion; draft next steps                                     5/18/2016     1:00:00   1.00
Call re next steps                                                       5/18/2016     0:18:00   0.30
Team Call to discuss next steps                                          5/18/2016     1:10:00   1.17
Meeting re Document Production                                           5/18/2016     0:22:00   0.37
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Deposition Scheduling                                                       5/18/2016   0:34:33   0.58
Drafting list of next steps                                                 5/18/2016   0:14:02   0.23
Correspondence w Defendants; Revise discovery requests                      5/18/2016   0:46:00   0.77
Discovery correspondence; preparing notices                                 5/19/2016   0:14:00   0.23
Prep for expert deposition                                                  5/19/2016   1:41:47   1.70
Deposition scheduling                                                       5/19/2016   0:08:32   0.14
Prep for expert deposition                                                  5/19/2016   1:23:14   1.39
Prep for expert deposition                                                  5/20/2016   0:34:36   0.58
Prep for expert deposition                                                  5/20/2016   3:21:59   3.37
Outline Stay Opposition                                                     5/21/2016   0:50:00   0.83
Prep for Expert Deposition                                                  5/21/2016   2:31:00   2.52
Prep for Expert Deposition                                                  5/21/2016   1:45:00   1.75
Prep for Expert Deposition                                                  5/22/2016   3:00:00   3.00
Draft Stay Opposition                                                       5/22/2016   2:30:00   2.50

scheduling depositions; call w/ opposing counsel; outline stay opposition   5/23/2016   1:38:06   1.64
Draft Stay Opposition                                                       5/25/2016   7:03:00   7.05
Team Call                                                                   5/25/2016   0:35:00   0.58
Draft Stay Opposition                                                       5/25/2016   1:05:00   1.08
Draft Stay Opposition                                                       5/26/2016   2:23:45   2.40
Draft Stay Opposition                                                       5/26/2016   1:04:56   1.08
Draft Stay Opposition                                                       5/26/2016   0:51:44   0.86
Prep for Expert Deposition                                                  5/26/2016   2:09:50   2.16
Draft Stay Opposition                                                       5/26/2016   2:27:00   2.45
Discovery Follow-up                                                         5/27/2016   3:41:23   3.69
Prep for Expert Deposition                                                  5/27/2016   0:50:48   0.85
Draft Stay Opposition                                                       5/29/2016   2:00:00   2.00
Draft Stay Opposition                                                       5/29/2016   4:00:00   4.00
Revise Stay Opposition                                                      5/30/2016   2:00:00   2.00
Revise Stay Opposition                                                      5/30/2016   1:00:00   1.00
Revise Stay Opposition                                                      5/30/2016   3:00:00   3.00
Revise Stay Opposition                                                      5/31/2016   0:45:00   0.75
Revise Stay Opposition                                                      5/31/2016   0:25:00   0.42
Prep for Expert Deposition                                                  5/31/2016   2:30:00   2.50
Prep for Expert Deposition                                                  5/31/2016   2:00:00   2.00
Prep for Expert Deposition                                                  5/31/2016   2:30:00   2.50
Prep for Expert Deposition                                                  5/31/2016   4:40:14   4.67
Prep for Expert Deposition                                                   6/1/2016   1:10:00   1.17
Expert Deposition                                                            6/1/2016   2:45:00   2.75
Expert Deposition                                                            6/1/2016   3:50:00   3.83
Expert Deposition                                                            6/1/2016   0:50:00   0.83
Revise Class Cert Reply                                                      6/1/2016   1:11:18   1.19
Review Expert Rebuttal Report                                                6/1/2016   0:42:23   0.71
Email Docs to Team                                                           6/1/2016   0:08:45   0.15
Expert Deposition                                                            6/2/2016   8:00:00   8.00
Correspondence re: Discovery                                                 6/2/2016   1:24:00   1.40
Revise Stay Opposition                                                       6/6/2016   2:25:11   2.42
Revise Stay Opposition                                                       6/7/2016   1:00:00   1.00
Expert Deposition                                                            6/7/2016   1:55:00   1.92
Expert Deposition                                                            6/7/2016   3:20:00   3.33
Agenda for call                                                              6/8/2016   0:25:34   0.43
Revise Stay Opposition                                                       6/8/2016   0:15:00   0.25
Team Call                                                                    6/8/2016   0:35:00   0.58
Revise Stay Opposition                                                       6/8/2016   2:54:14   2.90
Revise Expert Rebuttal                                                       6/9/2016   0:19:42   0.33
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Revise Expert Rebuttal                                                   6/9/2016     1:00:00   1.00
Draft correspondence to opposing counsel                                6/10/2016     0:11:00   0.18
Draft correspondence to opposing counsel                                6/10/2016     0:35:57   0.60
Revise Expert Rebuttal                                                  6/10/2016     0:11:17   0.19
Revise Expert Rebuttal                                                  6/10/2016     0:32:00   0.53
Revise motion to quash                                                  6/11/2016     0:21:04   0.35
Revise motion to quash                                                  6/12/2016     0:45:00   0.75
Revise deposition outline                                               6/13/2016     1:15:00   1.25
Revise motion to exclude                                                6/13/2016     0:57:00   0.95
Draft Kobach Appeal Brief                                               6/21/2016     3:00:00   3.00
Draft Kobach Appeal Brief                                               6/22/2016     2:00:00   2.00
Draft Kobach Appeal Brief                                               6/24/2016     3:00:00   3.00
Draft Kobach Appeal Brief                                               6/25/2016     1:05:00   1.08
Draft Kobach Appeal Brief                                               6/25/2016     1:22:00   1.37
Draft Kobach Appeal Brief                                               6/27/2016     3:08:55   3.15
Draft Kobach Appeal Brief                                               6/28/2016     1:47:23   1.79
Team Meeting                                                            6/29/2016     0:57:53   0.96
Draft discovery correspondence                                          6/29/2016     0:46:28   0.77
Draft Kobach Appeal Brief                                               6/29/2016     1:47:00   1.78
Draft Kobach Appeal Brief                                               6/30/2016     6:21:00   6.35
Draft Kobach Appeal Brief                                                7/1/2016     3:17:09   3.29
Draft Kobach Appeal Brief                                                7/2/2016     3:00:00   3.00
Draft Kobach Appeal Brief                                                7/3/2016     0:59:17   0.99
Draft Kobach Appeal Brief                                                7/3/2016     2:06:15   2.10
Draft Kobach Appeal Brief                                                7/3/2016     1:43:00   1.72
Draft Kobach Appeal Brief                                                7/4/2016     1:00:00   1.00
Meeting to Discuss Kobach Brief                                          7/5/2016     1:32:00   1.53
Draft Kobach Appeal Brief                                                7/5/2016     1:47:11   1.79
Team Call                                                                7/6/2016     0:47:05   0.78
Draft Kobach Appeal Brief                                                7/6/2016     2:26:00   2.43
Revise Kobach Appeal Brief                                              7/14/2016     1:53:29   1.89
Revise Kobach Appeal Brief                                              7/14/2016     0:30:00   0.50
Revise Kobach Appeal Brief                                              7/14/2016     1:30:00   1.50
Revise Kobach Appeal Brief                                              7/15/2016     1:45:00   1.75
Revise Kobach Appeal Brief                                              7/15/2016     1:05:00   1.08
Revise Kobach Appeal Brief                                              7/15/2016     0:31:00   0.52
Revise Kobach Appeal Brief                                              7/15/2016     1:00:00   1.00
Revise Kobach Appeal Brief                                              7/16/2016     2:00:00   2.00
Revise Kobach Appeal Brief                                              7/20/2016     5:05:12   5.09
Revise Kobach Appeal Brief                                              7/21/2016     7:19:00   7.32
Mediation Call                                                          7/27/2016     2:25:25   2.42
Team Call                                                               7/27/2016     1:03:17   1.05
Upload files                                                             8/1/2016     0:07:46   0.13
Oral Argument Outline                                                    8/4/2016     2:51:02   2.85
Oral Argument Prep                                                       8/4/2016     3:00:00   3.00
Oral Argument Outline                                                    8/4/2016     0:04:59   0.08
Oral Argument Outline                                                    8/4/2016     2:00:00   2.00
Oral Argument Moot                                                       8/5/2016     2:00:00   2.00
Moot                                                                     8/5/2016     2:00:00   2.00
Oral Argument Prep                                                       8/6/2016     2:00:00   2.00
Oral Argument Prep                                                      8/17/2016     6:46:29   6.77
Oral Argument Prep                                                      8/18/2016     0:44:00   0.73
Oral Argument Prep                                                      8/18/2016     2:00:00   2.00
Oral Argument Moot                                                      8/19/2016     2:00:00   2.00
Oral Argument Prep                                                      8/19/2016     0:35:54   0.60
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Oral Argument Prep                                                        8/19/2016     0:30:00   0.50
Oral Argument Prep                                                        8/19/2016     1:39:05   1.65
Oral Argument Prep                                                        8/21/2016     0:26:03   0.43
Oral Argument Prep                                                        8/21/2016     0:51:00   0.85
Oral Argument Prep                                                        8/21/2016     5:59:00   5.98
Oral Argument Prep                                                        8/22/2016     2:00:00   2.00
Oral Argument Prep                                                        8/22/2016     7:07:42   7.13
Oral Argument Prep                                                        8/23/2016     1:00:00   1.00
Oral Argument Prep                                                        8/23/2016     1:00:00   1.00
Oral Argument                                                             8/23/2016     0:30:00   0.50
Revise Opposition to Jordan MTC                                           8/29/2016     0:59:19   0.99
Team Call                                                                 8/30/2016     0:40:00   0.67
Revise Demand Letter                                                       9/7/2016     1:08:37   1.14
Draft 28(j)                                                                9/9/2016     0:30:00   0.50
Revise 28(j)                                                              9/11/2016     0:30:00   0.50
Revise 28(j)                                                              9/12/2016     0:49:00   0.82
Revise 28(j)                                                              9/12/2016     0:30:00   0.50
Prep for status conference                                                9/14/2016     0:09:56   0.17
Status conference; team call; draft notes for team                        9/14/2016     1:11:00   1.18
Revise contempt motion                                                    9/22/2016     1:30:00   1.50
Team call                                                                 9/28/2016     0:34:00   0.57
Revise status report and proposed order                                   9/29/2016     2:15:00   2.25
Revise SJ Chart                                                           9/30/2016     1:59:00   1.98
Team Call                                                                10/12/2016     1:00:00   1.00
Review expert deposition outline                                         10/12/2016     0:30:00   0.50
Revise expert depo outline                                               10/13/2016     1:29:00   1.48
Revise expert depo outline                                               10/13/2016     2:30:00   2.50
Revise expert depo outline                                               10/13/2016     0:45:00   0.75
Revise expert depo outline                                               10/13/2016     1:00:00   1.00
Outline Summary judgment brief                                           10/14/2016     1:30:00   1.50
Draft Opposition to Motion to Reopen Discovery                           10/21/2016     3:00:00   3.00
Revise Opposition to Motion to Reopen Discovery                          10/25/2016     0:30:00   0.50
Revise SJ Facts                                                          10/25/2016     1:00:00   1.00
Revise SJ Facts                                                          10/25/2016     1:00:00   1.00
Team Call                                                                 11/2/2016     0:40:00   0.67
Status Conference                                                         11/3/2016     1:00:00   1.00
Outline PSJ; Scheduling                                                  11/16/2016     1:00:00   1.00
Revise PSJ Brief                                                         11/16/2016     1:00:00   1.00
Team Call                                                                 12/7/2016     0:50:00   0.83
Discuss PSJ                                                               12/7/2016     0:20:00   0.33
Review PSJ Draft                                                          12/9/2016     0:33:19   0.56
Review PSJ Draft                                                         12/12/2016     1:30:00   1.50
Review PSJ Draft                                                         12/13/2016     0:30:00   0.50
Revise PSJ Draft                                                         12/13/2016     1:16:00   1.27
Revise PSJ Draft                                                         12/13/2016     3:25:00   3.42
revise PSJ Draft                                                         12/14/2016     1:31:59   1.53
Review PSJ Draft                                                         12/19/2016     1:15:00   1.25
Review PSJ Draft                                                         12/20/2016     1:00:00   1.00
Revise PSJ Draft                                                         12/20/2016     1:34:00   1.57
Revise PSJ Draft                                                         12/21/2016     1:25:12   1.42
Revise PSJ Draft                                                         12/22/2016     1:51:27   1.86
Revise Daubert Motions                                                     1/6/2017     1:55:00   1.92
Draft Compliance letter                                                   1/25/2017     1:00:00   1.00
Revise Compliance letter                                                  1/26/2017     0:30:00   0.50
Revise Compliance letter                                                  1/27/2017     0:14:48   0.25
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Review Discovery Requests                                                         1/30/2017   0:30:00   0.50
Team Call                                                                          2/1/2017   1:07:00   1.12
Review expert report                                                               2/1/2017   3:00:00   3.00
Review expert report                                                               2/3/2017   1:00:00   1.00
Call w potential expert                                                            2/3/2017   1:00:00   1.00
Call w potential expert                                                            2/3/2017   1:15:00   1.25
Review expert report                                                               2/3/2017   1:15:00   1.25
Review expert report                                                               2/3/2017   1:04:01   1.07
Call w/ potential expert                                                           2/8/2017   0:30:00   0.50
Call w/ expert                                                                     2/9/2017   0:30:00   0.50
Notes for documents needed for expert rebuttal reports; draft motion to modify;
correspondence w/ Defs                                                            2/10/2017   2:43:26   2.72
Notes for documents needed for expert rebuttal reports                            2/10/2017   0:15:41   0.26
Revise PSJ Reply                                                                  2/14/2017   3:00:00   3.00
Revise PSJ Reply                                                                  2/15/2017   2:07:50   2.13
Revise PSJ Reply                                                                  2/15/2017   1:02:00   1.03
Review Draft Expert Reports                                                        3/1/2017   3:05:12   3.09
Review Draft Expert Reports                                                        3/1/2017   4:28:00   4.47
Moot for PSJ Hearing                                                               3/1/2017   1:27:00   1.45
Call w Expert                                                                      3/2/2017   1:00:00   1.00
Review Draft Expert Reports                                                        3/2/2017   1:15:00   1.25
Draft Depo Outline                                                                 3/2/2017   3:15:00   3.25
Draft Depo Outline                                                                 3/2/2017   2:00:00   2.00
Draft Depo Outline                                                                 3/3/2017   1:02:00   1.03
PSJ Hearing                                                                        3/3/2017   1:30:00   1.50
Call w Expert                                                                      3/6/2017   0:30:00   0.50
Revise Discovery                                                                   3/6/2017   0:30:00   0.50
Revise Team To Do List                                                             3/6/2017   0:04:20   0.07
Draft/revise correspondence with court, defendants                                 3/6/2017   0:11:03   0.18
Team Call re: Discovery                                                            3/8/2017   1:02:00   1.03
Draft Depo Outline                                                                 3/8/2017   0:33:08   0.55
Call w Expert                                                                      3/9/2017   0:40:00   0.67
Draft SJ Outline                                                                  3/10/2017   1:02:00   1.03
Comments to Expert Reports                                                        3/11/2017   0:45:00   0.75
Draft Depo Outline                                                                3/11/2017   2:00:00   2.00
Comments to Expert Reports                                                        3/13/2017   1:38:58   1.65
Call re RFAs                                                                      3/13/2017   0:23:00   0.38
Comments to Expert Reports                                                        3/13/2017   6:00:04   6.00
Draft SJ Outline                                                                  3/14/2017   2:00:00   2.00
Comments to Expert Reports                                                        3/15/2017   4:21:03   4.35
Draft Depo Outline                                                                3/18/2017   0:45:00   0.75
Draft Depo Outline                                                                3/18/2017   1:00:00   1.00
Draft Depo Outline                                                                3/18/2017   1:00:00   1.00
Draft Depo Outline                                                                3/18/2017   3:20:00   3.33
Draft Depo Outline                                                                3/20/2017   0:43:44   0.73
Draft Depo Outline                                                                3/21/2017   3:20:21   3.34
Revise RFAs                                                                       3/22/2017   1:03:20   1.06
Revise Deposition Outlines                                                        3/22/2017   2:42:27   2.71
Revise Deposition Outlines                                                        3/23/2017   0:45:00   0.75
Revise Deposition Outlines                                                        3/26/2017   2:32:00   2.53
Revise Deposition Outlines                                                        3/27/2017   2:30:00   2.50
Review newly-disclosed documents; Revise Deposition Outlines                      3/27/2017   1:00:00   1.00
Review newly-disclosed documents; Revise Deposition Outlines                      3/27/2017   2:30:00   2.50
Review newly-disclosed documents; Revise Deposition Outlines                      3/27/2017   4:19:00   4.32
Depositions                                                                       3/28/2017   3:10:00   3.17
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Depositions                                                             3/28/2017     5:25:00   5.42
Draft SJ Outline                                                        3/28/2017     0:30:00   0.50
Draft SJ Outline                                                        3/29/2017     1:25:00   1.42
Draft Deposition Outlines                                                4/1/2017     0:45:00   0.75
Draft Deposition Outlines                                                4/2/2017     1:00:00   1.00
Meet with expert witness                                                 4/2/2017     1:30:00   1.50
Draft Deposition Outlines                                                4/2/2017     2:00:00   2.00
Meet with expert witness                                                 4/2/2017     1:30:00   1.50
Draft Deposition Outlines                                                4/3/2017     1:45:00   1.75
Deposition                                                               4/3/2017     6:00:00   6.00
Draft Deposition Outlines                                                4/3/2017     3:15:00   3.25
Deposition                                                               4/4/2017     5:00:00   5.00
Draft Deposition Outlines                                                4/4/2017     1:30:00   1.50
Draft Deposition Outlines                                                4/7/2017     3:43:00   3.72
Draft Deposition Outlines                                                4/7/2017     2:29:00   2.48
Draft Deposition Outlines                                                4/7/2017     3:00:00   3.00
Draft Deposition Outlines                                                4/8/2017     1:00:00   1.00
Draft Deposition Outlines                                                4/9/2017     1:30:00   1.50
Draft Deposition Outlines                                               4/10/2017     0:30:00   0.50
Draft Deposition Outlines                                               4/10/2017     1:00:00   1.00
Draft Deposition Outlines                                               4/10/2017     0:50:00   0.83
Draft Deposition Outlines                                               4/10/2017     1:51:00   1.85
Draft Deposition Outlines                                               4/11/2017     1:42:28   1.71
Revise Depo Outline                                                     4/12/2017     0:30:00   0.50
Revise Depo Outline                                                     4/12/2017     0:40:00   0.67
Revise Depo Outline                                                     4/13/2017     0:46:45   0.78
Revise Depo Outline                                                     4/13/2017     3:55:00   3.92
Revise Depo Outline                                                     4/14/2017     2:18:00   2.30
Revise Depo Outline                                                     4/14/2017     2:00:00   2.00
Revise Depo Outline                                                     4/14/2017     0:45:00   0.75
Revise Depo Outline                                                     4/15/2017     1:00:00   1.00
Revise Depo Outline                                                     4/15/2017     1:00:00   1.00
Revise Depo Outline                                                     4/15/2017     1:00:00   1.00
Revise Depo Outline                                                     4/16/2017     0:45:00   0.75
Revise Depo Outline                                                     4/16/2017     0:30:00   0.50
Revise Depo Outline                                                     4/17/2017     0:45:00   0.75
Revise Depo Outline                                                     4/17/2017     1:00:00   1.00
Revise Depo Outline                                                     4/17/2017     1:15:00   1.25
Revise Depo Outline                                                     4/20/2017     1:00:00   1.00
Revise Depo Outline                                                     4/20/2017     2:30:00   2.50
Expert Deposition                                                       4/21/2017     9:20:00   9.33
Draft SJ Outline                                                        4/21/2017     1:30:00   1.50
Draft SJ Outline                                                        4/24/2017     0:15:11   0.25
Draft Pretrial Order                                                    4/26/2017     2:00:00   2.00
Draft Pretrial Order                                                    4/27/2017     2:00:00   2.00
Revise Responses to Objections to Order to Compel                       4/30/2017     2:00:00   2.00
Revise Responses to Objections to Order to Compel                        5/1/2017     1:24:57   1.42
Revise SJ Facts                                                          5/9/2017     4:06:00   4.10
Status Conference                                                       5/10/2017     0:15:00   0.25
Motion for Sanctions                                                    5/12/2017     1:32:00   1.53
Meet and Confer                                                         5/19/2017     0:30:00   0.50
Motion for Sanctions                                                    5/19/2017     1:20:00   1.33
Motion for Sanctions                                                    5/22/2017     1:09:36   1.16
Motion for Sanctions                                                    5/22/2017     0:18:10   0.30
Motion for Sanctions                                                    5/22/2017     1:00:00   1.00
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Motion for Sanctions                                                     5/22/2017     1:00:00   1.00
Motion for Sanctions                                                     5/22/2017     0:30:00   0.50
Revise MSJ                                                               5/24/2017     1:41:50   1.70
Revise MSJ                                                               5/24/2017     0:57:01   0.95
Revise MSJ                                                               5/24/2017     0:51:00   0.85
Revise PTO                                                               5/25/2017     1:39:00   1.65
Revise PTO                                                               5/26/2017     0:30:00   0.50
Meet and Confer re PTO                                                   5/26/2017     0:30:00   0.50
Meet and Confer re PTO                                                   5/30/2017     0:15:00   0.25
Revise PTO                                                               5/30/2017     0:30:00   0.50
Revise MSJ                                                                6/1/2017     1:03:00   1.05
Revise MSJ                                                                6/1/2017     2:14:00   2.23
Revise MSJ                                                                6/1/2017     0:30:00   0.50
Revise MSJ                                                                6/2/2017     1:04:00   1.07
Revise MSJ                                                                6/6/2017     0:55:51   0.93
Revise MSJ                                                                6/7/2017     1:28:00   1.47
Team Call                                                                 6/7/2017     1:00:00   1.00
Revise MSJ                                                                6/7/2017     0:49:22   0.82
Revise MSJ                                                                6/7/2017     0:48:00   0.80
Revise MSJ                                                                6/7/2017     3:00:00   3.00
Revise PTO                                                                6/8/2017     1:17:00   1.28
Revise MSJ                                                               6/12/2017     1:34:30   1.58
Team Call                                                                6/14/2017     0:20:00   0.33
Revise MSJ                                                               6/14/2017     1:25:00   1.42
Revise MSJ                                                               6/15/2017     1:30:00   1.50
Revise MSJ                                                               6/26/2017     2:00:00   2.00
Revise MSJ                                                               6/27/2017     2:00:00   2.00
Revise SJ Brief                                                          7/11/2017     2:06:00   2.10
Revise SJ Brief                                                          7/11/2017     1:06:04   1.10
Revise SJ Brief                                                          7/13/2017     1:00:00   1.00
Review correspondence re: Defs' objection to SJ exhibits                 7/13/2017     0:12:57   0.22
Team Call                                                                7/14/2017     0:45:00   0.75
Revise SJ Brief                                                          7/14/2017     0:45:00   0.75
Revise outlines for Richman Daubert' MSJ Opp                             7/25/2017     2:31:00   2.52
Revise outlines for Richman Daubert' MSJ Opp                             7/26/2017     1:45:00   1.75
Team Call                                                                7/26/2017     0:45:00   0.75
Prep for Kobach Deposition                                                8/2/2017     7:00:00   7.00
Kobach Deposition                                                         8/3/2017     2:00:00   2.00
Team Call                                                                 8/9/2017     0:37:00   0.62
Revise Richman Daubert Motion                                            8/12/2017     5:00:00   5.00
Revise Richman Daubert Motion                                            8/13/2017     2:00:00   2.00
Revise Richman Daubert Motion                                            8/13/2017     2:00:00   2.00
Revise Richman Daubert Motion                                            8/13/2017     2:00:00   2.00
Revise Richman Daubert Motion                                            8/13/2017     1:30:00   1.50
Revise Richman Daubert Motion                                            8/15/2017     0:40:00   0.67
Revise MSJ Opp/Reply                                                     8/17/2017     1:00:00   1.00
Revise von Spakovsky Daubert                                             8/17/2017     2:00:00   2.00
Revise von Spakovsky Daubert                                             8/17/2017     4:00:00   4.00
Revise MSJ Opp/Reply                                                     8/18/2017     1:00:00   1.00
Revise MSJ Opp/Reply                                                     8/18/2017     1:30:00   1.50
Revise MSJ Opp/Reply                                                     8/18/2017     3:15:00   3.25
Revise MSJ Opp/Reply                                                     8/18/2017     5:15:00   5.25
Revise MSJ Opp/Reply                                                     8/19/2017     2:00:00   2.00
Revise MSJ Opp/Reply                                                     8/20/2017     2:00:00   2.00
Revise Richman Daubert Motion                                            8/22/2017     1:13:00   1.22
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Revise Richman Daubert Motion                                           8/22/2017     0:57:27    0.96
Revise von Spakovsky Daubert                                            8/22/2017     2:04:42    2.08
Revise von Spakovsky Daubert                                            8/22/2017     2:00:00    2.00
Revise MSJ Opp/Reply                                                    8/23/2017     1:35:00    1.58
Revise MSJ Opp/Reply                                                    8/24/2017     1:37:00    1.62
Revise MSJ Opp/Reply                                                    8/24/2017     2:52:00    2.87
Revise MSJ Opp/Reply                                                    8/24/2017     2:47:00    2.78
Revise MSJ Opp/Reply                                                    8/25/2017     1:13:47    1.23
Revise MSJ Opp/Reply                                                    8/25/2017     1:35:00    1.58
Revise MSJ Opp/Reply                                                    8/25/2017     0:54:00    0.90
Revise von Spak Daubert                                                 9/28/2017     2:15:00    2.25
Revise Richman Daubert                                                  9/28/2017     1:00:00    1.00
Revise Richman Daubert                                                  9/29/2017     2:46:00    2.77
Revise Richman Daubert                                                  10/3/2017     3:05:58    3.10
Revise von Spak Daubert                                                 10/3/2017     4:09:00    4.15
Revise Richman Daubert                                                  10/4/2017     1:30:00    1.50
Revise Richman Daubert                                                  10/4/2017     0:56:37    0.94
Revise von Spak Daubert                                                 10/5/2017     0:36:37    0.61
Draft correspondence with Defendants re: noncompliance with PI         11/10/2017     2:26:00    2.43
Revise MTC / Motion for Sanctions                                      11/14/2017     1:07:00    1.12
Correspondence w/ Defendants re: noncompliance with PI                 11/29/2017     0:56:04    0.93
Correspondence w/ Defendants re: noncompliance with PI                 11/30/2017     0:22:00    0.37
Correspondence w/ Defendants re: noncompliance with PI                 11/30/2017     0:11:02    0.18
Draft Trial Plan                                                        12/6/2017     0:51:21    0.86
Draft Trial Plan                                                        12/6/2017     0:12:57    0.22
Prepare for Meet-and-Confer w/ Defendants                               12/7/2017     0:30:00    0.50
Meet-and-Confer w/ Defendants                                           12/7/2017     1:00:00    1.00
Correspondence w/ Defendants re: noncompliance with PI                  12/7/2017     1:00:15    1.00
Revise Contempt Motion                                                 12/22/2017     3:24:00    3.40
Team Call                                                                1/3/2018     0:37:00    0.62
Team Call                                                                1/4/2018     0:47:00    0.78
Meet-and-Confer                                                          1/4/2018     0:25:00    0.42
Notes on Witnesses                                                       1/5/2018     1:00:00    1.00
Review Exhibits for Trial                                                1/6/2018     1:10:00    1.17
Edits to Motion for Contempt                                             1/7/2018     0:45:00    0.75
Team Call                                                                1/7/2018     0:00:23    0.01
Edits to Motion for Contempt                                             1/7/2018    13:18:26   13.31
Correspondence with Court and Defendant                                  1/9/2018     0:40:00    0.67
Trial Planning                                                          1/10/2018     1:00:00    1.00
Meet-and-Confer                                                         1/12/2018     0:39:26    0.66
Trial Prep                                                              1/17/2018     2:20:00    2.33
Revise Daubert Motions                                                  1/18/2018     0:25:00    0.42
Team Call                                                               1/18/2018     1:00:00    1.00
Revise Daubert Motions                                                  1/18/2018     0:39:54    0.67
Revise Daubert Motions                                                  1/20/2018     1:30:21    1.51
Trial Prep - Proof Chart                                                1/22/2018     3:03:20    3.06
Trial Prep - Proof Chart                                                1/22/2018     2:22:21    2.37
Review Exhibits                                                         1/22/2018     0:20:00    0.33
Notes for Daubert Opposition                                            1/22/2018     0:26:00    0.43
Outline Contempt Reply                                                  1/23/2018     0:41:00    0.68
Revise Proof Chart                                                      1/23/2018     1:02:15    1.04
Draft Contempt Reply                                                    1/23/2018     1:22:34    1.38
Revise Contempt Reply                                                   1/23/2018     0:30:00    0.50
Revise Proof Chart                                                      1/24/2018     0:22:02    0.37
Prep Cross Examination                                                  1/24/2018     0:20:00    0.33
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Team Call                                                                1/24/2018     1:00:00   1.00
Outline PFOF                                                             1/24/2018     0:30:00   0.50
Witness and Exhibit LIst                                                 1/24/2018     1:05:07   1.09
Prep Cross Examination                                                   1/24/2018     1:36:00   1.60
Prep Cross Examination                                                   1/24/2018     0:30:00   0.50
Outline Direct Examination                                               1/25/2018     0:22:00   0.37
Prep Cross                                                               1/25/2018     1:14:00   1.23
Revise Motion to Strike                                                   2/2/2018     1:59:00   1.98
Revise Daubert Opp                                                        2/2/2018     0:36:00   0.60
Prep for Status Conference                                                2/8/2018     0:52:48   0.88
Status Conference                                                         2/8/2018     0:45:00   0.75
Debrief Status Conference                                                 2/8/2018     0:45:00   0.75
Draft Proposed Stipulations                                               2/8/2018     1:30:00   1.50
Revise Witness Objections                                                 2/9/2018     1:28:14   1.47
Exhibit Objections                                                        2/9/2018     1:15:30   1.26
Witness Outline                                                           2/9/2018     2:00:00   2.00
Correspondence with Defendants                                           2/10/2018     0:56:00   0.93
Exhibit List                                                             2/10/2018     0:27:08   0.45
Exhibit List                                                             2/10/2018     0:30:00   0.50
Revise PFOF                                                              2/11/2018     3:21:39   3.36
Revise MILs                                                              2/12/2018     1:49:00   1.82
Exhibit List; Draft Stipulations for Defendants                          2/13/2018     3:32:25   3.54
Review Defs Proposed Stips                                               2/16/2018     0:32:00   0.53
Meet-and-Confer                                                          2/16/2018     0:48:00   0.80
Revise Joint Stips                                                       2/16/2018     1:15:10   1.25
Revise Trial Plan                                                        2/16/2018     0:42:05   0.70
Reply to Motion to Strike Richman                                        2/16/2018     0:35:00   0.58
Reply to Motion to Strike Richman                                        2/16/2018     1:29:00   1.48
Reply to Motion to Strike Richman                                        2/17/2018     0:32:00   0.53
Revise PFOF                                                              2/19/2018     2:41:00   2.68
Ansolabehere Direct Exam                                                 2/19/2018     2:30:00   2.50
Ansolabehere Direct Exam                                                 2/19/2018     2:56:56   2.95
Call to Discuss Client Prep                                              2/20/2018     0:58:00   0.97
Revise Response to Defendants MILs                                       2/20/2018     0:25:00   0.42
Trial Logistics                                                          2/20/2018     0:24:01   0.40
Draft Richman Outline                                                    2/20/2018     3:22:15   3.37
Draft Richman Outline                                                    2/20/2018     4:17:00   4.28
Prep for team call                                                       2/21/2018     0:17:39   0.29
Team Call                                                                2/21/2018     1:08:00   1.13
Revise Minnite Outline                                                   2/21/2018     0:26:00   0.43
Draft Richman Outline                                                    2/21/2018     0:31:00   0.52
Draft Richman Outline                                                    2/22/2018     0:45:00   0.75
Draft Richman Outline                                                    2/22/2018     0:45:00   0.75
Draft Richman Outline                                                    2/22/2018     0:45:00   0.75
Witness rep Session with expert Eitan Hersh                              2/22/2018     2:15:00   2.25
Witness Prep Session with expert Ansolabehere                            2/22/2018     2:45:00   2.75
Draft Richman Outline                                                    2/22/2018     3:45:00   3.75
Witness Prep Session with Minnite                                        2/23/2018     1:50:00   1.83
Witness Prep Session with Minnite                                        2/23/2018     1:21:12   1.35
Draft Richman Outline                                                    2/23/2018     1:00:00   1.00
Draft Richman Outline                                                    2/23/2018     2:30:00   2.50
Draft Richman Outline                                                    2/24/2018     3:32:00   3.53
Draft Ansolabehere Direct Exam                                           2/24/2018     2:31:00   2.52
Draft Ansolabehere Direct Exam                                           2/24/2018     0:30:00   0.50
Draft Ansolabehere Direct Exam                                           2/24/2018     1:15:00   1.25
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Revise others' witness examinations                                     2/25/2018     1:20:00   1.33
Revise others' witness examinations                                     2/25/2018     1:20:00   1.33
Revise others' witness examinations                                     2/25/2018     0:32:00   0.53
Notes for team for trial prep                                           2/26/2018     1:00:00   1.00
Call re: Caskey Witness Examination                                     2/26/2018     0:30:00   0.50
Trial Prep                                                              2/27/2018     1:00:00   1.00
Prep Session with Michael McDonald                                      2/27/2018     1:54:00   1.90
Trail Tech Prep                                                         2/27/2018     1:30:00   1.50
Draft Opening                                                           2/27/2018     1:30:00   1.50
Draft Opening                                                           2/27/2018     1:32:00   1.53
Prep for Team Call                                                      2/28/2018     0:33:00   0.55
Draft HvS Outline                                                       2/28/2018     0:07:58   0.13
Team Call                                                               2/28/2018     1:20:00   1.33
Review Kobach Deposition                                                2/28/2018     0:48:00   0.80
Draft Opening                                                           2/28/2018     0:30:00   0.50
Call to Discuss Client Prep                                             2/28/2018     0:42:00   0.70
Draft HvS Outline                                                       2/28/2018     1:48:00   1.80
Draft HvS Outline                                                       2/28/2018     1:19:00   1.32
Revise Opening                                                           3/1/2018     1:01:00   1.02
Review Defendant's Proposed Stips                                        3/1/2018     0:02:48   0.05
Draft HvS Outline                                                        3/1/2018     0:12:29   0.21
Review Defendant's Proposed Stips                                        3/1/2018     0:11:26   0.19
Draft HvS Outline                                                        3/1/2018     1:50:06   1.84
Draft HvS Outline                                                        3/1/2018     1:53:00   1.88
Draft HvS Outline                                                        3/1/2018     1:30:00   1.50
Correspondence with defendants; planning strategy                        3/1/2018     1:03:00   1.05
Draft HvS Outline                                                        3/2/2018     3:41:47   3.70
Call w/ Defense Counsel                                                  3/2/2018     0:30:00   0.50
Trial Prep logistics, scheduling                                         3/2/2018     0:31:00   0.52
Revise Opening                                                           3/2/2018     0:54:32   0.91
Revise Opening                                                           3/2/2018     0:50:09   0.84
Revise Opening                                                           3/3/2018     0:15:00   0.25
HvS Outline                                                              3/3/2018     0:16:00   0.27
HvS Outline                                                              3/3/2018     0:30:00   0.50
Richman Cross                                                            3/3/2018     0:36:00   0.60
HvS Outline                                                              3/4/2018     1:30:00   1.50
Revise Opening                                                           3/4/2018     0:30:00   0.50
Richman Cross                                                            3/4/2018     1:45:00   1.75
Richman Cross                                                            3/4/2018     3:30:00   3.50
HvS Outline                                                              3/4/2018     2:17:28   2.29
HvS Outline                                                              3/4/2018     1:04:00   1.07
Ansolabehere Direct Exam                                                 3/4/2018     0:37:21   0.62
Revise Opening                                                           3/5/2018     0:40:00   0.67
Organize Exhibits                                                        3/5/2018     0:52:00   0.87
Trial Prep - Revise witness examination outlines                         3/5/2018     5:13:54   5.23
Trial Prep - Revise witness examination outlines                         3/5/2018     3:47:00   3.78
Trial                                                                    3/6/2018     8:00:00   8.00
Trial Prep - Revise witness examination outlines                         3/7/2018     1:00:00   1.00
Trial                                                                    3/7/2018     8:00:00   8.00
Trial Prep - Revise witness examination outlines                         3/7/2018     4:30:00   4.50
Trial                                                                    3/8/2018     8:00:00   8.00
Trial Prep - Revise witness examination outlines                         3/8/2018     4:30:00   4.50
Trial                                                                    3/9/2018     8:00:00   8.00
Team Call                                                               3/10/2018     0:30:00   0.50
Trial Prep - Revise witness examination outlines                        3/10/2018     2:59:00   2.98
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Trial Prep - Revise witness examination outlines                                      3/10/2018    0:41:06    0.69
Trial Prep - Revise witness examination outlines                                      3/11/2018   11:30:00   11.50
Team Meeting                                                                          3/11/2018    0:53:00    0.88
Trial Prep - Revise witness examination outlines                                      3/12/2018    0:35:00    0.58
Trial                                                                                 3/12/2018    8:15:00    8.25
Trial Prep - Revise witness examination outlines                                      3/12/2018    4:38:00    4.63
Trial                                                                                 3/13/2018    9:30:00    9.50
Trial Prep - Revise witness examination outlines, draft closing                       3/14/2018    3:00:00    3.00
Trial Prep - Revise witness outlines; review transcripts; draft closing               3/15/2018    4:50:00    4.83

Trial Prep - Revise witness examination outlines; review transcripts; draft closing   3/15/2018    1:30:00    1.50

Trial Prep - Revise witness examination outlines; review transcripts; draft closing   3/15/2018    0:40:00    0.67
Trial Prep - Review transcripts; draft closing                                        3/16/2018    2:40:00    2.67
Trial Prep - Review transcripts; draft closing                                        3/16/2018    1:00:00    1.00
Trial Prep - Review transcripts; draft closing                                        3/16/2018    2:00:00    2.00
Trial Prep - Review transcripts; draft closing                                        3/17/2018    1:54:00    1.90
Trial Prep - Review transcripts; revise closing                                       3/18/2018   12:00:00   12.00
Trial                                                                                 3/19/2018    8:30:00    8.50
Contempt Hearing                                                                      3/20/2018    3:00:00    3.00
Revise PFOF                                                                           3/22/2018    1:38:00    1.63
Revise PFOF                                                                            4/3/2018    1:52:20    1.87
Revise PFOF                                                                            4/3/2018    0:34:00    0.57
Revise PFOF                                                                            4/3/2018    0:45:00    0.75
Revise PFOF                                                                            4/3/2018    4:57:00    4.95
Revise PFOF                                                                            4/4/2018    4:19:57    4.33
Revise PFOF and COL                                                                   4/10/2018    2:30:00    2.50
Revise PFOF and COL                                                                   4/10/2018    0:45:00    0.75
Revise PFOF and COL                                                                   4/10/2018    1:56:00    1.93
Revise PFOF and COL                                                                   4/11/2018    3:00:00    3.00
Revise PFOF and COL                                                                   4/12/2018    1:00:00    1.00
Revise PFOF and COL                                                                   4/12/2018    0:45:00    0.75
Revise PFOF and COL                                                                   4/13/2018    2:00:58    2.02
Revise PFOF and COL                                                                   4/21/2018    1:00:00    1.00
Revise PFOF and COL                                                                   4/23/2018    2:51:04    2.85
Draft Contempt Fees Petition Declaration                                              4/23/2018    0:29:01    0.48
Draft Contempt Fees Petition Declaration                                              4/23/2018    0:42:57    0.72
Draft Contempt Fees Brief                                                             4/25/2018    0:27:31    0.46
Draft Contempt Fees Brief                                                             4/25/2018    1:51:00    1.85
Draft Contempt Fees Brief                                                             4/25/2018    0:26:28    0.44
Draft Contempt Fees Brief                                                             4/26/2018    1:28:00    1.47
Team Call                                                                              5/2/2018    0:11:00    0.18
Draft Contempt Fees Brief                                                              5/2/2018    0:36:00    0.60
Draft Motion to Dismiss Appeal                                                         5/3/2018    0:46:00    0.77
Draft County Compliance Letter                                                         5/9/2018    0:30:10    0.50
Draft County Compliance Letter                                                         5/9/2018    1:06:33    1.11
Draft County Compliance Letter                                                         5/9/2018    0:15:00    0.25
Draft Opposition to Stay                                                              5/21/2018    0:41:00    0.68
Draft Opposition to Stay                                                              5/21/2018    0:22:00    0.37
Draft Compliance Correspondence, Call with Opposing Counsel                           5/22/2018    0:49:55    0.83
Research for Contempt Fees Reply Brief                                                 6/5/2018    0:45:03    0.75
Draft Contempt Fees Reply Brief                                                        6/5/2018    2:04:51    2.08
Draft Contempt Fees Reply Brief                                                        6/5/2018    0:50:00    0.83
Draft Contempt Fees Reply Brief                                                        6/5/2018    0:44:05    0.73
Draft Contempt Fees Reply Brief                                                        6/5/2018    0:03:11    0.05
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Draft Contempt Fees Reply Brief                                                            6/5/2018   0:28:15   0.47
Draft Contempt Fees Reply Brief                                                            6/5/2018   0:37:00   0.62
Revise Contempt Fees Reply Brief                                                           6/6/2018   0:12:55   0.22
Draft Contempt Fees Reply Brief                                                            6/8/2018   0:41:58   0.70

Revise correspondence with Defendant re compliance with permanent injunction              6/24/2018   0:35:00   0.58
Outline Appeal Brief                                                                      7/10/2018   0:45:59   0.77

Revise outline of appeal brief in light of comments from team; add 10th Circuit detail     8/2/2018   0:51:10   0.85

Draft email responding to opposing counsel re: proposal for record on appeal               8/2/2018   0:30:00   0.50
Comments to Proposed Record on Appeal                                                     9/26/2018   0:30:00   0.50
Revise Opposition to Def's Motion to Enforce                                              9/27/2018   0:50:00   0.83
Revise Opposition to Def's Motion to Enforce                                              9/27/2018   0:40:27   0.67
Revise Outline of Appeal Brief                                                            10/1/2018   0:29:31   0.49
Team Call to Discuss Appeal Brief                                                         10/1/2018   0:53:50   0.90
Revise Appeal Brief                                                                       11/8/2018   3:00:00   3.00
Revise Appeal Brief                                                                      11/10/2018   3:30:00   3.50
Revise Appeal Brief                                                                      11/11/2018   1:30:00   1.50
Revise Appeal Brief                                                                      11/11/2018   1:00:00   1.00
Draft Summary of Argument for Appeal Brief                                               11/24/2018   3:00:00   3.00
Revise Appeal Brief                                                                      11/25/2018   2:20:00   2.33
Revise Appeal Brief                                                                      11/25/2018   2:00:00   2.00
Revise Appeal Brief                                                                      11/26/2018   4:34:00   4.57
Revise Appeal Brief                                                                      11/26/2018   5:18:00   5.30
Revise Appeal Brief                                                                      11/28/2018   4:30:00   4.50
Revise Appeal Brief                                                                      11/28/2018   2:05:00   2.08
Revise Appeal Brief                                                                      11/29/2018   7:13:00   7.22
Revise Appeal Brief                                                                      11/29/2018   2:00:00   2.00
Revise Appeal Brief                                                                      11/29/2018   0:37:00   0.62
Draft Oral Argument Outline                                                               2/13/2019   3:00:00   3.00
Draft Oral Argument Outline                                                               2/15/2019   4:00:00   4.00
Draft Oral Argument Outline                                                               2/15/2019   4:00:00   4.00
Revise Oral Argument Outline                                                              2/27/2019   3:00:00   3.00
Revise Oral Argument Outline                                                              2/28/2019   2:00:00   2.00
Kansas DPOC Moot                                                                           3/1/2019   2:00:00   2.00
Revise Oral Argument Outline                                                               3/2/2019   0:50:00   0.83
Prepare for Moot                                                                           3/7/2019   3:00:00   3.00
Moot                                                                                       3/7/2019   2:00:00   2.00
Revise Oral Argument Outline                                                               3/8/2019   0:56:00   0.93
Revise Oral Argument Outline                                                               3/8/2019   1:01:00   1.02
Revise Oral Argument Outline                                                              3/10/2019   1:30:00   1.50
Revise Oral Argument Outline                                                              3/13/2019   1:16:00   1.27
Kansas DPOC Moot                                                                          3/13/2019   1:50:00   1.83
Revise Oral Argument Outline                                                              3/14/2019   1:01:00   1.02
Revise Oral Argument Outline                                                              3/15/2019   1:00:08   1.00
Revise Oral Argument Outline                                                              3/16/2019   2:04:00   2.07
Review Briefs and Cases for Oral Argument                                                 3/16/2019   2:00:00   2.00
Revise Oral Argument Outline                                                              3/17/2019   1:30:00   1.50
Revise Oral Argument Outline                                                              3/17/2019   0:59:00   0.98
Revise Oral Argument Outline                                                              3/17/2019   0:30:00   0.50
Oral Argument                                                                             3/19/2019   2:15:00   2.25
Meeting to Discuss Cert Petition                                                           8/3/2020   1:03:00   1.05
Draft Opp Cert                                                                             8/5/2020   2:22:04   2.37
Draft Opp Cert                                                                            9/16/2020   7:10:56   7.18
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Revise Opp Cert Outline                                                   9/29/2020      2:40:08      2.67
Revise Opp Cert Outline                                                   9/29/2020      5:00:00      5.00
Revise Opp Cert Outline                                                   9/29/2020      1:00:00      1.00
Revise Opp Cert Outline                                                   9/30/2020      5:37:40      5.63
Draft Opp Cert                                                            10/1/2020      4:28:00      4.47
Draft Opp Cert                                                            10/1/2020      1:19:00      1.32
Draft Opp Cert                                                            10/2/2020      0:44:27      0.74
Draft Opp Cert                                                            10/2/2020      1:58:52      1.98
Draft Opp Cert                                                            10/2/2020      1:07:16      1.12
Draft Opp Cert                                                            10/3/2020      1:14:00      1.23
Draft Opp Cert                                                            10/5/2020      3:21:28      3.36
Draft Opp Cert                                                            10/5/2020      1:46:00      1.77
Revise Opp Cert                                                          10/14/2020     10:42:00     10.70
Revise Opp Cert                                                          10/17/2020      1:29:30      1.49
Revise Opp Cert                                                          10/17/2020      1:29:52      1.50
Revise Opp Cert                                                          10/23/2020      2:15:00      2.25
Revise Opp Cert                                                          10/24/2020      4:22:00      4.37
Revise Opp Cert                                                          10/24/2020      2:08:00      2.13
Revise Opp Cert                                                          10/24/2020      2:00:00      2.00
Revise Opp Cert                                                          10/25/2020      2:32:00      2.53
Revise Opp Cert                                                          10/25/2020      0:47:00      0.78
Revise Opp Cert                                                          10/25/2020      1:52:00      1.87
Revise Opp Cert                                                          10/26/2020      1:30:00      1.50
Revise Opp Cert                                                          10/26/2020      2:30:00      2.50
Revise Opp Cert                                                          10/26/2020      2:49:04      2.82
Revise Opp Cert                                                          10/27/2020      0:45:00      0.75
Revise Opp Cert                                                          10/28/2020      1:59:36      1.99
Revise Opp Cert                                                          10/28/2020      1:33:00      1.55
Revise Opp Cert                                                          10/28/2020      0:28:00      0.47
Revise Opp Cert                                                          10/29/2020      1:30:56      1.52
Revise Opp Cert                                                          10/29/2020      1:16:00      1.27
Revise Opp Cert                                                          10/30/2020      1:34:00      1.57
Revise Opp Cert                                                          10/30/2020      3:40:33      3.68
Revise Opp Cert                                                          10/30/2020      1:00:00      1.00
Revise Opp Cert                                                          10/30/2020      1:00:00      1.00
Revise Opp Cert                                                           11/1/2020      3:51:40      3.86
Draft Decl for Fees Petition                                             12/16/2020      1:57:00      1.95
Draft Decl for Fees Petition                                             12/17/2020      0:48:00      0.80
Draft Brief for Fees Petition                                            12/28/2020      0:42:40      0.71
Compile Time Records for Fees Petition                                   12/31/2020      0:34:00      0.57
Conference Call re: Fees Petition                                          1/5/2021      0:56:00      0.93
Revise Brief for Fees Petition                                             1/5/2021      1:10:55      1.18
Revise Brief for Fees Petition                                            1/20/2021      1:39:00      1.65
Draft Section on Special Circumstances in Brief for Fees Petition         1/21/2021      1:20:00      1.33
Draft Reasonableness Section of Brief for Fees Petition                   1/21/2021      1:37:00      1.62
Compile Expenses for Fees Petition                                        1/22/2021      1:06:00      1.10
Review Time Records                                                       1/22/2021      0:12:58      0.22
Subtotal                                                                              1366:06:03   1366.10

Minus Hours sought for contempt-related fees request                                                 32.76

TOTAL                                                                                              1333.34
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               ATTACHMENT 2
                 TO EXHIBIT A
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                                                                                            Hrs/Rate        Amount

          Drafted email to co-president Neal (.2); drafted memo re LWVK meeting
          (1.0).

1/11/2016 Preparation of memo re facts of LWVK voter registration activities after SAFE        3.60        1,620.00
          Act based on 1/816 meeting LWVK officers (1.0); Drafted email to O.                450.00/hr
          Danjuma re litigation hold letter (.2); Reviewed & revised draft complaint
          (2.0); Drafted email to litigation team re LWVK documentation (.1); Reviewed
          & replied to email from N. Steiiner (.1); Drafted email to LWVK re document
          retention (.2).

1/13/2016 Reviewed & replied to email from co-counsel re clients (.2); Telephone               0.60         270.00
          conference with M. Elliott, potential client (.2); Telephone conference with O.    450.00/hr
          Danjuma re clients (.2).

1/20/2016 Drafted email to M. Ahrens re declaration (.3); Reviewed & replied to email          1.00         450.00
          from (.5); Drafted email to co-counsel re draft court filings (.3); reviewed       450.00/hr
          LWVK notice letter & retainer agreement (.2).

1/21/2016 Reviewed & replied to email from co-counsel (.2); Reviewed & replied to              0.30         135.00
          email from M. Ahrens (.1).                                                         450.00/hr

1/22/2016 Reviewed & revised declaration of W. Fish (1.0); Preparation and assembly            5.50        2,475.00
          of declaration for M. Ahrens as officer of LWVK (4.5).                             450.00/hr

1/25/2016 Reviewed & replied to email from M. Ahrens re declaration edits (.3); Drafted        1.10         495.00
          email to D. Ho re Ahrens declaration (.1); Drafted email to W. Fish re             450.00/hr
          declaration (.2); reviewed M. Ahrens' edits of declaration (.5).

1/26/2016 Reviewed O. Danjuma's memo on defense issues (.5); Reviewed & revised                3.00        1,350.00
          M. Ahrens declaration in light of her edits (2.0); Reviewed M. Ahrens              450.00/hr
          testimony before U.S. Civil Rights Commission (.5).

1/27/2016 Telephone conference with M. Ahrens re declaration revisions & corrections           2.00         900.00
          (.4); Reviewed & edited draft of preliminary injunction brief (1.6).               450.00/hr

1/29/2016 Telephone conference with D. Hutchinson re facts (.4); Preparation and               2.00         900.00
          assembly of declaration for D. Hutchinson (.6); Reviewed & revised M.              450.00/hr
          Ahrens declaration (1.0).

 3/1/2016 Reviewed & calendared Order re proceedings on plaintiffs' motion for                 0.20             90.00
          preliminary injunction (.2).                                                       450.00/hr

 3/2/2016 Telephone conference with B. Brown re defendant's request for extension of           1.00         450.00
          time to answer, respond to class certification motion, & response to               450.00/hr
          preliminary injunction motion (.2); email exchange with litigation team re
          request for extension of time (.3); Drafted email to B. Brown re extension of
          time (.2); Reviewed defendant's motion for extension of time on class
          certification & Reviewed & revised draft response (.5).
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                                                                                            Hrs/Rate        Amount

 3/3/2016 Reviewed & revised plaintiffs' response to defendant's motion for extension of       1.70         765.00
          time on class certification (.5); email exchange with litigation team (.3);        450.00/hr
          Reviewed & revised plaintiffs' response to defendant's motion to consolidate
          cases (.5); Filed plaintiffs' response to defendant's motion for extension of
          time & plaintiffs' response to motion to consolidate (.2); Reviewed clerk's
          order re extension of time of time to answer (.1); Reviewed notice of hearing
          on motion for extension of time re class cert (.1).

 3/7/2016 Telephone hearing re defendant's motion for extension of time re class cert          0.50         225.00
          motion (.5).                                                                       450.00/hr

 3/8/2016 Reviewed court orders (Doc. 29 & 30) & notice of hearing before Magistrate           0.50         225.00
          Judge O'Hara (Doc. 31).                                                            450.00/hr

3/10/2016 Reviewed Initial Order re Planning & Scheduling & calendared dates (.5);             1.00         450.00
          Reviewed discovery & other documents for service (.5).                             450.00/hr

3/11/2016 Reviewed draft of Rule 26(f) report & other work re meeting with defendants.         0.50         225.00
                                                                                             450.00/hr

          Telephone conference with Keener litigation team re discovery & planning             1.00    NO CHARGE
          issues in consolidated cases.                                                      450.00/hr

3/14/2016 Telephone conference with W. Fish & notes to file (.5); Reviewed & replied to        1.50         675.00
          email from litigation team (.3); Telephone conference with defense counsel         450.00/hr
          for Rule 26(f) meeting (.7).

3/16/2016 Reviewed & revised court documents including draft first amended complaint.          1.20         540.00
                                                                                             450.00/hr

3/17/2016 Telephone conference with M. Ahrens to review declaration (.5); Reviewed &           2.20         990.00
          revised Ahrens declaration (.5); Reviewed & replied to email from M. Ahrens        450.00/hr
          re additional facts for declaration (.3); Telephone conference with D. Ho (.1);
          Reviewed & replied to email from litigation team (.5); Reviewed first amended
          complaint as filed (.3).

3/18/2016 Telephone conference with litigation team re defendant Kobach's discovery            1.00         450.00
          objections (.5); Filed Notice of Deposition of T. Lehman (.3); Reviewed &          450.00/hr
          replied to email from litigation team re discovery issues (.2).

3/23/2016 Telephone conference regarding discovery & scheduling before Judge                   2.50        1,125.00
          O'Hara.                                                                            450.00/hr

3/24/2016 Reviewed Court Orders regarding discovery & scheduling (Doc. 46, 48, & 49)           0.50         225.00
          & calendared dates.                                                                450.00/hr

3/28/2016 Reviewed Joint Motion for Protective Order.                                          0.30         135.00
                                                                                             450.00/hr
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                                                                                                Hrs/Rate        Amount

3/29/2016 Reviewed protective order (.2); Reviewed defendant Jordan's response to                  1.00         450.00
          preliminary injunction motion & defendant Kobach's motion to file under seal           450.00/hr
          (.8).

3/30/2016 Reviewed Court Orders denying defendant Kobach's motion to file under seal               0.30         135.00
          & page limits.                                                                         450.00/hr

3/31/2016 Reviewed def Jordan's motion to dismiss & brief in support & motion to stay              1.00         450.00
          discovery.                                                                             450.00/hr

 4/1/2016 Researched issues raised by defendant Jordan in brief opposing plaintiffs'               5.00        2,250.00
          motion for preliminary injunction (2.0); worked on response to defendant               450.00/hr
          Jordan's opposition (3.0).

 4/3/2016 Researched Ex parte Young & NVRA motor-voter provision (2.0); drafted                    3.50        1,575.00
          section of response brief to def Jordan's preliminary injunction opposition            450.00/hr
          (1.5).

 4/5/2016 Preparation and assembly of section of reply brief responsive to defendant               3.50        1,575.00
          Jordan's opposition to plaintiffs' motion for preliminary injunction (3.0);            450.00/hr
          Reviewed & revised plaintiffs' response in opposition to defendant Jordan's
          motion to stay discovery (.4); Reviewed & replied to email from co-counsel
          (.1).

 4/8/2016 Reviewed Court Order denying motion to stay discovery.                                   0.30         135.00
                                                                                                 450.00/hr

4/20/2016 Reviewed defendant Jordan's discovery requests to plaintiffs Fish &                      3.30        1,485.00
          Hutchinson (.5); notes to file re Jordan's discovery requests (.5); Reviewed &         450.00/hr
          replied to email from W. Fish re discovery & deposition (.5); Reviewed &
          replied to email from with D. Hutchinson re discovery & deposition (.5);
          Telephone conference with D. Hutchinson re discovery & deposition (.3);
          Researched discovery of individual tax returns in case where no damages
          are demanded (1.0).

4/21/2016 Reviewed Court filings (Docs. 92-97)).                                                   0.50         225.00
                                                                                                 450.00/hr

4/29/2016 Reviewed Court Order re extension of time.                                               0.10             45.00
                                                                                                 450.00/hr

4/30/2016 Meeting with client W. Fish to prepare for deposition.                                   2.50        1,125.00
                                                                                                 450.00/hr

 5/2/2016 Reviewed defendant's notice of depositions of plaintiffs Fish & Hutchinson               8.70        3,915.00
          (.2); Reviewed plaintiffs' motion for protective order re depositions of plaintiffs    450.00/hr
          in Wichita & defendant's response as well as court order setting telephone
          conference (1.0); Preparation and assembly of discovery responses to
          defendant Jordan's requests for production of documents, requests for
          admissions, & interrogatories to plaintiffs Fish & Hutchinson (5.0); Drafted
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                                                                                                       Page       5


                                                                                          Hrs/Rate        Amount

          email to W. Fish re discovery issues (.2); Reviewed & replied to email from
          co-counsel re various discovery issues (.5); Reviewed defendant Jordan's
          response in opposition to motion for protective order (.3); Met with D.
          Hutchinson re discovery (1.5).

 5/3/2016 Telephone conference with Magistrate Judge O'Hara re plaintiffs' motion for        8.80        3,960.00
          protective order regarding depositions & Reviewed court order denying that       450.00/hr
          motion (1.0); Preparation and assembly of responses to requests for
          production of documents for W. Fish & D. Hutchinson (2.5); Preparation and
          assembly of responses to requests for admissions for Fish & Hutchinson
          (1.5); Met with M. Ahrens & C. King re discovery requests served on plaintiff
          LWVK by defendant Jordan (1.3); round-trip travel from office to Lawrence,
          KS for meeting with Ahrens & King (2.0); Reviewed & replied to email from
          co-counsel re discovery issues (.5).

 5/4/2016 Reviewed & replied to email from co-counsel re defendant Jordan's requests         3.70        1,665.00
          for production of documents to plaintiff LWVK & issues (.5); Drafted email to    450.00/hr
          LWVK officers re discovery issues (.3); Reviewed & revised final responses
          to requests for admissions for Fish & Hutchinson (.8); Met with D. Hutchinson
          re requests for production of documents (.5); Reviewed & replied to email
          from co-counsel re defendant Jordan's subpoena duces tecum to ACLU-KS
          (.6); Preparation and assembly of responses to defendant Jordan's
          interrogatories to Fish & Hutchinson (.5); Drafted emails to co-counsel re
          attorney-client privilege issues that arose during plaintiffs' depositions in
          Wichita (.5).

 5/5/2016 Reviewed notice of voluntary dismissal of plaintiff R. Ortiz (.1); Reviewed        0.50         225.00
          defendant's reply to response to motion to dismiss (.4).                         450.00/hr

 5/9/2016 Reviewed defendant's notice of supplemental authority.                             0.20             90.00
                                                                                           450.00/hr

5/10/2016 Appeared at depositions of D. Hutchinson W. Fish (8.0); Reviewed & replied         9.00        4,050.00
          to email from co-counsel re depositions (1.0).                                   450.00/hr

5/11/2016 Preparation and assembly of responses to defendant Jordan's requests for           4.70        2,115.00
          production of documents to plaintiff LWVK (3.0); Researched cases &              450.00/hr
          materials on responding to subpoenas served on counsel for a party (1.0);
          Drafted objection letter to defendant Jordan's subpoena duces tecum to
          ACLU-KS (.7).

5/13/2016 Round-trip travel from office to Lawrence, KS for meeting with plaintiff LWVK      6.50        2,925.00
          officers regarding discovery (2.0); Met with M. Ahrens & C. King, LWVK           450.00/hr
          officers, re defendant Jordan's discovery requests (2.0); Reviewed & revised
          responses to defendant Jordan's requests for production of documents to
          LWVK (1.5); Reviewed & revised letter to B. Cox objecting to defendant
          Jordan's subpoena to ACLU-KS (.5); Telephone conference with M. Ahrens
          re discovery issues (.5).
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                                                                                           Hrs/Rate        Amount

5/14/2016 Reviewed LWVK documents for production in response to defendant                     2.50        1,125.00
          Jordan's requests for production of documents.                                    450.00/hr

          Drafted email to B. Cox re subpoena to ACLU-KS (.1); Reviewed response              3.00        1,350.00
          letter from Cox (.3); Reviewed documents for response to defendant Jordan's       450.00/hr
          requests for production of documents (2.6).

5/17/2016 Drafted reply letter to B. Cox re subpoena to ACLU-KS (.8); Researched              4.50        2,025.00
          cases re third party subpoenas & work product doctrine (1.2); Reviewed            450.00/hr
          documents from LWVK for production per defendant's requests for production
          of documents (2.0); Reviewed defendant's second set of interrogatories &
          requests for admissions to LWVK (.5).

5/18/2016 Reviewed court order granting preliminary injunction in part (1.0); Reviewed &      2.50        1,125.00
          revised draft responses & objections to defendant's requests for production of    450.00/hr
          documents to LWVK (1.0); Reviewed defendant's response in opposition to
          class cert (.3; Reviewed defendant's notice of office policy change (.2).

5/19/2016 Drafted questions for M. Ahrens re document production (.7); Telephone              3.80        1,710.00
          conference with M. Ahrens re discovery (.8); Drafted memo re LWVK                 450.00/hr
          document production (.3); Preparation and assembly of documents for
          responses to defendant's requests for production of documents to LWVK
          (2.0).

5/20/2016 Reviewed defendant's motion for stay of preliminary injunction.                     0.50         225.00
                                                                                            450.00/hr

5/23/2016 Reviewed defendant's notice of interlocutory appeal (.1); Reviewed plaintiffs'      0.30         135.00
          discovery notices filed with court (.2).                                          450.00/hr

5/26/2016 Reviewed & revised plaintiff LWVK's response to defendant's requests for            3.10        1,395.00
          production of documents included in deposition notices (.5); Reviewed &           450.00/hr
          revised responses & objections by LWVK to defendant's interrogatories (.5);
          Reviewed court order denying defendant's motion for stay of injunction (.5);
          Drafted & responded to emails re deposition scheduling (.5); Drafted email to
          plaintiffs Fish & Hutchinson re case status (.3); Reviewed defendant's second
          interrogatories & requests for admissions to LWVK (.5); Reviewed & replied
          to email from co-counsel re discovery issues (.3).

5/27/2016 Reviewed & replied to email from clients (.2); Reviewed & replied to email          5.50        2,475.00
          from co-counsel re defendant's answer & discovery issues (.5); Reviewed &         450.00/hr
          revised supplemental responses to defendant's requests for production of
          documents on deposition notices (1.5); Reviewed pre-filing emails betwee
          clients and counsel & prepared privilege log in response to defendant's
          requests for production of documents (1.5); Reviewed & revised answers to
          defendant's first interrogatories to individual plaintiffs (.8); Reviewed &
          revised amended responses to defendant's requests for admissions to
          plaintiffs Fish & Hutchinson (1.0).
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                                                                                               Hrs/Rate        Amount

 6/1/2016 Reviewed & revised plaintiff Fish's amended answers to interrogatories (.5);            3.80        1,710.00
          Reviewed & revised plaintiff Hutchinson's amended answers to                          450.00/hr
          interrogatories (1.0); Reviewed & revised plaintiffs' class cert reply brief (.8);
          Reviewed & revised plaintiffs' response brief to defendant Kobach's motion
          for emergency stay in 10th Cir. (.5); Reviewed Hutchinson deposition
          transcript for errata (.5); Preparation for LWVK 30(b)(6) deposition (.5).

 6/3/2016 Met with plaintiff D. Hutchinson to sign amended answers to interrogatories             5.20        2,340.00
          (.2); Preparation for 30(b)(6) deposition of Dept. of Revenue/Div. of Vehicles        450.00/hr
          witnesses (5.0).

 6/6/2016 Reviewed documents & drafted questions for 30(b)(6) depositions of                      5.00        2,250.00
          DOR/DOV witnesses (4.5); Drafted email to S. Lakin re preparation of M.               450.00/hr
          Ahrens for 30(b)(6) deposition of LWVK (.5).

 6/7/2016 Roundtrip travel from office to Topeka to meet with M. Ahrens to prepare for            7.00        3,150.00
          deposition (2.5); Met with M. Ahrens & S. Lakin to prepare for deposition (4.5).      450.00/hr

 6/8/2016 Rountrip trave office to Topeka for Ahrens deposition (2.5); appeared at                8.50        3,825.00
          deposition of M. Ahrens (6).                                                          450.00/hr

 6/9/2016 Reviewed exhibits & prepared for 30(b)(6) deposition of DOR/DOV witnesses               5.00        2,250.00
          (4.0); Reviewed & replied to email from B. Cox re depositions (.3);                   450.00/hr
          Researched quashing subpoena of former LVWK president based on late,
          unreasonable notice (.7).

6/10/2016 Roundtrip travel office to Topeka (2.5); Took depositions of DOR/DOV                    7.80        3,510.00
          witnesses produced per 30(b)(6) (4.8); Deposed defendant N. Jordan (.5).              450.00/hr

6/11/2016 Reviewed & replied to email from co-counsel re subpoena of D. Bucci to                  2.50        1,125.00
          testify at hearing on class cert (.5); Researched cases on late, unreasonable         450.00/hr
          notice & quashing subpoena ad testificandum (.5); drafted motion &
          suggestions in support to quash Bucci subpoena (1.5).

6/12/2016 Reviewed & replied to email from co-counsel re draft motion to quash (.3);              1.80         810.00
          Reviewed & revised motion to quash & suggestions in support (1.5).                    450.00/hr

6/13/2016 Reviewed court order expediting time for defendant to respond to plaintiffs'            2.20         990.00
          motion to quash Bucci subpoena (.2); Drafted email to co-counsel re motion            450.00/hr
          to quash (.3); Preparation for argument on motion to quash Bucci subpoena
          (.5); Reviewed defendant Kobach's response to motion to quash (.3);
          Telephone hearing on motion to quash Bucci subpoena (.4); Met with
          co-counsel to prepare for class cert hearing (.5).

6/14/2016 Reviewed & revised LWVK's draft responses to defendant's discovery                      5.00        2,250.00
          requests (.5); Met with co-counsel to prepare for class cert hearing (1.0);           450.00/hr
          Appeared at class cert hearing (3.5).
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                                                                                           Hrs/Rate        Amount

  7/7/2016 Review correspondence from MJ Willoughby re objections to preparation of           1.60         720.00
           witnesses plaintiffs produced for LVWK 30(b)(6) deposition (.5); Researched      450.00/hr
           duty to prepare witnesses for 30(b)(6) depositions (.3); Telephone conference
           with S. Lakin re issues raised by defendant Jordan's counsel (.3); Drafted
           email to Willoughby re meet & confer request (.5).

 7/29/2016 Reviewed court order denying class certification.                                  0.50         225.00
                                                                                            450.00/hr

  8/1/2016 Reviewed plaintiffs' motion to compel production of documents & supporting         0.50         225.00
           brief.                                                                           450.00/hr

 8/29/2016 Reviewed court order dismissing plaintiffs' claims against defendant Jordan.       0.50         225.00
                                                                                            450.00/hr

 9/14/2016 Telephone scheduling conference with Judge Robinson.                               0.50         225.00
                                                                                            450.00/hr

 9/23/2016 Reviewed plaintiffs' motions to enforce preliminary injunction & for contempt      0.50         225.00
           & brief in support.                                                              450.00/hr

 9/26/2016 Reviewed order to show cause.                                                      0.20             90.00
                                                                                            450.00/hr

 9/28/2016 Reviewed order directing defendant Kobach to produce draft notice.                 0.20             90.00
                                                                                            450.00/hr

 9/29/2016 Reviewed court order finding plaintiffs' motion to enforce preliminary             0.20             90.00
           injunction moot, etc.                                                            450.00/hr

 9/30/2016 Reviewed court order directing parties to prepare & submit draft notice &          0.20             90.00
           Reviewed notice of telephone status conference.                                  450.00/hr

 10/5/2016 Telephone conference with Judge Robinson re notices to voters.                     0.80         360.00
                                                                                            450.00/hr

 10/7/2016 Reviewed plaintiffs' motion to compel production of documents & brief in           0.50         225.00
           support.                                                                         450.00/hr

10/14/2016 Reviewed court order.                                                              0.50         225.00
                                                                                            450.00/hr

10/20/2016 Reviewed court orders on motion to compel & pretrial deadlines; Telephone          1.00         450.00
           conference with Magistrate Judge for final pretrial conference.                  450.00/hr

 11/3/2016 Reviewed court order re consolidation; Telephone conference with                   0.50         225.00
           Magistrate Judge re scheduling; Reviewed amended scheduling order.               450.00/hr
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                                                                                                Hrs/Rate        Amount

12/22/2016 Reviewed court order re motion to compel; Reviewed plaintiffs' motion for               1.00         450.00
           partial summary judgment.                                                             450.00/hr

 1/23/2017 Reviewed plaintiffs' motion to compel & brief in support.                               0.50         225.00
                                                                                                 450.00/hr

 2/21/2017 Reviewed plaintiffs' response re motion to compel (Doc. 272).                           0.50         225.00
                                                                                                 450.00/hr

  3/3/2017 Oral argument on cross motions for summary judgment.                                    2.00         900.00
                                                                                                 450.00/hr

  4/5/2017 Reviewed court order directing defendant Kobach to produce documents for                0.20             90.00
           in camera inspection.                                                                 450.00/hr

 4/20/2017 Review defendant's motion for stay of discovery order & brief in support (.3);          3.80        1,710.00
           Researched re Kansas cases on discovery order stays (.7); Preparation and             450.00/hr
           assembly of brief in opposition to motion for stay (2.5); revised brief (.3).

 5/16/2017 Research re discovery sanctions for lack of candor to court, etc.                       1.00         450.00
                                                                                                 450.00/hr

 5/17/2017 Research on discovery sanctions for lack of candor, etc. (.5); Revised                  1.00         450.00
           sanctions portion of brief for sanctions, etc. (.5).                                  450.00/hr

 5/18/2017 Reviewed & revised brief requesting sanctions (.5).                                     0.50         225.00
                                                                                                 450.00/hr

  6/7/2017 Preparation for final pretrial conference (.5); Attended final pretrial conference      2.00         900.00
           (1.5).                                                                                450.00/hr

 6/19/2017 Reviewed draft discovery sanctions reply brief.                                         1.00         450.00
                                                                                                 450.00/hr

 6/28/2017 Reviewed defendant's motion for reconsideration & brief re discovery (.5);              2.00         900.00
           Preparation and assembly of plaintiffs' response in opposition (1.2);                 450.00/hr
           Reviewed & revised response (.3).

 7/17/2017 Reviewed & replied to emails from voters with questions about registration              2.50        1,125.00
           status & notices on Secretary of State's website & county election offices'           450.00/hr
           websites regarding court orders (1.0); Telephone conference with LWVK
           officers re notice issues (.3); Drafted letter to defendant Kobach re website
           notices & compliance with preliminary injunction & other court orders (1.2).

 7/18/2017 Reviewed & revised letter to defendant Kobach re compliance with                        1.00         450.00
           preliminary injunction & other court orders.                                          450.00/hr
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                                                                                              Hrs/Rate        Amount

7/19/2017 Reviewed comments of co-counsel re letter to defendant Kobach (.3);                    1.00         450.00
          Finalized letter to defendant Kobach re website notices & compliance with            450.00/hr
          preliminary injunction & other court orders (.7).

12/8/2017 Research re local rules re discovery motions & case law on amendment of                0.60         270.00
          pretrial orders.                                                                     450.00/hr

 1/8/2018 Reviewed draft of court filings re plaintiffs' Motion to Enforce Court Orders &        0.50         225.00
          for contempt hearing for substance, form, & general compliance with D. Kan.          450.00/hr
          rules.

1/31/2018 Reviewed defendant's deposition designations for plaintiffs Hutchinson & Fish          0.50         225.00
          (.6).                                                                                450.00/hr

 2/1/2018 Reviewed Hutchinson deposition for possible counter designations.                      1.20         540.00
                                                                                               450.00/hr

 2/2/2018 Reviewed Fish deposition for possible counter designations & prepared chart            2.30        1,035.00
          re counter-designations/objections re Hutchinson & Fish deposition                   450.00/hr
          designations by defendant.

 2/5/2018 Reviewed deposition designations by defendant for DOV witnesses &                      2.80        1,260.00
          identified counter-designations/objections re DOV witness depositions (2.0);         450.00/hr
          drafted memo re proposed counter-designations/objections re DOV
          witnesses (.5); Reviewed court orders re status conference (.3).

 2/8/2018 Court conference call re status conference.                                            0.90         405.00
                                                                                               450.00/hr

2/12/2018 Preparation of direct exam of Wayne Fish.                                              1.00         450.00
                                                                                               450.00/hr

2/14/2018 Preparation of direct exam of Wayne Fish.                                              0.50         225.00
                                                                                               450.00/hr

2/17/2018 Review & revise plaintiffs' reply re motion to strike Richman's supplemental           0.50         225.00
          expert report.                                                                       450.00/hr

2/20/2018 Conference call re direct & cross exams for our clients.                               0.50         225.00
                                                                                               450.00/hr

2/21/2018 Reviewed & revised direct exam for W. Fish.                                            0.50         225.00
                                                                                               450.00/hr

2/23/2018 Reviewed & revised direct exam for W. Fish (.3); Reviewed Fish deposition &            2.00         900.00
          other materials for meeting with Fish (.7); Met with W. Fish to prepare for trial    450.00/hr
          testimony (1.0).
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                                                                                           Hrs/Rate        Amount

2/23/2018 Travel time for trip to Lawrence from Kansas City for meeting with W. Fish to       1.50         337.50
          prepare for testimony at trial.                                                   225.00/hr

 3/1/2018 Reviewed defendant's draft stipulations re testimony of DOV witnesses (.3);         1.30         585.00
          revised questions for W. Fish direct exam (1.0).                                  450.00/hr

 3/6/2018 Court Appearance, Trial Day 1.                                                      8.60        3,870.00
                                                                                            450.00/hr

 3/7/2018 Court Appearance, Trial Day 2.                                                      8.30        3,735.00
                                                                                            450.00/hr

 3/8/2018 Court Appearance, Trial Day 3.                                                      8.30        3,735.00
                                                                                            450.00/hr

 3/9/2018 Court Appearance, Trial Day 4.                                                      8.80        3,960.00
                                                                                            450.00/hr

3/10/2018 Preparation for undisclosed defense witness, Jo French (2.0); prepared cross        5.20        2,340.00
          examination questions for defendant's DOV witnesses, Butterworth & Earnest        450.00/hr
          (2.0); reviewed & revised defendant's new draft of proposed DOV stipulations
          from G. Roe (1.0); Emails with G. Roe re proposed DOV stipulations (.2).

3/11/2018 Reviewed & revised cross-examination questions for DOV witnesses (1.5);             4.30        1,935.00
          Trial team meeting (.5); Meeting with D. Ha & M. Mortimer re interview of         450.00/hr
          defendant's newly disclosed witness, Jo French (.5); Emails & phone
          communications with D. Ha, M. Mortimer & others on trial team re new
          witness (1.5).

3/12/2018 Court Appearance, Trial Day 5.                                                      8.20        3,690.00
                                                                                            450.00/hr

3/13/2018 Court Appearance, Trial Day 6.                                                      9.80        4,410.00
                                                                                            450.00/hr

3/15/2018 Reviewed & revised defendant's proposed DOV witness stipulations.                   1.00         450.00
                                                                                            450.00/hr

3/19/2018 Court Appearance, Trial Day 6.                                                      8.60        3,870.00
                                                                                            450.00/hr

3/20/2018 Court Appearance for Hearing on plaintiffs' contempt motion.                        3.00        1,350.00
                                                                                            450.00/hr

4/18/2018 Reviewed court order on contempt.                                                   0.50         225.00
                                                                                            450.00/hr

4/24/2018 Preparation and assembly of declarations in support of plaintiffs' application      1.00         450.00
          for attorneys' fees ordered in Doc. 520 (contempt ruling).                        450.00/hr
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                                                                                                       Page    12


                                                                                         Hrs/Rate         Amount

4/25/2018 Reviewed & replied to emails from co-counsel re fees application.                 0.50          225.00
                                                                                          450.00/hr

 7/6/2018 Reviewed defendant's Rule 72 appeal motion & brief re sanctions order (.3);       1.50          675.00
          drafted plaintiffs' response in opposition (1.2).                               450.00/hr

 8/3/2018 Court Appearance for hearing on defendant's motion to restrict deposition of      2.50         1,125.00
          defendant; appeared at Kobach deposition.                                       450.00/hr

          For professional services rendered                                              320.20      $143,302.50

          Additional Charges :

 6/7/2016 KTA toll.                                                                                   NO CHARGE

 6/8/2016 KTA Tolls.                                                                                          6.00

6/10/2016 KTA Tolls.                                                                                          6.00

          Total additional charges                                                                        $12.00


          Total amount of this bill                                                                   $143,314.50


          Balance due                                                                                 $143,314.50
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               ATTACHMENT 3
                 TO EXHIBIT A
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                                               Fish v. Kobach, No. 16-2105
                                          R. Orion Danjuma: 2015 - 2021 Hours

Project/Time entry                                                                   Start date Time (h)   Time (decimal)
Meet with D. Ho to discuss case posture and expert report of Barry Burden             11/13/2015   0:33:00            0.55
Correspondence to Barry Burden to set up time to speak.                               11/13/2015   0:15:00            0.25
Correspondence to Barry Burden to set up time to speak.                               11/15/2015   0:06:00            0.10
Travel to and from Dechert for meeting on filing KS case                              11/16/2015   1:00:00            1.00
Meeting with team at Dechert                                                          11/16/2015   1:45:00            1.75
Correspondence                                                                        11/18/2015   0:07:00            0.12
Discuss expert reports with S. Lakin                                                  11/18/2015   0:17:00            0.28
Correspondence                                                                        11/19/2015   0:05:00            0.08
Call with A. Liu to discuss PI brief                                                  11/20/2015   0:25:50            0.43
Discuss status of Kansas case with S. Lakin and S. Young                              11/20/2015   0:29:00            0.48
Call with Barry Burden re: expert report                                              11/20/2015   0:50:03            0.83
Review background memos case law on preemption                                        11/20/2015   1:14:05            1.23
Correspondence                                                                        11/20/2015   0:45:03            0.75
Talk to S. Lakin about contacting Secretary of State's office                         11/23/2015   0:12:02            0.20
Review correspondence                                                                 11/23/2015   0:07:00            0.12
Correspondence regarding contact with KS SoS's office                                 11/23/2015   0:25:00            0.42
Call Barry regarding expert schedule                                                  11/23/2015   0:13:39            0.23
Call with Doug Bonney of ACLU of KS                                                   11/25/2015   0:18:02            0.30
correspondence                                                                        11/25/2015   0:30:00            0.50
Call McDonald expert                                                                  11/30/2015   0:57:00            0.95
Discuss privilege issues with expert comms with R. Goodman                            11/30/2015   0:09:00            0.15
correspondence with team                                                              11/30/2015   0:13:03            0.22
Correspondence with new experts Mcdonald and Stewart                                  11/30/2015   1:02:51            1.05
Correspondence with team regarding proof of cit issue.                                11/30/2015   0:23:00            0.38
Review notice letter.                                                                  12/1/2015   0:18:00            0.30
Discuss status of experts with S. Lakin and S. Young                                   12/1/2015   0:24:00            0.40
Prep consultancy agreement and correspondence with Mcdonald                            12/1/2015   0:35:20            0.59
Send PI examples to briefing team.                                                     12/1/2015   0:17:25            0.29
Correspondence with McDonald and Dale Ho re: contract                                  12/2/2015   0:21:43            0.36
Review notice letter                                                                   12/2/2015   0:38:27            0.64
Status Conference call with KS team                                                    12/2/2015   0:38:02            0.63
Followup call to S. Lakin and email to KS team re requesting suspense list             12/2/2015   0:14:01            0.23
Correspondence with S. Lakin re: meeting                                               12/2/2015   0:03:00            0.05
Calls with Prof McDonald                                                               12/3/2015   0:37:02            0.62
Correspondence                                                                         12/3/2015   0:45:00            0.75
research and Send cases to PI team on irrep harm                                       12/4/2015   0:31:04            0.52
Call with A. Liu re: complaint                                                         12/4/2015   0:25:02            0.42
Calls with Prof McDonald                                                               12/4/2015   0:31:01            0.52
Email D. Ho re: convo with Prof. McDonald                                              12/5/2015   0:34:46            0.58
Conversation with S. Lakin about Minettie, correspondence, and conversation with
D. ladin about expert contacts with rep'd parties                                     12/8/2015     0:52:00           0.87
Research and draft PI                                                                 12/9/2015     2:25:00           2.42
Status check on Minettie with S. Lakin                                                12/9/2015     0:25:00           0.42
Research and draft PI                                                                12/11/2015     2:30:00           2.50
Research and draft PI                                                                12/14/2015     4:30:01           4.50
Call with M. McDonald, discussion with S. Lakin, correspondence to group regarding
suspense list.                                                                       12/15/2015     0:52:00           0.87
Research and draft PI                                                                12/15/2015     1:37:00           1.62
Call with M. McDonald to discuss data on the list.                                   12/16/2015     0:32:00           0.53
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status conference call on KS lawsuits                                                 12/16/2015    0:42:00    0.70
Research and draft PI                                                                 12/16/2015    0:27:41    0.46
Correspondence                                                                        12/16/2015    0:55:00    0.92
Correspondence                                                                        12/17/2015    0:40:00    0.67
Research and draft PI                                                                 12/17/2015    2:37:49    2.63
Research and draft PI, conversation with Dale Ho.                                     12/17/2015    0:52:10    0.87
Research and write Preliminary Injunction brief                                         1/4/2016    3:30:00    3.50
Research Preliminary Injunction brief. .5 call with Prof. McDonald. Correspondence
(.7).                                                                                   1/4/2016    2:20:00    2.33
Research and write Preliminary Injunction brief                                         1/5/2016    6:21:27    6.36
Research and write Preliminary Injunction brief                                        1/13/2016    4:29:00    4.48
Research and write Preliminary Injunction brief                                        1/14/2016    7:10:00    7.17
Research and write Preliminary Injunction brief                                        1/15/2016    3:17:00    3.28
Research and write Preliminary Injunction brief                                        1/16/2016   11:12:00   11.20
Research and write Preliminary Injunction brief                                        1/17/2016    7:43:00    7.72
Research and write Preliminary Injunction brief                                        1/18/2016    1:19:00    1.32
revise complaint                                                                       1/20/2016    2:25:00    2.42
Research and write Preliminary Injunction brief                                        1/20/2016   12:09:00   12.15
revise complaint                                                                       1/22/2016    2:14:00    2.23
Research and write Preliminary Injunction brief                                        1/23/2016   14:35:00   14.58
Draft memo gauging strength of claims                                                  1/24/2016    2:09:00    2.15
Research and write Preliminary Injunction brief                                        1/24/2016    3:18:00    3.30
Research and write Preliminary Injunction brief                                        1/25/2016    9:11:00    9.18
Write memo to team regarding plaintiffs core claims                                    1/25/2016    1:39:00    1.65
Incorporate edits to PI brief                                                           2/3/2016    2:14:00    2.23
Incorporate edits to PI brief                                                           2/8/2016    6:45:00    6.75
Incorporate edits to PI brief                                                           2/9/2016    5:01:00    5.02
Edit PI brief                                                                          2/14/2016    4:52:00    4.87
Edit Pi Brief                                                                          2/15/2016    2:43:00    2.72
Revise class cert brief                                                                2/15/2016    2:36:00    2.60
Review McDonald expert report                                                          2/18/2016    2:49:00    2.82
Review Minnite expert report                                                           2/24/2016    3:54:00    3.90
Edit PI brief and associated filings                                                   2/24/2016    7:07:00    7.12
Edit PI brief and associated filings                                                   2/25/2016   11:19:00   11.32
Edit and finalize PI brief and associated filings                                      2/26/2016    5:11:00    5.18
Edit and finalize PI brief and associated filings                                      2/27/2016    3:09:00    3.15
Discuss including 26th amendment claim with S. Hinger                                   3/2/2016    0:15:00    0.25
Conference call to discuss next steps in litigation. Follow up conversation with D.
Ho.                                                                                     3/2/2016    1:20:14    1.34
Review initial disclosures and potential discovery                                      3/2/2016    0:33:00    0.55
Correspondence re: discovery and case calendar                                          3/2/2016    0:36:00    0.60
Team meeting                                                                            3/3/2016    1:00:00    1.00
Revise potential disco requests and discuss with D. Ho.                                 3/3/2016    0:52:00    0.87
Correspondence                                                                          3/3/2016    0:35:00    0.58
Correspondence and review of discovery telephonic with D. Ho.                           3/4/2016    1:10:00    1.17
draft amended complaint                                                                3/11/2016    0:43:00    0.72
draft amended complaint and research news about Kobach discriminatory
registration of in-state individuals                                                   3/12/2016    4:42:15    4.70
Review LWV v. newby files for affidavits relevant to Fish                              3/14/2016    0:11:00    0.18
Correspondence                                                                         3/14/2016    0:14:00    0.23
Follow up call re: amended complaint and discovery                                     3/14/2016    0:37:00    0.62
Review edits to amended complaint                                                      3/14/2016    0:27:00    0.45
Rule 26F call with Defendants                                                          3/14/2016    0:48:00    0.80
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draft amended complaint to add new class, team correspondence re: am
complaint, call with N. Steiner to discuss edits to complaint, conversation with J.
Ebenstein re: class definition. Call with A Liu and R. Waldman.                        3/15/2016   3:38:12   3.64
draft amended complaint                                                                3/15/2016   1:47:28   1.79
compile Caskey affidavits for everyone and send email correspondence.                  3/15/2016   0:20:48   0.35
Review protective order. Correspondence re: Magistrates joint report. Review
joint report.                                                                          3/22/2016   1:36:25   1.61
26f call with magistrate judge and meeting with Dale afterward                         3/23/2016   2:51:00   2.85
Review and edit amended class cert brief. Research relation back issue. Call Jennie
Pasquarella to discuss                                                                 3/23/2016   2:10:47   2.18
Research effect of gender based discrimination under 19th amendment in relation
to claim in amended complaint                                                          3/23/2016   0:41:01   0.68
Review rog responses and correspond with team on discovery                             3/24/2016   1:05:00   1.08
Correspondence with Dale re: class cert and discovery for expert reports               3/25/2016   1:05:00   1.08
correspondence with Garret Roe and team regarding objections on PO                     3/25/2016   0:55:00   0.92
Review class cert brief and correspond with Rebecca and Angela                         3/25/2016   0:01:45   0.03
Call with Mcdonald re: defs objections on PO                                           3/25/2016   0:36:00   0.60
Review and edit class cert brief. Call with A Liu and R Waldman re class cert on 2nd
class. Conversation with D. Ho re class cert on 2nd class. Discuss class cert with
Omar Jadwat and Hayley Horowitz.                                                       3/28/2016   3:53:00   3.88
Discuss anticipated Defendants anticipated arguments with S Lakin                      3/29/2016   0:24:00   0.40
Read responses to PI motion from defendants                                            3/29/2016   2:40:00   2.67
Research on class cert                                                                 3/29/2016   0:45:02   0.75

Correspondence regarding protective order with expert and his signing exhibit A        3/29/2016   0:28:00   0.47
Correspondence regarding protective order                                              3/29/2016   0:52:00   0.87
Call with M Brinckerhoff of ECBA to discuss class actions issues                       3/29/2016   0:55:00   0.92
Meet with D ho to discuss outline for reply brief                                      3/30/2016   0:38:00   0.63
Review declarations                                                                    3/30/2016   0:09:01   0.15
Correspondence regarding brief and upcoming deadlines                                  3/30/2016   0:12:00   0.20
discuss brief and class cert issues with D. Ho                                         3/30/2016   0:19:00   0.32
Weekly team call on KS POC                                                             3/30/2016   0:58:00   0.97
Correspondence with co counsel about class cert                                        3/30/2016   0:37:00   0.62
review defendants briefs and prep reply outline                                        3/30/2016   3:47:00   3.78
Correspondence with dale and defendants regarding mcdonalds signed protective
order                                                                                  3/30/2016   0:07:01   0.12
review MTD filings                                                                     3/31/2016   0:11:02   0.18
Correspondence                                                                         3/31/2016   0:35:00   0.58
review class cert brief                                                                3/31/2016   0:42:00   0.70
review defendants briefs and prep reply outline                                        3/31/2016   6:19:01   6.32
Discuss PoC and voter ID case with Sophia at lunch                                     3/31/2016   0:18:00   0.30
Email correspondence                                                                    4/1/2016   1:17:00   1.28
review class cert brief and correspond with team. Short meeting with Dale 20 mins
to discuss reply brief too.                                                             4/1/2016   2:41:17   2.69
review MTD filings                                                                      4/1/2016   0:14:03   0.23
Discuss reply brief with VRP team at lunch                                              4/1/2016   0:33:00   0.55
Review D. Ho notes on reply outline                                                     4/1/2016   0:22:01   0.37
Attempt to set up remote access                                                         4/2/2016   0:30:14   0.50

get magistrates scheduling order from docket and review. correspond with team.          4/2/2016   0:27:10   0.45
Correspondence with Dale and team regarding reply brief and sharing of docs.
Correspondence with Doug re: responding to Jordan                                       4/2/2016   0:01:55   0.03
Email Doug Bonney about drafting portion of reply                                       4/2/2016   0:22:00   0.37
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Correspondence re: Jordan claim                                                      4/3/2016    0:56:31    0.94
Draft reply                                                                          4/3/2016    0:47:00    0.78
review class cert brief draft                                                        4/3/2016    0:31:12    0.52
Email/call opposing counsel regarding codes used in materials sent                   4/4/2016    0:17:18    0.29
Call Michael McDonald and and discuss data for supp exp report. Email
correspondence subsequent.                                                           4/4/2016    1:06:12    1.10
Email Angela and call Sophia about Stricker. Call Angela                             4/4/2016    0:24:00    0.40
Draft reply                                                                          4/4/2016    4:16:15    4.27
Call Doug Bonney re: Jordan reply                                                    4/4/2016    0:45:00    0.75
question on class cert and irreparable harm with Dror and Brian Hauss                4/4/2016    0:24:00    0.40
reply brief and depo prep                                                            4/4/2016    1:05:23    1.09
Call Michael Tan to discuss raising irrep harm issues about class in reply before
certification of class                                                               4/4/2016    0:29:03    0.48
Final proof editing and filing of class cert motion                                  4/5/2016    0:46:02    0.77
Download and review PILF brief. correspondence.                                      4/5/2016    0:25:00    0.42
Review and edit opp to motion to stay and file.                                      4/5/2016    4:52:35    4.88
Moot Dale for oral argument on PI                                                    4/5/2016    1:45:00    1.75
Correspondence re: class cert and opp to mot to stay. Prep for 30b6 deposition of
Caskey                                                                               4/6/2016    0:36:00    0.60
Draft PI reply                                                                       4/6/2016    0:14:45    0.25
Dial into deposition of Brian Caskey                                                 4/6/2016    3:40:00    3.67
Draft PI reply                                                                       4/7/2016    6:03:39    6.06
call with M. McDonald                                                                4/7/2016    0:36:14    0.60
Draft PI reply                                                                       4/8/2016   13:21:33   13.36
Draft PI reply                                                                       4/9/2016   14:51:16   14.85
Draft PI reply                                                                      4/10/2016   18:09:29   18.16
Draft PI reply                                                                      4/11/2016   16:44:37   16.74
Draft PI reply                                                                      4/12/2016   17:02:25   17.04
Moot of Dale and prepare exhibit binders and print out documents for hearing.       4/13/2016    2:51:00    2.85
Attend PI hearing                                                                   4/14/2016    4:40:00    4.67
resolve filing redacted docs on the record with Molly and courtroom deputy. Email
Garret regarding clarifying the docket record.                                      4/15/2016    0:59:14    0.99
Email Garret and Kobach regarding missing exhibits and filling under seal           4/18/2016    0:47:21    0.79
review PI merits briefing.                                                          4/19/2016    0:40:20    0.67
Review and revise opposition to MTD in Fish v. Kobach                               4/19/2016    2:56:20    2.94
correspondence and check class cert hearing schedule                                4/19/2016    0:19:30    0.33
Team call                                                                           4/20/2016    0:46:00    0.77
Revise Opp to MTD                                                                   4/20/2016    1:36:00    1.60
Call Garret Roe to discuss filing of Opp to PI                                      4/20/2016    0:10:44    0.18
Correspondence, orchestrate filing, review MTD, review supplemental brief           4/21/2016    3:47:00    3.78
Opp to Jordan Mot for Extension                                                     4/22/2016    1:10:00    1.17
Review Keener opp to Kobach MTD                                                     4/22/2016    0:39:57    0.67
Update website re: press inquiries                                                   5/2/2016    0:40:00    0.67
Correspond/call experts and Garret Roe regarding extending expert disclosure
deadline.                                                                            5/2/2016    0:38:00    0.63
Correspondence, review+edit protective order, orchestrate filing                     5/2/2016    3:55:00    3.92
Mag call, depo prep, correspondence, research regarding depos, review discovery,
contact general counsel regarding privilege issues                                   5/3/2016    0:07:22    0.12
dial into depositions of plaintiffs boynton, ortiz, stricker, and bucci              5/4/2016    9:20:00    9.33
correspondend and research regarding class cert standing                            5/12/2016    1:10:00    1.17
read north carolina McCrory opinion. research. write response letter to Kobach's
notice supplemental authority. case correspondence.                                 5/13/2016    8:51:32    8.86
Compose new Requests for Admission                                                  5/14/2016    3:07:05    3.12
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Correspondence. Review RFAs and edits to response letter to notice of
supplemental authority                                                                 5/14/2016   0:42:00   0.70
Read Kobach reply to MTD                                                               5/14/2016   0:32:00   0.53
revise opp to motion for stay. Correspondence.                                         5/31/2016   0:56:20   0.94

Correspondence. Plan travel to Gainsville. Revise LWVK response to Jordan rogs.        5/31/2016   1:05:00   1.08
Correspondence, travel plans for expert depositions, prep for session with Michael
McDonald. Depo prep with McDonald 2 hours.                                             5/31/2016   6:07:36   6.13
revise opp to motion to stay                                                            6/1/2016   3:20:47   3.35
dial in to von Spakovsky deposition                                                     6/1/2016   5:49:40   5.83
Meet with Prof. McDonald and prep for deposition                                        6/2/2016   1:44:00   1.73
defend deposition of McDonald in Gainesville                                            6/3/2016   8:25:00   8.42
Correspondence                                                                          6/4/2016   0:47:00   0.78
Call R. Waldman to talk about class cert                                                6/6/2016   0:40:00   0.67
Review class cert brief. Talk to Omar about motion to strike at Tenth Circuit.          6/6/2016   3:37:31   3.63
Correspondence and travel logistics for Kansas class cert hearing and depo of
Caskey                                                                                  6/7/2016   1:52:01   1.87
review stay opp. talk to Dale about posture of Tenth Circuit briefing.                  6/8/2016   0:23:35   0.39
Correspondence and Review 10th Circuit docket activity                                  6/8/2016   0:14:00   0.23

Phone call with Keener plaintiffs and R. Waldman re: class cert and Caskey depo         6/8/2016   0:29:00   0.48
Correspondence re: expedited briefing                                                   6/8/2016   0:22:00   0.37
team call                                                                               6/8/2016   0:36:00   0.60
Correspondence                                                                          6/9/2016   0:55:00   0.92
Class cert hearing before district court in Kansas City                                6/14/2016   2:55:00   2.92
Second deposition of Brian Caskey                                                      6/15/2016   7:21:00   7.35
discuss class certification and mootness issues with Michael tan and S. Lakin          6/16/2016   0:57:00   0.95
Review motion to consolidate appeals and file                                          6/20/2016   1:35:06   1.59
Rog responses                                                                          6/20/2016   6:18:44   6.31
Correspondence regarding other motions filed by Jordan and Kobach in Tenth
Circuit                                                                                6/20/2016   0:42:01   0.70
Call with S. Lakin regarding discovery                                                 6/20/2016   0:35:02   0.58
additional calls with S Lakin about League answers to rogs                             6/20/2016   0:47:09   0.79
correspondence regarding settlement with Jordan and motions in Tenth Circuit           6/21/2016   0:32:01   0.53
draft opposition to word count                                                         6/21/2016   3:41:39   3.69
correspondence and filing of opp to increased word count in 10th circ.                 6/22/2016   2:27:00   2.45
Review Kobach's Tenth Circuit brief, Dale's draft, and discuss with Dale and Sophia
and intern                                                                              7/5/2016   3:55:00   3.92
team call                                                                               7/6/2016   0:39:14   0.65
Call with Sophia and correspondence to Gainsville reporters regarding McDonald
transcript                                                                              7/6/2016   0:14:04   0.23
Revise Tenth Circ response breif                                                        7/6/2016   2:22:06   2.37
discuss motion to strike and issues with the record with L Rowland S Lakin and M
Rugg                                                                                    7/6/2016   0:47:00   0.78
Revise Tenth Circ response brief and research motion to strike extra record material
in ct of appeals                                                                        7/7/2016   5:42:42   5.71
Revise Tenth Circuit brief                                                             7/10/2016   9:56:00   9.93
Draft motion to strike and correct the appellate record                                7/11/2016   6:35:00   6.58
incorporate edits and finalize motion to strike and correct the appellate record       7/12/2016   4:43:00   4.72
Incorporate edits to Tenth Circuit brief and revise                                    7/14/2016   9:29:00   9.48
Research cases cited by Defendant in 10th circuit opening brief and prepare
distinguishing paragraphs                                                              7/15/2016   3:43:00   3.72
Correspondece re: distinguishing cases cited by Defendant                              7/16/2016   1:32:00   1.53
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Review Tenth Circuit draft response brief                                            7/18/2016    2:15:00    2.25
converesation with Dale and correspondence with team on reponse to Defendants'
motion to supplement the record                                                      7/19/2016    0:46:00    0.77
Reesarch and draft opposition to Defendants motion to supplement the record          7/19/2016    7:32:00    7.53
Draft opposition to Defendants' motion to supplement the record                      7/20/2016    4:37:00    4.62
Revise and edit Tenth Circuit brief                                                  7/20/2016    4:48:00    4.80
Correspondence with Dale and final edits to Tenth Circuit brief                      7/21/2016    3:19:00    3.32
Review Defendants' reply brief                                                       7/29/2016    1:48:00    1.80
Correspondence, review Jordan motion for sanctions, map out motion to enforce
injunction                                                                            8/3/2016    2:28:00    2.47
Prep moot questions and Dale moot                                                     8/5/2016    2:43:22    2.72
Write out additional moot question for Dale. research cases cited by Kobach in
reply                                                                                 8/5/2016    0:50:37    0.84
read/edit to 28(j) letter.                                                            8/8/2016    0:14:01    0.23
Correspondence with D Bonney regarding voting status of Fish and Hutchison            8/8/2016    0:05:00    0.08
phone call with SLL about Kobach not registering voters                               8/9/2016    0:48:00    0.80
Call correspondence with S Pevar about modifying injunctions                         8/10/2016    0:35:00    0.58
research on modifying injunctions                                                    8/10/2016    0:30:00    0.50
research on online DMV applications under the NVRA                                   8/11/2016    3:55:00    3.92
Discuss provisional ballots and other KS election related issues with SLL            8/11/2016    0:37:00    0.62
write memo on online DMV transactions                                                8/11/2016    0:31:21    0.52
Think of other moot questions for Dale                                               8/14/2016    0:36:00    0.60
research provisional ballots and other modification of PI sisues                     8/15/2016    2:35:00    2.58
research provisional ballots and other modification of PI issues and write memo to
circulate to team                                                                    8/16/2016    6:59:40    6.99
additional correspondence regarding the memo                                         8/16/2016    0:42:00    0.70
Correspondence and research write additional questions for Dale                      8/17/2016    0:55:00    0.92
prep for and attend 10th Circuit argument                                            8/22/2016    1:45:00    1.75
Research contempt motions                                                            8/25/2016    2:10:00    2.17
correspondence and discussion of Robinson's granting of MTD                          8/29/2016    1:20:00    1.33
review and edit response to Cox's frivolous motion for sanctions                     8/29/2016    0:28:01    0.47
team call                                                                            8/30/2016    0:50:01    0.83
correspondence and review chart                                                      8/31/2016    0:19:28    0.32
contempt motion                                                                       9/1/2016    0:38:00    0.63
discuss press stuff with SLL and Robinsons' dismissal of Jordan                       9/1/2016    0:28:01    0.47
contempt motion                                                                       9/5/2016    3:59:36    3.99
contempt motion - letter                                                              9/6/2016    6:20:54    6.35
Kansas team call                                                                      9/7/2016    0:30:00    0.50
contempt motion - letter - finalize edits                                             9/7/2016    1:49:42    1.83
contempt motion                                                                       9/7/2016    0:38:11    0.64
correspondence                                                                        9/7/2016    0:19:03    0.32
correspondence                                                                        9/9/2016    0:38:00    0.63
correspondence                                                                       9/10/2016    0:24:00    0.40
revise 28j letter and correspondence                                                 9/11/2016    1:40:00    1.67
revise 28j letter                                                                    9/12/2016    0:28:02    0.47
review brown v. kobach summary judment                                               9/12/2016    1:45:00    1.75
email, texts, and correspondence regarding status conference and contempt            9/14/2016    1:20:00    1.33
Draft memo ISO motion to enforce preliminary injunction                              9/18/2016    4:19:00    4.32
write Memo ISO motion to enforce PI                                                  9/19/2016   11:32:00   11.53
Prepare memo on Motion to Enforce preliminary injunction in Kansas.                  9/20/2016    3:22:00    3.37
write Memo ISO motion to enforce PI                                                  9/20/2016    7:43:00    7.72
write Memo ISO motion to enforce PI                                                  9/21/2016    6:36:00    6.60
Incorporate edits and revise Memo ISO motion to enforce PI                           9/22/2016    9:18:00    9.30
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Revise and finalize motion to enforce PI                                           9/23/2016    5:23:00    5.38
Prepare oral argument notes for argument on contempt motion                        9/26/2016    2:14:00    2.23
Prepare oral argument notes for argument on contempt motion                        9/27/2016    1:49:00    1.82
Correspondence with team and meeting with Dale re: contempt motion                 9/27/2016    2:47:00    2.78
Oral arg prep, Calls with Kobach's office and team meeting re: contempt motion     9/28/2016    3:27:00    3.45
Correspondence with team and opposing counsel re: draft of proposed joint
motion re: settlement of contempt issue                                            9/28/2016    2:58:00    2.97
correspondence re: negotiations with defense counsel over contempt and prep for
hearing before district court                                                      9/29/2016    2:20:00    2.33
email regarding disco dispute re lehman privilege                                  9/26/2016    0:27:00    0.45
hearing with district court on interim agreement for registered voters             10/5/2016    0:29:00    0.48
prep for hearing with district court on interim agreement                          10/5/2016    0:47:00    0.78
read 10th circuit decision affirming PI                                           10/19/2016    1:42:00    1.70
discuss motion to reopen with SLL                                                 10/24/2016    0:20:00    0.33
Edit and revise opp to motion to reopen discovery                                 10/25/2016    2:15:00    2.25
review pretrial order and discuss case status with SLL                            10/26/2016    2:35:02    2.58
team call                                                                          11/2/2016    0:45:00    0.75

Correspondence and research and conversation with DH re amending complaint         11/2/2016    1:22:00    1.37
research and write P&I MSJ                                                        11/19/2016    4:30:00    4.50
research and write P&I MSJ                                                        11/20/2016   18:39:00   18.65
partial SJ brief                                                                   12/5/2016    2:00:00    2.00
partial SJ brief                                                                   12/5/2016    0:33:51    0.56
partial SJ brief                                                                   12/5/2016    0:28:16    0.47
partial SJ brief                                                                   12/5/2016    0:58:52    0.98
partial SJ brief                                                                   12/6/2016    5:22:00    5.37
partial SJ brief                                                                   12/8/2016    4:24:06    4.40
partial SJ brief                                                                   12/8/2016    0:59:17    0.99
partial SJ brief                                                                   12/8/2016    1:31:00    1.52
partial SJ brief                                                                   12/8/2016    0:38:48    0.65
partial SJ brief                                                                   12/8/2016    1:00:02    1.00
partial SJ brief                                                                   12/8/2016    1:51:27    1.86
partial SJ brief                                                                   12/9/2016    3:26:17    3.44
partial SJ brief                                                                   12/9/2016    4:40:23    4.67
partial SJ brief                                                                   12/9/2016    2:52:55    2.88
partial SJ brief                                                                  12/15/2016    7:11:00    7.18
partial SJ brief                                                                  12/16/2016   12:14:00   12.23
partial SJ brief                                                                  12/17/2016   14:41:00   14.68
partial SJ brief                                                                  12/18/2016    7:53:00    7.88
partial SJ brief                                                                  12/19/2016    9:42:00    9.70
partial SJ brief and incorporate edits                                            12/20/2016    7:18:00    7.30
partial SJ brief and incorporate edits                                            12/21/2016   11:14:00   11.23
Finalize partial SJ brief                                                         12/22/2016   10:54:00   10.90
Review reply briefing in Bednasek MSJ                                              1/21/2017       2:32    2.53
motion to compel re: draft NVRA amendments                                         1/22/2017       9:55    9.92
revise and incorporate team edits for motion to compel docs re: draft NVRA
amendments, prepare for filing                                                     1/23/2017     12:18    12.30
Motion to consolidate/oral arg                                                     1/24/2017      9:29     9.48
Motion for Partial summary jugdment reply                                           2/6/2017      4:35     4.58
Motion for extension of time for partial summary judgment reply                     2/7/2017      1:22     1.37
Partial summary judgment reply                                                      2/7/2017      6:33     6.55
Partial summary judgment reply                                                      2/8/2017      8:19     8.32
Partial summary judgment reply                                                      2/9/2017      7:43     7.72
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Partial summary judgment reply                                                         2/10/2017   12:31   12.52
Partial summary judgment reply                                                         2/11/2017    5:14    5.23
Partial summary judgment reply                                                         2/12/2017   15:17   15.28
Partial summary judgment reply                                                         2/13/2017   18:11   18.18
Partial summary judgment reply                                                         2/14/2017   12:14   12.23
Partial summary judgment reply                                                         2/15/2017   14:47   14.78
motion to compel editing/revision                                                      2/20/2017    3:20    3.33
email Daphne Ha re: edits                                                              2/20/2017    0:22    0.37
motion to compel editing/revision                                                      2/21/2017   15:40   15.67
oral arg prep, talk with colleagues                                                    2/22/2017    3:34    3.57
oral arg prep                                                                          2/23/2017    3:11    3.18
oral arg prep                                                                          2/24/2017    8:19    8.32
oral arg prep                                                                          2/25/2017    3:44    3.73
oral arg prep                                                                          2/27/2107    5:12    5.20
Moot with Dechert for partial SJ hearing                                               2/27/2017    1:00    1.00
oral arg prep                                                                          2/28/2017    4:09    4.15
oral arg prep                                                                           3/1/2017    6:22    6.37
Moot with ACLU colleagues for partial SJ hearing                                        3/1/2017    1:27    1.45
oral arg prep                                                                           3/2/2017    6:19    6.32
Hearing on motion for partial SJ                                                        3/3/2017    3:07    3.12
Review Judge O'Hara order on motion to compel                                           4/6/2017    0:39    0.65
Draft letter to Judge O'Hara re: Kobach response letter re: unredacted production
and circulate to team, incorporate edits                                                4/6/2017    0:32    0.53
Read O'Hara order on motion to compel, part 2                                          4/17/2017    1:11    1.18
Review Defendants brief appealing O'Hara order on motion to compel                     4/26/2017    0:48    0.80
Write brief in opp to Rule 72 appeal of O'Hara order                                   4/28/2017    9:17    9.28
Brief in opp to Rule 72 appeal of O'Hara order                                         4/29/2017    2:11    2.18
Brief in opp to Rule 72 appeal of O'Hara order                                         4/30/2017    0:51    0.85
Edit brief in opp to Rule 72 appeal of O'Hara order                                     5/1/2017    3:18    3.30
Write sanctions mot and reopen disco                                                   5/16/2017    2:12    2.20
Write sanctions mot and reopen disco                                                   5/17/2017    5:35    5.58
Look for info on reopening disco in fish and talk to Dale about motion                 5/18/2017    1:12    1.20
edit mot for sanctions                                                                 5/22/2017    3:32    3.53
Edit motion for Pls opening summary judgment brief                                     6/12/2017    6:19    6.32
mot sanctions reply                                                                    6/16/2017    5:35    5.58
mot sanctions reply                                                                    6/17/2017    8:19    8.32
mot sanctions reply                                                                    6/18/2017   11:21   11.35
revise mot sanctions reply                                                             6/19/2017    4:53    4.88
Edit mot sanctions reply                                                               6/20/2017   14:48   14.80
research and write opp to Def's Rule 72a. Related correspondence                       7/10/2017    6:23    6.38

Finalize and file opp to Def's Rule 72a. Correspondence related to filing under seal   7/12/2017    2:37    2.62
Research and write motion to unseal summary judgment documents,
correspondence with defendant regarding various sealed documents                       7/13/2017    9:14    9.23
Finalize filing of motion to seal and summary judgment motions                         7/14/2017    7:56    7.93
Review and revise depo outline, research privilege issues, and prepare for
deposition of Kris Kobah                                                                8/2/2017    3:14    3.23
Deposition of Kris Kobach in Kansas City                                                8/3/2017    1:48    1.80
Research and write reply in support of motion to unseal                                 8/9/2107    4:38    4.63
Reply brief in support of motion to unseal                                             8/10/2017    9:14    9.23
Finalize reply brief in support of motion to unseal                                    8/11/2017   14:56   14.93
edits to msj reply/opp                                                                 8/22/2017   12:20   12.33
edits to msj reply/opp                                                                 8/24/2017    5:14    5.23
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finalize edits to msj reply/opp brief and call with Garrett Roe re: filing under seal  8/25/2017      1:42     1.70
Review court order directing unsealing of motions for summary judgment
documents                                                                              10/5/2017      0:38     0.63
Brief in support of unsealing of deposition                                           10/19/2017      4:34     4.57
Prepare case research and oral argument notes for conference with the court on
unsealing the deposition                                                              10/24/2017      3:19     3.32
Review pages of Kobach deposition transcript for unsealing                            10/25/2017      4:33     4.55
Review/edit draft of November letter to Garrett Roe (.9 hours). Conversation with
Sophia Lakin re: draft letter (.5). Correspondence re: draft letter (.3).              11/8/2017      1:40     1.67
Review/edit revised letter from S. Lakin. (.7). Correspondence with S. Lakin re:
contempt letter (.5). Call with S. Lakin re: contempt letter (.3)                      11/9/2017      1:31     1.52
review outstanding issues from contempt meet and confer with Defendant +
Correspondence with D. Ho. (.3)                                                        12/8/2017       0:30    0.50
Call with A Liu and Tharuni re: McDonald and Camarota examination                      1/29/2018    1:00:00    1.00
Call with A Liu S Lakin R Waldman and others re: direct exam of plaintiffs             1/31/2018    1:26:00    1.43
team call                                                                               2/1/2018    1:00:00    1.00
Review edit proposed findings of fact conclusions of law                                2/5/2018    1:14:00    1.23
Call with Stricker in advance of trial                                                  2/5/2018    1:00:00    1.00
review minnite brief daubert                                                            2/5/2018    1:22:00    1.37
Review edit proposed findings of fact conclusions of law                                2/6/2018    1:00:00    1.00
team pretrial meeting at Dechert                                                        2/7/2018    2:15:00    2.25
Review edit proposed findings of fact conclusions of law                                2/8/2018    2:50:00    2.83
Call with Stricker in advance of trial                                                  2/8/2018    0:17:00    0.28
Pretrial conference with court                                                          2/8/2018    1:00:00    1.00
Review edit proposed findings of fact conclusions of law                                2/8/2018    6:25:00    6.42
Review edit proposed findings of fact conclusions of law                                2/9/2018   12:22:00   12.37
Enter objections to Def exhibits-discuss objections with Alexa Kobi Molinas, S Lakin
and D Ho                                                                                2/9/2018    0:30:00    0.50
Review edit proposed findings of fact conclusions of law                                2/9/2018    1:14:00    1.23
Enter objections to Def exhibits-discuss objections with Alexa Kobi Molinas, S Lakin
and D Ho                                                                                2/9/2018    0:55:00    0.92
Correspondence re: exhibits/filings for about an hour                                  2/10/2018    1:00:00    1.00
Read depo transcripts of witnesses                                                     2/11/2018    2:30:00    2.50
Call with Michael McDonald re: trial prep                                              2/12/2018    0:55:00    0.92
Call with Burt Keplinger re: bench trial before Robinson                               2/12/2018    0:35:00    0.58
Correspondence re: burt keplinger                                                      2/12/2018    0:20:00    0.33
review mcferon motion                                                                  2/12/2018    0:40:00    0.67
Prep for witness preparation with Stricker                                             2/13/2018    2:19:00    2.32
Review Stricker depo transcript and prepare for witness prep with Stricker             2/14/2018    1:53:00    1.88
Call with Garrett Roe and Dale, Sophia, Rebecca to discuss stipulations                2/14/2018    0:32:00    0.53
Review Stricker records, prep direct examination outline, and meet with Stricker for
testimony prep                                                                         2/15/2018    3:49:00    3.82
motion in limine nvra amends                                                           2/17/2018    1:00:00    1.00
motion in limine nvra amends                                                           2/18/2018    1:18:00    1.30
motion in limine nvra amends                                                           2/18/2018    1:10:59    1.18
motion in limine nvra amends                                                           2/18/2018    2:01:55    2.03
motion in limine nvra amends                                                           2/18/2018    0:04:26    0.07
Edit PFOF                                                                              2/18/2018    0:22:59    0.38
Edit PFOF. Call with Sophia Lakin (for 1.0 hours)                                      2/18/2018    5:19:06    5.32
motion in limine nvra amends                                                           2/19/2018    2:09:15    2.15
email Neil and team regarding PFOF                                                     2/19/2018    0:46:24    0.77
motion in limine nvra amends                                                           2/19/2018    4:08:59    4.15
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motion in limine nvra amends                                                          2/19/2018    1:59:00    1.98
motion in limine nvra amends                                                          2/19/2018    3:36:06    3.60
finalize proposed findings of fact conclusion of law. Finalize motion in limine re:
nvra amendments. call with team on client prep (1.0)                                  2/20/2018   18:18:00   18.30
team call                                                                             2/21/2018    1:10:00    1.17
correspondence calls various with mcdonald etc                                        2/22/2018    0:45:00    0.75
review mcferron excerpts and refiling email with the court                            2/22/2018    2:16:00    2.27
Review Camarota outline and prepare McDonald direct examination outline               2/23/2018    4:39:00    4.65
Review expert reports and prepare outlines for McDonald and Stricker
examinations                                                                          2/24/2018    6:11:00    6.18
Review Boynton, Stricker, and Ahrens direct examination outlines. Prepare
McDonald outline                                                                      2/26/2018    6:56:00    6.93
Prepare McDonald direct examination outline and meet with Professor McDonald
to prepare testimony                                                                  2/27/2018    6:11:00    6.18
Review deposition deisgnation disputes                                                2/27/2018    1:09:00    1.15
Draft motion to file Kobach depo designations under seal                              2/27/2018    0:25:00    0.42
Review Defendant's surreply re: motion in limine re: NVRA amendments and
correspondence to team about potential response                                       2/28/2018    0:48:00    0.80
Prepare McDonald outline and slides/demonstrative for testimony                       2/28/2018    4:18:00    4.30
Call with Angela Liu and Tharuni about McDonald direct testimony and Camarota
cross                                                                                 2/28/2018    0:38:00    0.63
Review Kobach video deposition and discuss with Dale Ho                               2/28/2018    1:28:00    1.47
Review expert reports and work on outlines for McDonald and Stricker
examinations                                                                           3/1/2018    3:18:00    3.30
Call with McDonald re: testimony                                                       3/2/2018    0:48:00    0.80
Revise McDonald testimony outline and demonstratives, correspondence with
team                                                                                   3/3/2018    3:49:00    3.82
Meet with McDonald to prepare testimony, revise outlines, trial prep and
correpsondence with team                                                               3/4/2018    6:40:00    6.67
Revise McDonald outline, Finalize demonstratives, correspondence with McDonald,
Revise Stricker outline, trial preparation of exhibits                                 3/5/2018    9:14:00    9.23
Review outlines and exhibit documents for McDonald and Stricker                        3/6/2018    1:22:00    1.37
Day 1 of trial                                                                         3/6/2018    8:22:00    8.37

Review video clips of Kobach deposition and designate prepare excerpted portions       3/6/2018    1:43:00    1.72
Day 2 of trial                                                                         3/7/2018    7:48:00    7.80
Revise video clip deposition with counterdesignations by defense counsel and
correspondence with defendant re: video depositions                                    3/7/2018    1:48:00    1.80
Day 3 of trial                                                                         3/8/2018    7:10:00    7.17
Correspondence with team and defense counsel re: Kobach video deposition               3/8/2018    0:47:00    0.78
Day 4 of trial                                                                         3/9/2018    7:54:00    7.90
Review/edit draft closing argument notes and slides                                   3/11/2018    1:12:00    1.20
Day 5 of trial                                                                        3/12/2018    7:00:00    7.00
Day 6 of trial                                                                        3/13/2018    8:43:00    8.72
Revise closing and prepare bullets on comparing expert testimony and highlighting
plaintiffs' testimony                                                                 3/15/2018    3:21:00    3.35
Revisions to closing                                                                  3/16/2018    0:48:00    0.80
review new data disclosed by defense counsel and correspondence with team re:
data                                                                                  3/17/2018    1:28:00    1.47
Revisions to closing                                                                  3/18/2018    0:39:00    0.65
Day 7 of trial                                                                        3/19/2018    7:00:00    7.00
Team call re: proposed findings fo fact/ conclusions of law                           3/15/2018    0:30:00    0.50
review draft of Proposed findings of fact / conclusions of law                        3/28/2018    1:48:00    1.80
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Write and edit proposed findings of fact/conclusions of law                               3/30/2018    6:51:00    6.85
Write and edit proposed findings of fact/conclusions of law                               3/31/2018    2:44:00    2.73
Write and edit proposed findings of fact/conclusions of law                                4/1/2018    5:19:00    5.32
Write and edit proposed findings of fact/conclusions of law                                4/2/2018    9:23:00    9.38
Write and edit proposed findings of fact/conclusions of law                                4/3/2018    2:48:00    2.80
Write and edit proposed findings of fact/conclusions of law                                4/4/2018    0:53:00    0.88
Write and edit proposed findings of fact/conclusions of law                                4/5/2018    8:19:00    8.32
Write and edit proposed findings of fact/conclusions of law                                4/6/2018    5:29:00    5.48
Write and edit proposed findings of fact/conclusions of law                               4/10/2018    7:22:00    7.37
Write and edit proposed findings of fact/conclusions of law                               4/11/2018    4:44:00    4.73
Correspondence re: Defendant's proposed extension and potential timeline                  4/11/2018    0:32:00    0.53
Write and edit proposed findings of fact/conclusions of law                               4/12/2018    8:32:00    8.53
Write and edit proposed findings of fact/conclusions of law                               4/14/2018    1:49:00    1.82
Write and edit proposed findings of fact/conclusions of law                               4/16/2018    3:18:00    3.30
Write and edit proposed findings of fact/conclusions of law                               4/18/2018    2:49:00    2.82
Review district court's contempt order                                                    4/18/2018    0:38:00    0.63
Write and edit proposed findings of fact/conclusions of law                               4/19/2018    2:21:00    2.35
finalize proposed findings of fact/conclusions of law                                     4/23/2018   12:19:00   12.32
finalize proposed findings of fact/conclusions of law                                     4/24/2018    1:14:00    1.23
Review Defendants' response to Plaintiffs 10th Circuit motion to dismiss appeal of
contempt order                                                                            5/13/2018    0:32:13    0.54
Research and draft reply to Defendant's 10th Circuit response brief to Plaintiffs'
motion to dismiss appeal of contempt order                                                5/14/2018    5:46:00    5.77
correspondence re: briefs and motion for fees                                             5/15/2018    0:11:23    0.19
Proof and file reply to Defendant's 10th circuit response brief to Plaintiffs motion to
dismiss appeal of contempt order                                                          5/15/2018    1:37:00    1.62
Read 10th Circuit decision dismissing appeal of contempt fees                             5/22/2018    0:11:00    0.18
Correspondence with Dale on opposing Defendant's appeal to Tenth Circuit                   6/3/2018    1:35:26    1.59

Correspond with team and write response to Defendant's letter of supp authority           6/13/2018    4:42:00    4.70
Review district court's final judgment and correspondence with team regarding
decision.                                                                                 6/18/2018    3:08:00    3.13
team call regarding final judgment and next steps                                         6/19/2018    0:45:00    0.75
Correspondence regarding decision and defendant's compliance                              6/20/2018    1:14:00    1.23
Review correspondence                                                                     6/21/2018    0:40:00    0.67
Research timing for fee petitions                                                         6/21/2018    0:23:00    0.38
Research timing for fee petitions and draft mini memo to team on timing for fee
petitions                                                                                 6/21/2018    2:00:00    2.00
Review SLL letter on compliance with permanent injunction                                 6/21/2018    1:31:00    1.52
correspondence with SLL on compliance letter                                              6/25/2018    0:44:00    0.73
meet and discuss compliance letter with SLL                                               6/25/2018    1:29:00    1.48
Edit and review compliance letter                                                         6/25/2018    0:22:56    0.38
read district court opinion and keener standing decisions and Crawford, Burdick           6/26/2018    3:03:25    3.06
read opinions and meet with David Cole and team re: 10th circuit appeal                   6/26/2018    0:56:00    0.93
correspondence and review joint motion re: extension of time to file appeals.             6/29/2018    1:49:00    1.82
correspondence and call with SLL re: extension of time to file appeals.                    7/2/2018    1:39:00    1.65
Correspondence regarding issues concerning Defendant's compliance with
permanent injunction                                                                       7/5/2018    0:41:00    0.68
Meet to discuss appellate strategy and touch base with Lila about contacting 10th
circuit clerk about conditional cross appeal                                              7/10/2018    0:55:00    0.92
correspondence on disclosure of Kobach deposition tapes to press and LWV
individuals affected by case                                                              7/23/2018    1:20:00    1.33
correspondence on disclosure of Kobach deposition tapes to press                          7/27/2018    1:27:00    1.45
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review proposed record of appeal. correspond with team about content of record
of appeal                                                                               8/1/2018   1:40:00   1.67
Draft outline of 10th circuit appellate brief.                                          8/2/2018   1:12:00   1.20
meet with S. Lakin and D. Ho re:10th circuit brief.                                     8/2/2018   0:42:00   0.70
draft appellate brief - research A/B defense, talk with SLL about brief structure.     8/16/2018   1:17:42   1.30
Write/revise letter to Defendant re: unsealed tape of Kobach deposition                 9/7/2018   1:23:00   1.38
correspondence over potential unsealing of depo tape                                    9/9/2018   0:18:00   0.30
revise letter re: unsealed depo tape and send final to team for distribution. Review
Tenth Circuit OK Hospital case on right to distribute discovery.                       9/10/2018   0:52:00   0.87
review trial transcripts and prep for meet and confer with Defendant's re:
deposition tape                                                                        9/14/2018   0:57:00   0.95
meet and confer with defendants re: release of videotape deposition, followup call
with co-counsel                                                                        9/14/2018   0:42:00   0.70
correspondence re: release of videotape deposition of Kobach                           9/14/2018   0:32:00   0.53
draft response to Defendant's m/enforce Protective Order and correspondence
with D. Ho and T. Jayaraman re: draft                                                  9/15/2018   1:01:00   1.02

Call with Dale and correspondence re: press declarations. Calls to press members.      9/17/2018   0:34:09   0.57
research opp to m/enforce Protective Order                                             9/18/2018   2:01:00   2.02
draft response to m/enforce Protective Order                                           9/18/2018   1:16:27   1.27
discuss contempt appeal with paralegal and contact clerk regarding correction to
docket                                                                                 9/18/2018   0:43:00   0.72
correspondence with team about contempt appeal                                         9/18/2018   0:15:15   0.25
research opp to m/enforce Protective Order                                             9/18/2018   1:29:37   1.49
correspondence re: communication with Tad Stricker and appeal on contempt
motion                                                                                 9/19/2018   0:27:33   0.46
write opposition to m/enforce Protective order + 30 minute conversation with S.
Lakin on 10th circuit brief                                                            9/19/2018   2:07:47   2.13
write opposition to m/enforce Protective order                                         9/20/2018   1:11:00   1.18
write opposition to m/enforce Protective order                                         9/20/2018   0:01:58   0.03
m/enforce brief + review pro publica letter                                            9/20/2018   0:47:14   0.79
write opposition to m/enforce Protective order                                         9/20/2018   0:19:00   0.32
speak with Esha and Sarah Hinger about unsealing of judicial records                   9/20/2018   0:48:00   0.80
write opposition to m/enforce Protective order                                         9/20/2018   3:13:22   3.22
write opposition to m/enforce Protective order                                         9/21/2018   3:16:26   3.27
call and comms with Sherman Smith re: Kobach video                                     9/21/2018   0:23:00   0.38
write opposition to m/enforce Protective order                                         9/22/2018   0:23:00   0.38
write opposition to m/enforce Protective order                                         9/22/2018   0:20:00   0.33
write opposition to m/enforce Protective order                                         9/22/2018   0:36:14   0.60
write opposition to m/enforce Protective order                                         9/22/2018   0:09:11   0.15
write opposition to m/enforce Protective order                                         9/22/2018   2:06:43   2.11
write opposition to m/enforce Protective order                                         9/23/2018   0:09:20   0.16
write opposition to m/enforce Protective order                                         9/23/2018   1:24:00   1.40
write opposition to m/enforce Protective order                                         9/23/2018   0:51:28   0.86
write opposition to m/enforce Protective order                                         9/23/2018   0:29:08   0.49
write opposition to m/enforce Protective order                                         9/23/2018   0:30:00   0.50
write opposition to m/enforce Protective order                                         9/23/2018   2:55:57   2.93
write opposition to m/enforce Protective order                                         9/23/2018   0:23:00   0.38
write opposition to m/enforce Protective order                                         9/24/2018   3:01:04   3.02
write opposition to m/enforce Protective order                                         9/24/2018   4:58:14   4.97
write opposition to m/enforce Protective order                                         9/24/2018   0:21:56   0.37
write opposition to m/enforce Protective order                                         9/24/2018   0:29:00   0.48
write opposition to m/enforce Protective order                                         9/24/2018   0:57:04   0.95
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write opposition to m/enforce Protective order                                    9/24/2018   0:33:45   0.56
write opposition to m/enforce Protective order                                    9/25/2018   1:21:00   1.35
write opposition to m/enforce Protective order                                    9/25/2018   5:33:39   5.56
write opposition to m/enforce Protective order                                    9/26/2018   4:15:00   4.25
write opposition to m/enforce Protective order                                    9/26/2018   9:48:02   9.80
write opposition to m/enforce Protective order                                    9/26/2018   3:18:00   3.30
Call with Sophia re: 10th circuit brief and correspondence with Dale about
upcoming briefing deadlines                                                       9/26/2018   0:29:24   0.49
Call with Sophia re: 10th circuit brief and correspondence with Dale about
upcoming briefing deadlines                                                       9/27/2018   5:15:46   5.26
edit m/enforce brief with Dales edits                                             9/28/2018   5:55:00   5.92
review brief edits, correspond with team                                          9/28/2018   0:52:00   0.87
review brief edits, correspond with team                                          9/28/2018   4:39:31   4.66
review filed m/enforce brief and correspondence with declarants.                  9/29/2018   1:04:00   1.07
read tenth circuit defendant opening brief                                        10/1/2018   0:15:00   0.25
read tenth circuit defendant opening brief                                        10/1/2018   0:32:00   0.53
read tenth circuit defendant opening brief                                        10/1/2018   0:46:46   0.78
read tenth circuit defendant opening brief + 45 min team call to discuss brief    10/1/2018   1:52:00   1.87
Correspondence re: client communications and seeking past briefing on
Anderson/Burdick balancing                                                        10/3/2018   0:27:00   0.45
research for appellate briefing                                                   10/3/2018   0:10:00   0.17
research for appellate briefing                                                   10/3/2018   0:54:00   0.90
research for appellate briefing                                                   10/3/2018   1:04:00   1.07
research for appellate briefing                                                   10/4/2018   0:25:16   0.42
research for appellate briefing                                                   10/4/2018   0:22:19   0.37
research for appellate briefing                                                   10/4/2018   0:20:29   0.34
review amicus brief by states                                                     10/5/2018   0:31:00   0.52
review amicus brief by states                                                     10/5/2018   0:36:00   0.60
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:06:00   0.10
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:47:21   0.79
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:08:19   0.14
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:12:02   0.20
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:54:58   0.92
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:39:00   0.65
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:42:07   0.70
read whole women's health supreme court decision                                  10/9/2018   0:26:49   0.45
research for appellate briefing / read past A/B case precedent                    10/9/2018   0:34:25   0.57
research for appellate briefing / read past A/B case precedent                    10/9/2018   1:04:15   1.07
10th circuit response brief                                                      10/11/2018   0:45:29   0.76
10th circuit response brief                                                      10/11/2018   0:17:28   0.29
10th circuit response brief                                                      10/11/2018   3:16:24   3.27
read Defendant's response to motion to clarify/motion re: PO                     10/13/2018   0:52:00   0.87
read Defendant's response to motion to clarify/motion re: PO + write reply       10/14/2018   2:07:29   2.12
write reply to motion iso re: po                                                 10/14/2018   2:31:49   2.53
write reply to motion iso re: po                                                 10/14/2018   1:30:40   1.51
write reply to motion iso re: po                                                 10/14/2018   3:54:51   3.91
write reply to motion iso re: po                                                 10/15/2018   0:27:05   0.45
write reply to motion iso re: po                                                 10/15/2018   1:38:41   1.64
write reply to motion iso re: po                                                 10/15/2018   0:10:10   0.17
write reply to motion iso re: po                                                 10/15/2018   3:15:19   3.26
edit reply to motion iso re: po, incorporate team comments                       10/15/2018   2:46:19   2.77
correspondence re: deadlines in contempt appeal                                  10/16/2018   0:30:19   0.51
edit reply to motion iso re: po, incorporate team comments                       10/16/2018   0:15:46   0.26
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proof reply to motion for clarification re: po, discuss changes with Lila             10/16/2018   0:27:50   0.46
10th circuit response brief                                                           10/16/2018   0:27:22   0.46
10th circuit response brief                                                           10/17/2018   1:07:15   1.12
10th circuit response brief                                                           10/17/2018   0:49:03   0.82
10th circuit response brief                                                           10/17/2018   0:59:00   0.98
10th circuit response brief                                                           10/17/2018   1:06:00   1.10
review Defendant motion to stay and correspondence                                    10/17/2018   0:38:00   0.63
review Defendant motion to stay and correspondence                                    10/18/2018   1:37:00   1.62
correspondence with affilliate and others re: motion to stay                          10/18/2018   1:58:00   1.97

draft email to o/c regarding contempt appeal and motion for consolidated briefing     10/18/2018   0:38:00   0.63
response to motion to stay                                                            10/21/2018   1:27:00   1.45
10th circuit response brief                                                           10/21/2018   1:29:00   1.48
research motion to consolidate briefing in tenth                                      10/22/2018   1:51:08   1.85
draft motion for joint briefing in 10th circ                                          10/22/2018   2:09:00   2.15
edit draft motion for joint briefing and adjust caption. email o/c re: extension in
mot on pleadings                                                                      10/22/2018   1:22:38   1.38
response to motion to stay                                                            10/22/2018   0:14:00   0.23
response to motion to stay                                                            10/22/2018   3:13:41   3.23
response to motion to stay                                                            10/23/2018   1:21:26   1.36
prep motion for extension of 10th circ appeal of contempt                             10/24/2018   0:51:00   0.85
prep motion for extension of 10th circ appeal of contempt and related
correspondence                                                                        10/24/2018   2:04:00   2.07
correspondence with o/c re: motion for extension of 10th circ appeal. Review o/cs
revisions                                                                             10/24/2018   0:22:00   0.37
response to motion to stay                                                            10/24/2018   6:11:06   6.19
response to motion to stay                                                            10/25/2018   5:44:55   5.75
10th circuit response brief                                                           10/25/2018   1:29:00   1.48
10th circuit response brief                                                           10/28/2018   3:08:00   3.13
10th circuit response brief                                                           10/28/2018   0:38:02   0.63
reread dist ct final judgment opinion                                                 10/29/2018   0:32:00   0.53
reread dist ct final judgment opinion                                                 10/29/2018   0:10:12   0.17
reread dist ct final judgment opinion                                                 10/29/2018   0:48:25   0.81
10th circuit response brief                                                           10/29/2018   1:03:55   1.07
10th circuit response brief                                                           10/29/2018   3:15:00   3.25
10th circuit response brief                                                            11/1/2018   1:30:00   1.50
10th circuit response brief                                                            11/1/2018   0:56:06   0.94
10th circuit response brief                                                            11/2/2018   3:01:00   3.02
10th circuit response brief                                                            11/2/2018   0:17:10   0.29
10th circuit response brief                                                            11/4/2018   2:24:00   2.40
10th circuit response brief                                                            11/5/2018   2:28:05   2.47
10th circuit response brief                                                            11/5/2018   4:34:00   4.57
10th circuit response brief                                                            11/5/2018   1:27:03   1.45
10th circuit response brief also discuss brief with SLL                                11/5/2018   2:00:01   2.00
10th circuit response brief                                                            11/5/2018   0:35:00   0.58
10th circuit response brief                                                            11/5/2018   1:10:00   1.17
10th circuit response brief                                                            11/5/2018   1:10:00   1.17
10th circuit response brief                                                            11/6/2018   0:17:00   0.28
10th circuit response brief                                                            11/7/2018   2:46:00   2.77
10th circuit response brief                                                            11/7/2018   1:17:00   1.28
10th circuit response brief                                                            11/7/2018   2:10:00   2.17
10th circuit response brief                                                            11/7/2018   1:48:00   1.80
10th circuit response brief                                                            11/8/2018   2:10:39   2.18
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10th circuit response brief                                                      11/8/2018    0:53:00    0.88
10th circuit response brief                                                      11/8/2018    0:35:00    0.58
10th circuit response brief                                                      11/8/2018    3:10:00    3.17
10th circuit response brief                                                      11/8/2018    4:36:00    4.60
10th circuit response brief                                                      11/8/2018    0:02:02    0.03
10th circuit response brief                                                      11/8/2018    3:36:00    3.60
10th circuit response brief                                                      11/8/2018    2:29:00    2.48
10th circuit response brief                                                      11/9/2018    0:37:00    0.62
10th circuit response brief                                                      11/9/2018    4:29:05    4.48
10th circuit response brief                                                     11/10/2018    6:03:00    6.05
10th circuit response brief                                                     11/10/2018    0:23:19    0.39
10th circuit response brief                                                     11/10/2018    0:25:18    0.42
10th circuit response brief                                                     11/10/2018    7:47:00    7.78
10th circuit response brief                                                     11/11/2018    3:33:00    3.55
10th circuit response brief                                                     11/13/2018    0:56:00    0.93
10th circuit response brief                                                     11/13/2018    0:10:45    0.18
10th circuit response brief                                                     11/13/2018    3:26:10    3.44
10th circuit response brief                                                     11/13/2018    0:27:22    0.46
10th circuit response brief                                                     11/13/2018    1:51:00    1.85
10th circuit response brief                                                     11/14/2018    1:07:08    1.12
10th circuit response brief                                                     11/14/2018    3:12:56    3.22
10th circuit response brief                                                     11/14/2018    2:24:08    2.40
10th circuit response brief                                                     11/14/2018    6:08:00    6.13
10th circuit response brief -review and edit compiled draft                     11/15/2018    1:00:00    1.00
10th circuit response brief -review and edit compiled draft                     11/15/2018    1:09:00    1.15
team call re: 10th circ brief                                                   11/16/2018    1:00:00    1.00
revise 10th circ brief                                                          11/17/2018    1:33:47    1.56
revise 10th circ brief                                                          11/17/2018    0:13:00    0.22
revise 10th circ brief                                                          11/17/2018    0:19:12    0.32
revise 10th circ brief                                                          11/17/2018    2:43:48    2.73
revise 10th circ brief                                                          11/19/2018    1:40:00    1.67
revise 10th circ brief                                                          11/19/2018    2:15:00    2.25
revise 10th circ brief                                                          11/21/2018    4:09:00    4.15
revise 10th circ brief                                                          11/22/2018    5:42:00    5.70
revise 10th circ brief                                                          11/24/2018    7:33:05    7.55
revise 10th circ brief                                                          11/24/2018    0:38:00    0.63
fill in record cites, 10th circ brief                                           11/24/2018    1:56:00    1.93
fill in record cites, 10th circ brief                                           11/25/2018    3:12:40    3.21
10th circuit response brief                                                     11/25/2018    1:27:56    1.47
revise 10th circ brief-synthesize edits                                         11/26/2018    2:30:00    2.50
revise 10th circ brief-synthesize edits                                         11/26/2018   10:41:00   10.68
revise 10th circ brief-synthesize edits                                         11/27/2018   10:06:00   10.10
review defendants reply brief                                                   12/21/2018    0:56:04    0.93
review briefs and Prep moot questions for 10th circuit moot                       3/7/2019    1:50:00    1.83
moot of Dale                                                                      3/7/2019    1:25:12    1.42
Discuss 10th circuit argument and 1-1 moot with Dale                             3/15/2019    0:56:00    0.93
Prep Dale and attend 10th Circuit oral argument in Salt Lake City                3/18/2019    2:15:00    2.25
Read Tenth Circuit decision affirming final judgment                              5/7/2020       1:47    1.78
Read Kansas cert petition                                                         8/6/2020       0:51    0.85
Review and edit opposition to cert petition                                      10/9/2020       1:47    1.78
Correspondence re: structure of opposition to cert petition                      10/9/2020       0:34    0.57
Review and edit opposition to cert petition and correspondence re: preemption
case law                                                                        10/14/2020      2:14     2.23
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Review and edit opposition to cert petition                            10/23/2020         4:31      4.52
Correspondence to team re: inclusion of arguments in cert petition     10/28/2020         0:35      0.58
Research cases cited and review and edit opposition to cert petition   10/28/2020         5:29      5.48
Read Kansas's reply in support of cert petition                        11/16/2020         0:48      0.80
Total                                                                               1907:38:40   1907.64
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               ATTACHMENT 4
                 TO EXHIBIT A
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                                                  Fish v. Kobach, 16-2105
                                              Sophia L. Lakin: 2015 - 2020 Hours

Project/Time entry                                                                 Start date     Time (h)       Time (decimal)
Litigation meeting at Dechert                                                        11/16/2015        2:00:00             2.00
Draft email to A Zivarts re clients                                                  11/18/2015        0:31:17             0.52
Mtg with D Ho re Kansas litigation next steps                                        11/18/2015        0:13:00             0.22
Draft email to A Zivarts re clients                                                  11/18/2015        0:17:55             0.30
Research background docs for Dr. Minnite                                             11/18/2015        0:20:38             0.34
Draft emails re client declarations coordination                                     11/19/2015        0:08:00             0.13
Mtg with R Danjuma re expert declarations                                            11/20/2015        0:23:35             0.39
Mtg with R Danjuma re expert declarations                                            11/23/2015        0:17:24             0.29
Draft emails re client declarations coordination                                     11/23/2015        0:31:29             0.52
Draft email to Dr. Minnite re expert report & timeline & f/up mtg with R Danjuma     11/24/2015        1:12:19             1.21
Draft client declarations                                                            11/25/2015        0:13:19             0.22
Draft emails to A Zivarts re client contacts and details & f/up emails re same       11/25/2015        0:40:23             0.67
Draft client declarations                                                             12/1/2015        0:08:14             0.14
Mtgs with R Danjuma re Dr. Minnite expert report                                      12/1/2015        0:20:54             0.35
Review materials & prep for call with Dr. Minnite re expert report                    12/2/2015        1:15:18             1.26
Litigation team call                                                                  12/2/2015        0:24:20             0.41
Draft emails to A Zivarts re f/up questions re clients                                12/2/2015        0:15:30             0.26
Draft/review KORA requests re DPOC requirement                                        12/2/2015        0:11:24             0.19
Call with R Ortiz re case                                                             12/3/2015        0:35:21             0.59
Draft client declarations                                                             12/3/2015        0:32:01             0.53
Call with TJ Boynton re case                                                          12/3/2015        0:31:13             0.52
Draft client declarations                                                             12/3/2015        0:14:19             0.24
Call with KS LWV                                                                      12/4/2015        1:00:00             1.00
Draft client declarations                                                             12/6/2015        1:28:15             1.47
Draft client declarations                                                             12/7/2015        3:22:38             3.38
Call with Dr. Minnite re expert report                                                12/8/2015        0:52:29             0.87
Mtg with R Danjuma re Dr. Minnite expert report                                       12/8/2015        0:30:00             0.50
Draft client declarations                                                             12/9/2015        0:35:21             0.59
Mtg with R Danjuma re Dr. Minnite expert report                                       12/9/2015        0:22:23             0.37
Draft emails to A Zivarts re potential clients                                        12/9/2015        0:10:00             0.17
Call with R Ortiz re case                                                            12/10/2015        0:30:00             0.50
Call with TJ Boynton re case                                                         12/10/2015        0:27:39             0.46
Draft emails to A Zivarts re potential clients                                       12/10/2015        0:10:26             0.17
Call with D Ho, D Bonney, A Zivars re potential clients                              12/11/2015        0:13:00             0.22
Call with Dr. Minnite re expert report                                               12/11/2015        0:12:18             0.21
Draft client declarations                                                            12/12/2015        0:50:17             0.84
Review/revise client declarations                                                    12/15/2015        0:34:37             0.58
Litigation team call                                                                 12/16/2015        0:41:59             0.70
Mtg with D. Ho & R Danjuma re experts                                                12/17/2015        0:06:38             0.11
Litigation team call                                                                 12/23/2015        0:45:00             0.75
Draft email to Dr. Minnite re expert report                                           1/16/2016        0:15:00             0.25
Litigation team call                                                                  1/21/2016        0:19:00             0.32
Draft emails to R Ortiz re draft declaration                                          1/21/2016        0:09:27             0.16
Review/revise client declarations                                                     1/22/2016        0:17:34             0.29
Review/revise client declarations                                                     1/25/2016        0:09:13             0.15
Draft/edit client allegations in complaint & review/revise remainder                  1/25/2016        1:36:01             1.60
Draft email to Dr. Minnite re expert report                                           1/25/2016        0:08:22             0.14
Review/revise background allegations/counts in complaint                              1/25/2016        0:39:30             0.66
Review/revise brief ISO preliminary injunction                                        1/26/2016        2:10:05             2.17
Review Dr. Minnite's prior expert reports                                             1/26/2016        1:39:56             1.67
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Review/revise client declarations                                                     1/27/2016   0:27:53   0.46
Mtg with D Ho and R Danjuma re potential P&I clause claim                             1/27/2016   0:42:00   0.70
Review discovery produced in Cromwell case                                            1/27/2016   0:36:57   0.62
Call with Dr. Minnite re expert report                                                 2/2/2016   0:57:00   0.95
Litigation team call                                                                   2/3/2016   0:58:25   0.97
Review/revise client declarations                                                      2/3/2016   0:07:06   0.12
Review Dr. Minnite's draft report & draft f/up email to Dr. Minnite re same            2/7/2016   2:45:00   2.75
Legal research into potential P&I clause claim                                         2/7/2016   1:24:06   1.40
Revise TJ Boynton declaration                                                          2/8/2016   0:33:00   0.55
Legal research into potential P&I clause claim                                         2/8/2016   0:57:52   0.96
Mtg with TJ Boynton re case & declaration                                              2/8/2016   0:45:00   0.75
Draft email to Dr. Minnite re expert report                                            2/9/2016   0:15:00   0.25
Mtg with R Danjuma re Dr. Minnite expert report                                       2/16/2016   0:24:00   0.40
Review Dr. Minnite's draft report                                                     2/16/2016   0:52:16   0.87
Mtg with D Ho re case to do list                                                      2/16/2016   0:15:00   0.25
Litigation team call                                                                  2/17/2016   0:42:46   0.71
Mtg with R Danjuma re duplication claim argument                                      2/17/2016   0:31:00   0.52
Mtg with R Danjuma re Dr. Minnite expert report                                       2/17/2016   0:07:00   0.12
Call with Dr. Minnite re expert report                                                2/17/2016   0:37:38   0.63
Review/revise complaint                                                               2/17/2016   0:55:35   0.93
Review Dr. Minnite's prior expert reports                                             2/17/2016   1:02:37   1.04
Mtg with D Ho re Dr. Minnite expert report                                            2/18/2016   0:33:00   0.55
Review/revise and finalize client declarations                                        2/18/2016   0:16:03   0.27
Review/comment on Dr. Minnite's draft expert report                                   2/18/2016   2:59:28   2.99
Call with R Danjuma re expert report logistics                                        2/18/2016   0:17:06   0.29
Random media admin                                                                    2/19/2016   0:14:29   0.24
Review/comment on Dr. Minnite Report                                                  2/19/2016   0:50:26   0.84
Dr. Minnite discussion with R Danjuma and D Ho                                        2/19/2016   0:30:00   0.50
Review/comment on Dr. Minnite's draft expert report                                   2/19/2016   1:36:08   1.60
Call with Dr. Minnite re expert report                                                2/19/2016   0:32:16   0.54
Draft emails with Dr. Minnite re expert report                                        2/20/2016   0:35:00   0.58
Draft emails with Dr. Minnite re expert report                                        2/21/2016   0:30:00   0.50
Review/comment on Dr. Minnite's revised expert report & draft emails to Dr. Minnite
re same                                                                               2/22/2016   5:03:14   5.05
Review/comment on Dr. Minnite's revised expert report & draft emails to Dr. Minnite
re same                                                                               2/23/2016   3:10:44   3.18
Review/revise brief ISO preliminary injunction wrt Dr. Minnite's expert report        2/23/2016   1:24:23   1.41
Research for Dr. Minnite's expert report                                              2/23/2016   1:37:04   1.62
Review/comment on Dr. Minnite's revised expert report & draft emails to Dr. Minnite
re same                                                                               2/23/2016   1:35:02   1.58
Litigation team call                                                                  2/24/2016   0:40:55   0.68
Research for Dr. Minnite's expert report                                              2/24/2016   0:45:44   0.76
Review/comment on Dr. Minnite's revised expert report & draft emails to Dr. Minnite
re same                                                                               2/24/2016   4:01:19   4.02
Review/revise brief ISO preliminary injunction                                        2/24/2016   0:51:01   0.85
Review/finalize Dr. Minnite expert report                                             2/25/2016   0:37:00   0.62
Litigation team call                                                                   3/2/2016   1:05:21   1.09
Draft email to clients re fiiliings                                                    3/2/2016   0:20:09   0.34
Review draft discovery requests                                                        3/2/2016   0:26:18   0.44
Review draft discovery requests                                                        3/3/2016   0:12:22   0.21
Telephone conference with Court                                                        3/7/2016   0:22:00   0.37
Review/edit draft discovery requests                                                   3/7/2016   0:25:56   0.43
Review/edit draft discovery requests                                                   3/8/2016   0:13:21   0.22
Call with Dr. Minnite re timeline for supplemental report                              3/8/2016   0:13:22   0.22
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Litigation team call                                                              3/9/2016   0:25:17   0.42
Review/edit draft discovery requests                                              3/9/2016   0:52:31   0.88
Review/revise initial disclosures                                                3/11/2016   0:30:03   0.50
Participate in 26(f) conference                                                  3/14/2016   0:44:07   0.74
Litigation team call                                                             3/14/2016   0:28:00   0.47
Review/revise amended complaint; add client allegations                          3/15/2016   1:03:03   1.05
Litigation team call                                                             3/16/2016   0:35:12   0.59
Review/revise amended complaint; add client allegations                          3/16/2016   0:33:05   0.55
Mtg with R Danjuma re discovery                                                  3/17/2016   0:10:22   0.17
Participate in meet & confer re discovery objections                             3/18/2016   0:54:10   0.90
Review subpoena from Def Jordan                                                  3/18/2016   0:10:53   0.18
Participate in discovery conference befoore MJ O'Hara                            3/23/2016   2:23:56   2.40
Litigation team call                                                             3/23/2016   0:10:00   0.17
Review defs' discovery responses & production                                    3/24/2016   2:20:43   2.35
Mtg with R Danjuma re discovery                                                  3/25/2016   0:22:35   0.38
Mtg with R Danjuma re discovery                                                  3/29/2016   0:33:00   0.55
Review defs' opposition to motion for preliminary injunction                     3/30/2016   0:19:37   0.33
Litigation team call                                                             3/30/2016   1:02:44   1.05
Mtg with R Danjuma re preliminary injunction oppoosition                         3/30/2016   0:05:45   0.10
Review defs' opposition to motion for preliminary injunction & related docs       4/1/2016   0:50:41   0.84
Review defs' discovery responses & production                                     4/1/2016   0:19:02   0.32
Review defs' discovery responses & production                                     4/2/2016   0:23:17   0.39
Prep initial disclosure documents                                                 4/2/2016   0:10:59   0.18
Review defs' opposition to motion for preliminary injunction & related docs       4/3/2016   1:05:09   1.09
Draft email to Dr. Minnite re preliminary injunction opposition & related docs    4/4/2016   0:16:32   0.28
Review/revise deposition outline for T Lehman                                     4/5/2016   0:36:22   0.61
Participate in D Ho preliminary injunction hearing moot                           4/5/2016   1:25:00   1.42
Review/revise deposition outline for T Lehman                                     4/5/2016   0:20:19   0.34
Review defs' discovery responses & production                                     4/5/2016   0:01:57   0.03
Call with Dr. Minnite re preliminary injunction opposition & related docs         4/6/2016   0:15:00   0.25
Collect and send relevant discovery docs to Dr. Minnite                           4/6/2016   0:16:27   0.27
Deposition of T Lehman                                                            4/6/2016   3:09:49   3.16
Draft email to Dr. Minnite re supplemental expert report                         4/10/2016   0:30:00   0.50
Draft email to Dr. Minnite re supplemental expert report                         4/11/2016   0:06:39   0.11
Review documents produced at T Lehman deposition                                 4/11/2016   1:16:54   1.28
Review defs' discovery requests                                                  4/11/2016   0:20:37   0.34
Review/comment on Dr. Minnite's supplemental expert report                       4/11/2016   1:51:01   1.85
Review/comment on Dr. Minnite's supplemental expert report                       4/12/2016   2:33:08   2.55
Review/revise reply ISO preliminary injunction                                   4/12/2016   0:50:58   0.85
Participate in D Ho preliminary injunction hearing moot                          4/13/2016   1:30:00   1.50
Prep documents/other evidence & cases for preliminary injunctioin hearing        4/13/2016   1:30:00   1.50
Prep documents/other evidence & cases for preliminary injunctioin hearing        4/14/2016   0:15:00   0.25
Attend preliminary injunction hearing                                            4/14/2016   5:00:00   5.00
Litigation team call                                                             4/20/2016   0:36:57   0.62
Call with A Liu re class certification motion                                    4/20/2016   0:19:30   0.33
Call with TJ Boynton re preliminary injunction hearing & class cert motion       4/20/2016   0:03:27   0.06
Review/draft responses to defs' discovery requests                               4/21/2016   2:21:32   2.36
Review/revise brief ISO class certification                                      4/24/2016   0:26:05   0.43
Draft outline for client deposition prep                                         4/25/2016   0:35:09   0.59
Call with T.J. re discovery responses                                            4/25/2016   0:59:26   0.99
Review/draft responses to defs' discovery requests & prep production             4/25/2016   0:16:56   0.28
Call with R Ortiz re discovery responses                                         4/26/2016   0:42:30   0.71
Draft email to R Ortiiz re discovery responses                                   4/26/2016   0:08:28   0.14
Litigation team call                                                             4/27/2016   0:36:00   0.60
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Review TJ Boynton doc production                                                   4/27/2016   0:05:57   0.10
Review/draft responses to defs' discovery requests & prep production               4/28/2016   0:10:01   0.17
Review/revise motion for protective order re client depos                          4/28/2016   0:36:07   0.60
Coordinate client deposition logistics                                             4/29/2016   0:42:35   0.71
Review/draft responses to defs' discovery requests & prep production               4/29/2016   1:56:24   1.94
Review materials re SOS's expert                                                   4/29/2016   0:20:39   0.34
Call with Dr. Minnite re SOS's expert                                              4/29/2016   1:28:31   1.48
Review/draft responses to defs' discovery requests & prep production               4/29/2016   0:07:11   0.12
Coordinate client deposition logistics                                             4/29/2016   0:06:37   0.11
Review/draft responses to defs' discovery requests & prep production               4/30/2016   0:14:49   0.25
Draft outline for client deposition prep                                            5/1/2016   2:58:50   2.98
Draft outline for client deposition prep                                            5/2/2016   1:35:40   1.59
Review/revise template for client response to defs' RFPs                            5/2/2016   1:45:37   1.76
Review/draft responses to defs' discovery requests & prep production                5/2/2016   1:33:23   1.56
Review/draft responses to defs' discovery requests & prep production                5/3/2016   0:56:17   0.94
Coordinate client deposition logistics                                              5/3/2016   0:35:10   0.59
Mtg with A Liu re client depositions                                                5/3/2016   0:20:00   0.33
Mtg with TJ Boynton re deposition                                                   5/3/2016   2:40:00   2.67
Mtg with A Liu re client discovery production & deposition prep                     5/3/2016   0:54:00   0.90
Call with R Ortiz re deposition                                                     5/3/2016   0:17:00   0.28
Call with D Ho, A Liu & R Danjuma re client depositiions & discovery prodouction    5/3/2016   2:20:00   2.33
Call with TJ Boynton re deposition and document production                          5/3/2016   0:27:00   0.45
Call with D Bucci re deposition                                                     5/3/2016   0:21:00   0.35
Call with T Stricker re deposition                                                  5/3/2016   0:47:00   0.78
Mtg with TJ Boynton re deposition                                                   5/4/2016   0:33:00   0.55
Deposition of TJ Boynton                                                            5/4/2016   3:00:00   3.00
Mtg with D Bucci re deposition                                                      5/4/2016   0:40:00   0.67
Deposition of D Bucci                                                               5/4/2016   3:25:47   3.43
Deposition of T Stricker                                                            5/4/2016   3:52:05   3.87
Review defs motion to dismiss                                                       5/4/2016   0:32:05   0.53
Litigation team call                                                                5/5/2016   1:05:00   1.08
Finalize TJ Boynton's rog responses & requests for admissions                       5/5/2016   0:45:00   0.75
Write up client deposition notes for D Bonney                                       5/8/2016   1:32:36   1.54
Call with D Bonney re client depositioons                                           5/9/2016   0:18:49   0.31
Litigation team call                                                                5/9/2016   1:01:38   1.03
Review defs' requests for production to LWVK                                       5/10/2016   0:22:10   0.37
Review/revise reponse to defs motion to dismiss                                    5/10/2016   0:46:58   0.78
Draft emails re LWVK discovery production                                          5/10/2016   0:34:02   0.57
Litigation team call                                                               5/11/2016   1:06:23   1.11
Draft LWVK objections/responses to requests for production                         5/11/2016   1:10:25   1.17
Review defs' discovery responses & production                                      5/11/2016   0:26:41   0.44
Review LWVK document production                                                    5/11/2016   0:51:54   0.87
Call with A Liu re LWVK prooduction                                                5/12/2016   0:09:45   0.16
Draft requests for admission for Def Kobach                                        5/12/2016   2:48:32   2.81
Calls re coordinating collection LWVK ESI for production                           5/12/2016   0:31:42   0.53
Call with Dr. Minnite re deposition                                                5/12/2016   0:48:04   0.80
Draft emails to Dr. Minnite re deposition                                          5/12/2016   0:10:00   0.17
Call with LWVK board re document production                                        5/13/2016   0:50:53   0.85
Draft requests for admission for Def Kobach                                        5/13/2016   0:48:43   0.81
Call with M Ahrens re LWVK document production & discovery responses               5/13/2016   0:28:19   0.47
Review LWVK document production                                                    5/13/2016   2:42:31   2.71
Draft LWVK objections/responses to requests for production                         5/13/2016   0:18:18   0.31
Draft LWVK objections/responses to requests for production                         5/15/2016   0:40:24   0.67
Draft requests for admission for Def Kobach                                        5/15/2016   2:26:44   2.45
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Draft second set of rogs to Def Kobach                                  5/15/2016   0:14:06   0.24
Draft/review requests for admission for Def Jordan                      5/15/2016   1:44:44   1.75
Review LWVK document production & emails to discovery subteam re same   5/16/2016   6:12:35   6.21
Review von Spakovsky expert report                                      5/16/2016   1:11:31   1.19
Call with M Ahrens re LWVK document production & discovery responses    5/17/2016   0:17:00   0.28
Review LWVK document production & emails to discovery subteam re same   5/17/2016   2:49:46   2.83
Call with Dr. Minnite re Spakovsky report and rebuttal                  5/17/2016   0:42:33   0.71
Review memorandum & order granting preliminary injunuctiono             5/17/2016   1:36:14   1.60
Review TJ Boynton & T Stricker deposition transcripts                   5/17/2016   1:32:43   1.55
Litigation team call                                                    5/18/2016   1:14:00   1.23
Edit discovery requests to Defs Jordan and Kobach                       5/18/2016   2:41:43   2.70
Mtg with D Ho re LWVK discovery                                         5/18/2016   0:17:44   0.30
Review LWVK document production                                         5/18/2016   4:02:38   4.04
Review LWVK document production                                         5/19/2016   1:19:00   1.32
Call with M Ahrens re LWVK document production & discovery responses    5/19/2016   1:11:47   1.20
Review/revise LWVK responses to requests for production                 5/19/2016   2:21:02   2.35
Review LWVK document production                                         5/19/2016   3:30:28   3.51
Call with R Waldman re prooductions                                     5/20/2016   0:08:31   0.14
Review LWVK document production                                         5/20/2016   2:55:38   2.93
Review/revise LWVK responses to requests for production                 5/20/2016   0:51:14   0.85
Pull together materials for expert discovery                            5/20/2016   1:12:48   1.21
Review motion to stay preliminary injunction                            5/22/2016   0:25:45   0.43
Legal research for stay opposition; draft same                          5/23/2016   5:56:58   5.95
Revise TJ Boynton responses to requests for admission                   5/23/2016   0:35:43   0.60
Draft stay opposition                                                   5/24/2016   5:38:13   5.64
Call with Dr. Minnite re deposition                                     5/24/2016   0:48:35   0.81
Revise TJ Boynton responses to requests for admission                   5/24/2016   0:08:40   0.14
Draft LWVK response to 1st Rog                                          5/25/2016   1:25:17   1.42
Draft stay opposition                                                   5/25/2016   2:38:59   2.65
Draft LWV response to 1st Rog                                           5/25/2016   0:33:46   0.56
Litigation team call                                                    5/25/2016   0:39:45   0.66
Pull together materials for expert discovery                            5/25/2016   0:54:42   0.91
Call with TJ Boynton re discovery responses                             5/25/2016   0:14:59   0.25
Review client discovery responses                                       5/26/2016   1:04:23   1.07
Review discovery responses                                              5/26/2016   0:07:26   0.12
Draft email to Dr. Minnite re deposition                                5/26/2016   0:25:53   0.43
Draft LWV response to 1st Rog                                           5/26/2016   0:13:10   0.22
Draft stay opposition                                                   5/26/2016   1:42:36   1.71
Call with TJ Boynton re class cert hearing                              5/26/2016   0:33:28   0.56
Review defs' discovery responses & production                           5/27/2016   2:04:46   2.08
Draft TJ Boynton privilege log                                          5/27/2016   0:55:06   0.92
Edit stay opposition                                                    5/27/2016   2:12:47   2.21
Edit/finalize stay opposition                                           5/28/2016   2:40:24   2.67
Review Kobach's stay motion on appeal                                   5/28/2016   0:19:29   0.32
Draft opp to stay motion on appeal                                      5/29/2016   4:48:49   4.81
Draft opp to stay motion on appeal                                      5/30/2016   2:50:10   2.84
Prep for Dr. Minnite deposition & call with Dr. Minnite re same         5/30/2016   5:47:44   5.80
Review/revise LWVK amended rog response                                 5/31/2016   0:54:02   0.90
Prep for Dr. Minnite deposition                                         5/31/2016   0:30:34   0.51
Deposition prep mtg with Dr. Minnite                                    5/31/2016   3:45:00   3.75
Research & collect materials for von Spakovsky deposition               5/31/2016   0:59:27   0.99
Draft/finalize opp to stay motion on appeal                             5/31/2016   2:34:54   2.58
Draft LWVK response to 1st Rog                                          5/31/2016   1:07:44   1.13
Draft LWVK response to 1st Rog                                           6/1/2016   0:54:04   0.90
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Deposition of H von Spakovsky                                                        6/1/2016   5:50:00   5.83
Deposition prep mtg with Dr. Minnite                                                 6/1/2016   1:56:00   1.93
Call with Dr. Minnite re deposition                                                  6/1/2016   0:54:00   0.90
Mtg with Dr. Minnite re deposition                                                   6/2/2016   0:42:46   0.71
Deposition of Dr. Minnite                                                            6/2/2016   9:15:00   9.25
Call with R Danjuma re expert depositions                                            6/2/2016   0:15:00   0.25
Call with M Ahrens re LWVK response to 1st Rog                                       6/3/2016   0:57:53   0.96
Draft LWVK response to 1st Rog                                                       6/3/2016   0:43:28   0.72
Call with D Bonney re M Ahrens deposition                                            6/3/2016   0:34:10   0.57
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/5/2016   5:03:56   5.07
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/6/2016   2:55:56   2.93
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/7/2016   1:10:17   1.17
Draft emails to Dr. Minnite re rebuttal report                                       6/7/2016   0:52:47   0.88
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/7/2016   4:36:00   4.60
Review LWVK discovery responses with D Bonney                                        6/7/2016   0:40:00   0.67
Revise LWVK response to 1st Rog                                                      6/7/2016   0:14:43   0.25
Call with Dr. Minnite re rebuttal report                                             6/7/2016   1:06:05   1.10
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/7/2016   1:03:00   1.05
Review discovery materials for M Ahrens deposition; prep mtg re same                 6/8/2016   1:28:00   1.47
Deposition of M Ahrens                                                               6/8/2016   3:25:50   3.43
Draft/revise LWVK discovery responses                                                6/8/2016   1:00:15   1.00
Review/comment on Dr. Minnite rebuttal report                                        6/9/2016   0:53:26   0.89
Participate in R Waldman class certification hearing moot                            6/9/2016   2:25:00   2.42
Research re rebuttal experts                                                         6/9/2016   0:52:39   0.88
Review/comment on Dr. Minnite rebuttal report                                       6/10/2016   6:13:37   6.23
Draft/revise LWVK discovery responses                                               6/12/2016   1:38:07   1.64
Review/revise B Caskey deposition outline                                           6/13/2016   0:50:02   0.83
Draft/revise LWVK discovery responses                                               6/13/2016   1:29:07   1.49
Motion to Quash hearing                                                             6/13/2016   0:25:00   0.42
Litigation team mtg                                                                 6/14/2016   2:30:00   2.50
Call with M Ahrens re discovery responses                                           6/14/2016   0:17:00   0.28
Draft LWVK privilege log                                                            6/14/2016   0:25:00   0.42
Deposition of B Caskey                                                              6/15/2016   2:50:00   2.83
Mtg with M Ahrens re discovery responses                                            6/15/2016   1:10:00   1.17
Deposition of B Caskey                                                              6/15/2016   1:30:00   1.50
Draft LWVK privilege log; finalize discovery responses                              6/16/2016   4:25:07   4.42
Draft LWVK privilege log; finalize discovery responses                              6/19/2016   1:36:29   1.61
Draft LWVK privilege log; finalize discovery responses; calls with O. Danjuma, M.
Ahrens re same                                                                      6/20/2016   2:50:00   2.83
Call with TJ Boynton re litigation updates                                          6/20/2016   0:20:00   0.33
Call with M Ahrens re discovery responses                                           6/20/2016   0:40:00   0.67
Call with R Danjuma re discovery                                                    6/20/2016   0:35:00   0.58
Call with R Danjuma re discovery                                                    6/21/2016   0:08:00   0.13
Call with M Ahrens re litigation status                                             6/23/2016   0:11:30   0.19
Call with M Ahrens re litigation status and next steps                              6/27/2016   0:55:00   0.92
Litigation team call                                                                6/29/2016   0:42:57   0.72
Discovery responses follow up                                                       6/29/2016   1:45:57   1.77
Review Kobach's PI appeals brief                                                     7/3/2016   0:45:00   0.75
Review Kobach's PI appeals brief & litigation team mtg re same                       7/5/2016   2:45:00   2.75
Litigation team call                                                                 7/6/2016   0:37:28   0.62
Call with D Bonney re M Ahren deposition disputes                                    7/7/2016   0:21:34   0.36
Call with TJ Boynton re litigation updates                                           7/7/2016   0:12:45   0.21
Compile materials for M Ahrens deposition f/up                                      7/11/2016   0:49:57   0.83
Review M Ahrens deposition transcript & errata                                      7/11/2016   2:49:08   2.82
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Call with M Ahrens re deposition f/ups                                                     7/11/2016   0:48:17   0.80
Litigation team call                                                                       7/27/2016   0:16:48   0.28
Call with TJ Boynton re primary                                                             8/3/2016   0:12:47   0.21
Review Def Jordan motion for sanctions                                                      8/3/2016   0:25:14   0.42
Participate in D Ho PI appeal oral argument moot                                            8/5/2016   2:00:00   2.00
Mtg with R Danjuma re online DMV registrants                                               8/11/2016   0:27:49   0.46
PI Appeal oral argument at Tenth Circuit                                                   8/23/2016   1:00:00   1.00
Draft oral argument recap for clients/litigation team                                      8/23/2016   2:30:00   2.50
Review/revise LWVK response to motion for sanctions                                        8/26/2016   1:30:13   1.50
Review LWVK response to motion for sanctions                                               8/29/2016   0:51:39   0.86
Prepare declaration for LWVK response to motion for sanctions                              8/29/2016   1:48:24   1.81
Call with M Ahrens re declaration for LWVK response to motion for sanctions                8/29/2016   0:27:03   0.45
Litigation team call                                                                       8/30/2016   0:40:53   0.68
Draft email to T Stricker re status of cases, provisional ballot                           8/30/2016   0:08:07   0.14
Research for motion for summary judgment on P&I claim                                      8/31/2016   2:17:16   2.29
Litigation team call                                                                        9/7/2016   0:20:01   0.33
Call with M Ahrens re litigation status                                                     9/9/2016   0:30:47   0.51
Status conference with Judge Robinson; litigation team call                                9/14/2016   1:00:00   1.00
Call w R Danjuma re moving to enforce preliminary injunction                               9/14/2016   0:10:00   0.17
Research and fact gathering for motion to enforce                                          9/14/2016   1:03:36   1.06
Draft T Stricker declaration for motion to enforce preliminary injunction                  9/14/2016   0:45:59   0.77
Draft T Stricker declaration for motion to enforce preliminary injunction                  9/15/2016   0:19:07   0.32
Review/revise28j letter re opinion in Newby case                                           9/26/2016   1:48:43   1.81
Draft proposed pretrial order                                                              9/27/2016   0:44:33   0.74
Litigation team call                                                                       9/28/2016   0:33:39   0.56
Meet and confer and f/up communications re motion to enforce PI/contempt with
defs                                                                                       9/28/2016   0:50:17   0.84
Draft proposed pretrial order                                                              10/2/2016   2:17:38   2.29
Draft proposed pretrial order                                                              10/3/2016   2:32:24   2.54
Deposition prep call with Dr. Barreto                                                      10/3/2016   2:42:24   2.71
Review/revise pls' motion to compel production                                             10/4/2016   0:28:53   0.48
Deposition prep call with Dr. Barreto                                                      10/4/2016   1:45:19   1.76
Draft proposed pretrial order                                                              10/5/2016   0:58:49   0.98
Telephonic status conference before Judge Robinson re modifications to official
notice re PI                                                                               10/5/2016   0:30:00   0.50
Deposition of Dr. Barreto                                                                  10/5/2016   3:25:00   3.42
Call with G Roe re bates stamp issue                                                       10/5/2016   0:15:00   0.25
Review/revise pls' motion to compel production                                             10/6/2016   1:09:36   1.16
Review/revise pls' motion to compel production                                             10/7/2016   0:23:30   0.39
Draft proposed pretrial order                                                              10/7/2016   3:31:44   3.53
Call with M Ahrens re notice modifications                                                 10/7/2016   0:15:02   0.25
F/up re modifications to official notice re PI                                             10/9/2016   0:23:25   0.39
Draft proposed pretrial order; draft emails to D Ho & Keener counsel re same              10/10/2016   2:12:19   2.21
F/up re modifications to official notice re PI; review websites/other SOS materials for
PI compliance purposes                                                                    10/10/2016   0:44:38   0.74
Draft pretrial order; draft emails to G Roe re same                                       10/11/2016   1:50:44   1.85
Review websites/other SOS materials for PI compliance purposes                            10/12/2016   0:18:44   0.31
Litigation team call                                                                      10/12/2016   0:59:44   1.00
Draft proposed pretrial order; draft emails to G Roe re same                              10/12/2016   0:55:38   0.93
Review websites/other SOS materials for PI compliance purposes                            10/12/2016   0:39:37   0.66
Meet and Confer with G Roe re PI compliance and status report                             10/12/2016   0:30:00   0.50
Mtg with R Danjuma and D Ho re PI compliance issues                                       10/12/2016   0:37:00   0.62
Call with A Liu re stips, compliance issues                                               10/12/2016   0:12:52   0.21
Call with M Ahrens re PI compliance issues/concerns                                       10/12/2016   0:31:31   0.53
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Review materials for Carmarota deposition                                        10/13/2016   2:11:39   2.19
Draft pretrial order; draft emails to G Roe re same                              10/13/2016   4:11:43   4.20
Calls with G Roe re pretrial order                                               10/13/2016   0:50:10   0.84
Call with A Liu re Camarota depoosition                                          10/13/2016   0:08:12   0.14
Mtg with R Danjuma re standing and compliance issues                             10/14/2016   0:15:00   0.25
Draft/revise fact/background paragraphs for motion for summary judgment on P&I
claim                                                                            10/14/2016   4:18:22   4.31
Review motion to compel response                                                 10/15/2016   0:10:54   0.18
Draft/revise fact/background paragraphs for motion for summary judgment on P&I
claim                                                                            10/16/2016   0:28:36   0.48
Review/revise reply ISO motion to compel prodduction                             10/16/2016   0:17:49   0.30
Deposition of S Camarota                                                         10/17/2016   5:36:12   5.60
Compile materials & prep for pretrial conference                                 10/18/2016   0:32:45   0.55
Pretrial conference before MJ O'Hara; f/up litigation team call re same          10/20/2016   1:30:00   1.50
Research/draft opposition to motion to reopen discovery                          10/20/2016   3:30:00   3.50
Research/draft opposition to motion to reopen discovery                          10/23/2016   3:04:30   3.08
Research/draft opposition to motion to reopen discovery                          10/24/2016   4:10:19   4.17
Draft emails to G Roe re additional stipulations                                 10/24/2016   0:39:20   0.66
Draft/revise/finalize opposition to motion to reopen discovery                   10/25/2016   7:20:07   7.34
Mtg with R Danjuma re motion for summary judgment on P&I claim                   10/26/2016   0:45:00   0.75
Review 10th cir opinion affirming PI                                             10/26/2016   1:51:43   1.86
Revise proposed pretrial order                                                   10/26/2016   0:53:10   0.89
Draft/edit brief ISO motion for partial summary judgment                         10/26/2016   0:47:10   0.79
Draft/edit brief ISO motion for partial summary judgment                         10/27/2016   2:50:48   2.85
Call with G Roe re revised pretrial order                                        10/27/2016   0:03:54   0.07
Draft revised proposed pretrial order; draft emails to G Roe re same             10/27/2016   2:27:16   2.45
Draft revised proposed pretrial order                                            10/28/2016   0:42:39   0.71
Draft/edit brief ISO motion for partial summary judgment                         10/28/2016   6:18:19   6.31
Call with R Danjuma re revised proposed pretrial order                           10/28/2016   0:43:03   0.72
Draft emails to litigation team, clients re discovery reopening & next steps     10/28/2016   0:47:38   0.79
Litigation team call                                                              11/2/2016   0:40:53   0.68
Scheduling conference/pretrial conference                                         11/3/2016   1:19:00   1.32
Call with M Ahrens re litigation status and next steps                           11/15/2016   0:20:00   0.33
Draft/edit brief ISO motion for partial summary judgment                         11/16/2016   2:38:21   2.64
Legal research on standing/mootness                                              11/16/2016   0:45:00   0.75
Legal research on standing/mootness                                              11/17/2016   2:04:21   2.07
Draft/edit brief ISO motion for partial summary judgment                         11/17/2016   2:09:36   2.16
Draft/edit brief ISO motion for partial summary judgment                         11/18/2016   1:12:37   1.21
Draft/edit brief ISO motion for partial summary judgment                         11/29/2016   2:32:08   2.54
Draft emails to Dr. Minnite re PILF reports                                      11/30/2016   0:25:26   0.42
Mtg with R Danjuma re motion for partial summary judgment                        11/30/2016   0:39:00   0.65
Mtgs with R Danjuma re motion for partial summary judgment                        12/1/2016   0:28:00   0.47
Draft emails to Dr. Minnite re PILF reports                                       12/1/2016   0:33:04   0.55
Draft email to T Stricker on case status and developments                         12/5/2016   0:11:50   0.20
Review new voter fraud info/reports                                               12/5/2016   0:40:20   0.67
Litigation team call                                                              12/7/2016   0:54:00   0.90
Call with Dr. Minnite re PILF reports and other new materials                    12/12/2016   0:59:47   1.00
Review voter fraud docs/reports                                                  12/12/2016   0:27:38   0.46
Research for meet & confer re pls' fifth and sixth requests for production       12/14/2016   0:23:47   0.40
Review/revise brief ISO partial summary judgment                                 12/14/2016   1:53:35   1.89
Review exhibits for partial summary judgment motion                              12/15/2016   0:25:10   0.42
Prep for meet & confer with G Roe re discovery disputes                          12/16/2016   0:18:11   0.30
Meet & confer G Roe and B Lee re discovery disputes                              12/16/2016   0:31:12   0.52
Track down citations and exhibits for partial summary judgment motion            12/18/2016   1:35:56   1.60
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Call with R Danjuma and A Liu re meet and confer                                   12/19/2016   0:38:10   0.64
Draft M Ahrens declaration for partial summary judgment motion                     12/19/2016   1:05:52   1.10
Mtgs with R. Danjuma re finalizing partial summary judgment motion                 12/20/2016   1:34:33   1.58
Review/revise brief ISO partial summary judgment                                   12/20/2016   0:34:26   0.57
Track down citations and exhibits for partial summary judgment motion              12/20/2016   2:40:48   2.68
Legal research re organizational standing                                          12/21/2016   1:26:03   1.43
Draft cover motion for partial summary judgment motion                             12/21/2016   0:21:57   0.37
Litigation team call re motion for partial summary judgment                        12/21/2016   0:50:37   0.84
Mtgs with R. Danjuma re finalizing partial summary judgment motion                 12/21/2016   0:18:00   0.30
Track down citations and exhibits for partial summary judgment motion              12/21/2016   0:57:42   0.96
Track down citations and exhibits for partial summary judgment motion              12/21/2016   0:59:42   1.00
Review/revise brief ISO partial summary judgment                                   12/22/2016   2:15:27   2.26
Mtgs/calls with R. Danjuma re finalizing partial summary judgment motion           12/22/2016   0:28:02   0.47
Review summary judgment briefs & exhibits filed in Keener case                      1/4/2017    1:55:49   1.93
Review/revise motion to compel production                                           1/5/2017    0:19:36   0.33
Review summary judgment briefs & exhibits filed in Keener case                      1/6/2017    1:16:43   1.28
Review Keener SJ papers                                                             1/6/2017    0:03:32   0.06
Legal research for motion to compel production                                      1/6/2017    0:34:26   0.57
Meet & confer with G Roe re requests for production                                 1/6/2017    0:31:44   0.53
Meet & confer f/up call with R Danjuma and A Liu                                    1/6/2017    0:18:14   0.30
Mtgs with R. Danjuma re finalizing partial summary judgment motion                  1/9/2017    0:19:32   0.33
Mtg with T Stricker re birth certificate request and case status                   1/19/2017    0:20:00   0.33
Review/revise for motion to compel production (RFP 6)                              1/22/2017    1:00:58   1.02
Review/revise for motion to compel production (RFP 6); mtg with R Danjuma re
same                                                                               1/23/2017    0:31:26   0.52
Draft emails to litigation team re T Stricker birth certificate/ID issues          1/23/2017    0:46:15   0.77
Litigation team call                                                               1/25/2017    0:45:00   0.75
Review opp to partial summary judgment; mtgs with R Danjuma re same                1/30/2017    2:07:55   2.13
Legal research re standing for reply ISO partial summary judgment motion           1/30/2017    0:58:16   0.97
Review J Richman expert report and data                                            1/31/2017    1:55:52   1.93

Mtg with R Danjuma re standing args for reply ISO partial summy judgment motiono   1/31/2017    0:28:00   0.47
Mtg with D Ho re rebuttal experts and standing                                     1/31/2017    0:42:19   0.71
Draft emails to G Roe re underlying expert data                                    1/31/2017    0:20:50   0.35
Legal research re standing args for reply ISO partial summy judgment motion; mtg
with R Danjuma re same                                                             1/31/2017    1:17:16   1.29
Legal research re standing for reply ISO partial summary judgment motion           1/31/2017    2:51:27   2.86
Legal research re standing for reply ISO partial summary judgment motion            2/1/2017    0:34:54   0.58
Litigation team call/f-up mtgs with R Danjuma and D Ho                              2/1/2017    1:31:00   1.52
Legal research for reply ISO partial summy judgment motion                          2/2/2017    0:16:07   0.27
Review J Richman expert report                                                      2/2/2017    1:02:27   1.04
Call with Dr. Minnite re J Richman report                                           2/3/2017    1:22:40   1.38
Call with Dr. Ansolabehere re rebuttal repoort                                      2/3/2017    1:30:00   1.50
Legal research for reply ISO partial summy judgment motion                          2/3/2017    1:33:18   1.56
Mtg with R Danjuma re standing args for reply ISO partial summy judgment motion     2/3/2017    0:25:00   0.42
Draft standing section for reply ISO partial summy judgment motion                  2/3/2017    2:19:44   2.33
Draft/research standing section for reply ISO partial summy judgment motion         2/5/2017    3:10:47   3.18
Draft/research standing section for reply ISO partial summy judgment motion; mtg
with R Danjuma re same                                                              2/6/2017    1:35:44   1.60
Draft/research standing section for reply ISO partial summy judgment motion         2/6/2017    0:50:01   0.83
Draft/review emails with Dr. Minnite re rebuttal report                             2/7/2017    1:05:25   1.09
Draft/research standing section for reply ISO partial summy judgment motion         2/7/2017    0:49:42   0.83
Litigation team call                                                                2/8/2017    0:49:00   0.82
Call with R Danjuma re reply ISO partial summary judgment motion                    2/8/2017    0:13:15   0.22
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Mtg with D Ho re follow-up discovery for rebuttal reports                            2/8/2017   0:25:00   0.42
Draft requests for production                                                        2/8/2017   2:29:05   2.48
Draft/research for reply ISO partial summy judgment motion; mtg with R Danjuma re
same                                                                                 2/8/2017   1:21:41   1.36
Mtg with R Danjuma re reply ISO partial summy judgment motion                        2/8/2017   0:30:00   0.50
Draft/research for reply ISO partial summy judgment motion                           2/8/2017   5:25:32   5.43
Review new productions from defs                                                     2/9/2017   0:56:42   0.95
Call with Dr. Minnite re response to new materials                                   2/9/2017   2:24:56   2.42
Mtgs with D Ho re additional expert discovery                                       2/10/2017   1:32:00   1.53
Meet & confer with defs re additional discovery                                     2/13/2017   0:34:57   0.58
Calls with R Danjuma re reply ISO partial summary judgment motion                   2/14/2017   0:22:27   0.37
Review/finalize reply ISO partial summary judgment motion                           2/14/2017   3:06:02   3.10
Calls with R Danjuma re reply ISO partial summary judgment motion                   2/14/2017   0:48:01   0.80
Review/finalize reply ISO partial summary judgment motion                           2/15/2017   4:05:58   4.10
Calls with R Danjuma re reply ISO partial summary judgment motion                   2/15/2017   0:10:15   0.17
Review expert materials/other productions from defs                                 2/16/2017   4:48:26   4.81
Participate in R Danjuma moot re motion for partial summary judgment                2/16/2017   1:35:33   1.59
Review expert materials/other productions from defs                                 2/21/2017   1:16:40   1.28
Call with Dr. Minnite re rebuttal report                                            2/21/2017   1:15:48   1.26
Mtg with R Danjuma re partial summary judgment motion                               2/22/2017   0:27:45   0.46
Review expert materials/other productions from defs                                 2/22/2017   0:01:42   0.03
Mtg with R Danjuma re partial summary judgment motion                               2/23/2017   0:49:59   0.83
Review expert materials/other productions from defs                                 2/24/2017   0:44:48   0.75
Mtg with R Danjuma re potential questions for partial summry judment hearing        2/27/2017   0:16:18   0.27
Participate in R Danjuma moot re motion for partial summary judgment                2/27/2017   3:00:00   3.00
Mtg with R Danjuma re potential questions for partial summry judment hearing        2/28/2017   0:28:30   0.48
Review/comment on Dr. Minnite rebuttal report                                        3/1/2017   3:08:42   3.15
Participate in R Danjuma moot re motion for partial summary judgment                 3/1/2017   1:26:59   1.45
Review/comment on Dr. Minnite rebuttal report                                        3/1/2017   0:44:14   0.74
Mtg with R Danjuma re potential questions for partial summry judment hearing         3/1/2017   0:51:43   0.86
Call with Dr. Minnite re rebuttal report                                             3/2/2017   1:26:12   1.44
Participate in R Danjuma moot re motion for partial summary judgment                 3/3/2017   0:22:00   0.37
Partial summary judgment oral argument                                               3/3/2017   3:15:00   3.25
Review/revise supplemental rogs                                                      3/6/2017   0:36:26   0.61
Review expert materials/other productions from defs                                  3/6/2017   0:12:43   0.21
Call with Dr. Minnite re rebuttal report                                             3/6/2017   0:24:51   0.41
Litigation team call                                                                 3/8/2017   1:00:14   1.00
Review expert materials/other productions from defs                                  3/8/2017   0:43:48   0.73
Review expert materials/other productions from defs                                 3/12/2017   0:08:53   0.15
Review Drs. Ansolobahere & E. Hersh rebuttal reports                                3/12/2017   0:46:30   0.78
Review expert materials/other productions from defs                                 3/13/2017   0:45:16   0.75
Review/comment on Dr. Minnite rebuttal report                                       3/13/2017   4:45:31   4.76
Call with Dr. Minnite re rebuttal report/J Richman deposition                       3/14/2017   2:09:31   2.16
Review expert materials/other productions from defs                                 3/14/2017   0:28:45   0.48
Review/comment on Dr. Ansolabehere's rebuttal report                                3/14/2017   0:33:40   0.56
Review Dr. Minnite's rebuttal report                                                3/14/2017   1:37:37   1.63
Review Dr. Minnite's rebuttal report                                                3/15/2017   3:06:40   3.11
Review Dr. Minnite's report/convo with D Ho re updated spreadsheet                  3/15/2017   0:29:00   0.48
Finalize Dr. Minnite's rebuttal report                                              3/15/2017   3:19:25   3.32
Finalize and send rebuttal expert reports                                           3/15/2017   0:20:07   0.34
Call with D Ha re add'l discovery                                                   3/16/2017   0:18:41   0.31
Review documents produced at B Caskey deposition                                    3/24/2017   0:19:15   0.32
Prep for Dr. Minnite deposition                                                     3/26/2017   2:31:07   2.52
Review new noncitizen registration materials                                        3/27/2017   1:27:10   1.45
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Deposition of E Rucker                                                             3/28/2017   2:24:20   2.41
Prep for Dr. Minnite deposition                                                    3/28/2017   2:47:23   2.79
Deposition of B Caskey                                                             3/28/2017   3:04:14   3.07
Prep for Dr. Minnite deposition                                                    3/29/2017   3:30:46   3.51
Dr. Minnite Depo prep                                                              3/29/2017   0:04:37   0.08
Call with M Ahrens re naturalization ceremonies                                    3/29/2017   0:13:43   0.23
Prep for Dr. Minnite deposition                                                    3/30/2017   4:58:56   4.98
Prep for Dr. Minnite deposition                                                    3/31/2017   6:20:00   6.33
Deposition of Dr. Ansoabehere                                                       4/3/2017   3:12:13   3.20
Litigation team call                                                                4/5/2017   0:30:11   0.50
Review T Lehman noncitizen spreadsheet & underlying records                         4/5/2017   1:52:36   1.88
Review J Richman rebuttal report                                                   4/17/2017   0:58:51   0.98
Meeting with D Ho re Richman rebuttal report                                       4/18/2017   0:25:00   0.42
Review J Richman rebuttal report                                                   4/18/2017   0:35:27   0.59
Call with Dr. Minnite re J Richman rebuttal report                                 4/19/2017   0:45:09   0.75
Review J Richman rebuttal report                                                   4/19/2017   0:15:48   0.26
Litigation team call                                                               4/19/2017   0:32:18   0.54
Meeting with D Ho re J Richman rebuttal report                                     4/19/2017   0:32:10   0.54
Meeting with D Ho re J Richman rebuttal report                                     4/19/2017   0:29:50   0.50
Review J Richman rebuttal report                                                   4/19/2017   0:08:31   0.14
Review/revise outline for J Richman deposition                                     4/20/2017   4:12:25   4.21
Deposition of J Richman                                                            4/21/2017   8:33:28   8.56
Review/revise Rule 72a response                                                     5/1/2017   0:45:36   0.76
Review Dr. Minnite deposition transcript for errata                                 5/3/2017   2:39:24   2.66
Coordination call with Keener counsel                                               5/8/2017   0:29:42   0.50
Litigation team call                                                               5/10/2017   0:09:45   0.16
Status conference                                                                  5/10/2017   0:34:04   0.57
Review/revise fact section for brief ISO summary judgment motion                   5/11/2017   2:54:27   2.91
Draft emails re proposed petrial order                                             5/12/2017   0:15:55   0.27
Review draft proposed pretrial order                                               5/13/2017   0:10:45   0.18
Litigation team call                                                               5/15/2017   0:50:42   0.85
Review discovery motion                                                            5/18/2017   0:15:35   0.26
F/up research for motion to reopen                                                 5/18/2017   0:19:47   0.33
Meet & confer re pretrial order & confidential dsignations with G Roe, B Lee & K
Kobach and f/up convo with D Ho                                                    5/19/2017   0:38:00   0.63
Review/revise motion for sanctions due to failure to comply with discovery
obligations                                                                        5/22/2017   2:30:46   2.51
Meet & confer with G Roe re pretrial order                                         5/26/2017   0:34:19   0.57
Meet & confer with G Roe re pretrial order                                         5/30/2017   0:33:00   0.55
Review/revise pretrial order                                                       5/30/2017   0:51:50   0.86
Litigation team call                                                               5/31/2017   0:04:28   0.07
Call with GR re modifications to draft pretrial order                               6/5/2017   0:10:00   0.17
Pretrial conference                                                                 6/5/2017   1:00:00   1.00
Review/revise reply ISO motion for sanctions                                       6/19/2017   0:43:30   0.73
Review/revise reply ISO motion for sanctions                                       6/20/2017   1:15:46   1.26
Draft emails to clients re litigation updates                                      6/21/2017   0:24:42   0.41
Review/revise brief ISO summary judgment motion                                    6/23/2017   2:14:32   2.24
Litigation team call                                                               6/28/2017   0:15:00   0.25
Litigation team call                                                               7/26/2017   0:37:02   0.62
Legal research for motiono to unseal                                                8/4/2017   0:44:28   0.74
Litigation team call                                                                8/9/2017   0:33:28   0.56
Review/revise von Spakovskyy Daubert motion                                        8/17/2017   4:49:30   4.83
Review/revise reply ISO summary judgment motiion                                   8/21/2017   5:19:14   5.32
Review/revise J Richman Daubert motion                                             8/22/2017   1:10:39   1.18
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Review/revise reply ISO summary judgment motiion                                      8/23/2017   0:25:10   0.42
Review order to unseal                                                                10/5/2017   0:34:28   0.57
Mtgs with R Danjuma re unsealing depositiion                                         10/10/2017   0:41:55   0.70
Mtgs with R Danjuma re unsealing depositiion                                         10/16/2017   0:23:12   0.39
Mtg with R Danjuma re call with Court and other strategic issues                     10/23/2017   0:35:00   0.58
Status conference with Court re redactions                                           10/25/2017   0:23:08   0.39
Call with R Danjuma re deposition excerpts                                           10/25/2017   0:52:11   0.87
Mtg with R Danjuma re deposition excerpts                                            10/26/2017   0:18:20   0.31
Litigation team call                                                                  11/8/2017   0:11:08   0.19
Mtg with D Ho and R Danjuma re trial planning                                         11/8/2017   0:46:00   0.77
Litigation team call                                                                 11/29/2017   0:07:59   0.13
Litigatiion team call                                                                 12/8/2017   0:53:40   0.89
Trial planning/prep                                                                  12/19/2017   0:34:14   0.57
Litigation team call                                                                 12/20/2017   0:45:15   0.75
Litigation team call                                                                   1/3/2018   0:45:14   0.75
Review memorandum & order on summary judmgnet                                          1/3/2018   0:52:14   0.87
Mtg with R Danjuma re trial and memorandum & order on summary judgment                 1/3/2018   0:15:00   0.25
Litigation team call                                                                   1/4/2018   0:23:22   0.39
Call with S Becker re joint status report                                              1/4/2018   0:24:37   0.41
Litigation team call re pretrial order                                                 1/4/2018   0:14:00   0.23
Mtg with R Danjuma re trial and memorandum & order on summary judgment                 1/5/2018   0:15:00   0.25
Call with M Ahrens re trial prep                                                      1/10/2018   0:30:43   0.51
Litigation team call                                                                  1/11/2018   1:27:27   1.46
Compile potential trial exhibiits                                                     1/11/2018   1:35:26   1.59
Meet & confer with S Becker re pretrial deadlines & f/up emails re same               1/12/2018   0:35:00   0.58
Trial witness prep and draft master client exam outline                               1/15/2018   4:15:27   4.26
Trial witness prep and draft master client exam outline                               1/16/2018   5:29:10   5.49
Trial testimony pref call with Dr. Minnite                                            1/16/2018   1:30:37   1.51
Trial witness prep and draft master client exam outline; other trial prep/planning    1/17/2018   6:27:23   6.46
Trial witness prep and draft master client exam outline; other trial prep/planning    1/18/2018   3:18:03   3.30
Mtg with R Danjuma re potential trial exhibits                                        1/19/2018   0:20:00   0.33
Trial witness prep and draft master client exam outline; other trial prep/planning    1/19/2018   1:56:19   1.94
Trial witness prep and draft master client exam outline; other trial prep/planning    1/21/2018   0:40:31   0.68
Trial witness prep and draft master client exam outline; other trial prep/planning    1/22/2018   0:43:30   0.73
Review Dr. Minnite Daubert motion                                                     1/22/2018   0:23:26   0.39
Trial witness prep and draft master client exam outline; other trial prep/planning    1/23/2018   3:48:00   3.80
Research/draft opposition to Dr. Minnite Daubert motion                               1/23/2018   2:15:28   2.26
Litigation team call                                                                  1/24/2018   0:58:56   0.98
Trial witness prep and draft master client exam outline; other trial prep/planning    1/24/2018   0:43:38   0.73
Mtg with litigation team re proposed findings of facts                                1/24/2018   1:17:48   1.30
Draft proposed findings of fact outline                                               1/24/2018   1:46:22   1.77
Draft deposition designations                                                         1/24/2018   0:28:24   0.47
Review/compile proposed trial exhibits                                                1/24/2018   0:43:14   0.72
Trial witness prep and draft master client exam outline; other trial prep/planning    1/25/2018   0:43:36   0.73
Litigation team mtg re proposedd findings of fact/conclusions of law                  1/25/2018   0:48:16   0.80
Research/draft opposition to Dr. Minnite Daubert motion                               1/25/2018   2:52:51   2.88
Research/draft opposition to Dr. Minnite Daubert motion                               1/28/2018   4:58:18   4.97
Review trial exhihit list                                                             1/28/2018   0:39:35   0.66
Research/draft opposition to Dr. Minnite Daubert motion                               1/29/2018   9:55:26   9.92
Review trial exhihit list                                                             1/29/2018   0:13:12   0.22
Research/draft opposition to Dr. Minnite Daubert motion                               1/30/2018   6:02:40   6.04
Trial planning/prep                                                                   1/30/2018   1:29:42   1.50
Team call re client trial testimony                                                   1/31/2018   1:21:37   1.36
Trial planning/prep                                                                   1/31/2018   1:25:42   1.43
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Draft/revise opposition to Dr. Minnite Daubert motion                         1/31/2018   6:10:17   6.17
Litigation team call                                                           2/1/2018   1:00:45   1.01
Trial prep call with M Ahrens                                                  2/1/2018   1:06:40   1.11
Draft/revise opposition to Dr. Minnite Daubert motion                          2/1/2018   2:56:16   2.94
Draft/revise opposition to Dr. Minnite Daubert motion                          2/4/2018   8:38:25   8.64
Draft Dr. Minnite declarationo for Daubert motion opposition                   2/5/2018   0:43:33   0.73
Call with Dr. Minnite re Daubert motion opposition                             2/5/2018   1:40:51   1.68
Draft/revise opposition to Dr. Minnite Daubert motion                          2/5/2018   4:49:05   4.82
Draft proposed findings of fact                                                2/6/2018   6:07:55   6.13
Litigation team mtg                                                            2/7/2018   2:15:00   2.25
Draft proposed findings of fact                                                2/7/2018   1:26:41   1.44
Draft M Ahrens direct exam outline                                             2/7/2018   1:49:15   1.82
Draft proposed findings of fact/conclusions of law                             2/7/2018   1:23:02   1.38
Draft M Ahrens direct exam outline                                             2/8/2018   1:58:48   1.98
Final pretrial conference + f/up discussion with litigation team               2/8/2018   1:01:57   1.03
Trial prep with M Ahrens                                                       2/8/2018   0:44:03   0.73
Draft proposed findings of fact/conclusions of law                             2/8/2018   0:55:00   0.92
Call with A Liu and T Cordova re T Lehman/Dr. Minnite exhibiits & testimony    2/8/2018   1:24:00   1.40
Review defs's trial exhibits                                                   2/8/2018   2:04:15   2.07
Draft proposed findings of fact/conclusions of law                             2/9/2018   2:56:38   2.94
Review defs's trial exhibits                                                   2/9/2018   2:52:40   2.88
Draft M Ahrens direct exam outline                                            2/11/2018   5:47:46   5.80
Draft M Ahrens direct exam outline                                            2/12/2018   1:01:23   1.02
Review defs's trial exhibits                                                  2/12/2018   1:36:46   1.61
Draft deposition designations                                                 2/12/2018   1:03:31   1.06
Review defs's trial exhibits                                                  2/13/2018   1:56:38   1.94
Draft M Ahrens direct exam outline                                            2/13/2018   3:48:30   3.81
Litigation team call re trial evidence mechanics and other trial planning     2/14/2018   1:48:05   1.80
Team call re individual client direct exam/testimony prep                     2/14/2018   0:44:43   0.75
Draft Dr. Minnite direct exam outline                                         2/14/2018   2:21:16   2.35
Call with Dr. Minnite re trial testimony                                      2/15/2018   0:53:07   0.89
Draft M Ahrens direct exam outline                                            2/15/2018   0:40:39   0.68
Draft proposed findings of fact                                               2/15/2018   0:13:39   0.23
Trial prep mtg with M Ahrens                                                  2/15/2018   5:59:10   5.99
Review/revise other individual clients direct exam outlines                   2/16/2018   1:44:39   1.74
Draft Dr. Minnite direct exam outline                                         2/16/2018   0:47:53   0.80
Trial prep mtg with Dr. Minnite                                               2/16/2018   3:54:35   3.91
Draft proposed findings of fact                                               2/17/2018   2:35:26   2.59
Mtgs with R Danjuma re proposed findings of fact                              2/18/2018   1:43:14   1.72
Draft Dr. Minnite direct exam outline                                         2/18/2018   0:10:31   0.18
Draft proposed findings of fact                                               2/18/2018   4:03:20   4.06
Review various pretrial filings                                               2/19/2018   0:58:51   0.98
Draft proposed findings of fact                                               2/19/2018   2:41:57   2.70
Draft Dr. Minnite direct exam outline                                         2/19/2018   4:28:55   4.48
Draft Dr. Minnite direct exam outline                                         2/20/2018   8:58:20   8.97
Litigation team call                                                          2/20/2018   1:00:00   1.00
Draft proposed findings of fact                                               2/20/2018   2:33:33   2.56
Litigation team call                                                          2/21/2018   1:00:00   1.00
Draft outline for Dr. Minnite cross exam prep                                 2/21/2018   0:56:07   0.94
Trial prep call with Dr. Minnite                                              2/22/2018   1:37:51   1.63
Review/revise other individual clients direct exam outlines                   2/22/2018   0:32:09   0.54
Revise M Ahrens direct exam outline                                           2/22/2018   0:47:03   0.78
Trial prep call with M Ahrens                                                 2/22/2018   2:39:22   2.66
Draft Dr. Minnite direct exam outline                                         2/22/2018   7:52:07   7.87
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Review various pretrial filings                                                    2/22/2018    2:20:21    2.34
Trial prep mtg with Dr. Minnite                                                    2/23/2018    7:27:07    7.45
Review T Lehman direct/cross outline                                               2/24/2018    0:30:51    0.51
Revise M Ahrens direct exam outline                                                2/25/2018    5:16:14    5.27
Trial prep call with M Ahrens                                                      2/26/2018    1:43:26    1.72
Draft outline for Dr. Minnite cross exam prep                                      2/26/2018    2:02:03    2.03
Trial planning/prep                                                                2/27/2018    2:26:57    2.45
Revise Dr. Minnite direct exam outline                                             2/27/2018    2:14:02    2.23
Trial planning/prep                                                                2/27/2018    3:48:05    3.80
Revise Dr. Minnite direct exam outline                                             2/28/2018    9:03:00    9.05
Trial planning/prep                                                                2/28/2018    1:23:01    1.38
Litigation team call                                                               2/28/2018    5:19:13    5.32
Trial planning/prep                                                                 3/1/2018    1:51:15    1.85
Revise M Ahrens direct exam outline                                                 3/1/2018    1:59:24    1.99
Trial prep with M Ahrens                                                            3/1/2018    2:48:57    2.82
Revise Dr. Minnite direct exam outline                                              3/1/2018    2:08:40    2.14
Trial planning/prep                                                                 3/2/2018    3:18:18    3.31
Coordinate/compile exhibit redactions and witness binders                           3/2/2018    7:06:55    7.12
Trial prep mtg with M Ahrens                                                        3/3/2018    2:27:12    2.45
Trial planning/prep                                                                 3/3/2018    0:31:55    0.53
Coordinate/compile exhibit redactions and witness binders                           3/3/2018    0:36:46    0.61
Revise M Ahrens direct exam outline                                                 3/3/2018    0:50:51    0.85
Revise M Ahrens direct exam outline                                                 3/4/2018    1:57:43    1.96
Coordinate/compile exhibit redactions and witness binders                           3/4/2018    0:52:26    0.87
Revise Dr. Minnite direct exam outline                                              3/4/2018    7:29:38    7.49
Trial prep mtg with M Ahrens                                                        3/4/2018    2:22:51    2.38
Trial planning/prep                                                                 3/4/2018    0:00:10    0.00
Trial prep sessions with M Ahrens                                                   3/4/2018    2:02:34    2.04
Trial prep mtg with Dr. Minnite                                                     3/5/2018    2:13:44    2.23
Trial prep and Trial Day 1                                                          3/6/2018    4:00:00    4.00
Trial prep mtg with Dr. Minnite                                                     3/6/2018    3:30:00    3.50
Trial Day 1                                                                         3/6/2018    1:15:00    1.25
Trial prep mtgs with M Ahrens and Dr. Minnite                                       3/6/2018    2:30:00    2.50
Revise M Ahrens & Dr. Minnite diredt exam outlines; update witness binders          3/6/2018    5:15:00    5.25
Trial Day 2                                                                         3/7/2018    9:15:00    9.25
Trial prep mtg with Dr. Minnite; other witness prep                                 3/7/2018    5:00:00    5.00
Trial Day 3                                                                         3/8/2018    8:56:00    8.93
Trial prep mtg with Dr. Minnite; revise outline and witness binder                  3/8/2018    4:24:00    4.40
Trial Day 4                                                                         3/9/2018    9:30:00    9.50
Trial prep                                                                         3/10/2018    0:55:00    0.92
Litigation team mtg                                                                3/11/2018    0:45:00    0.75
Reseach re supplemental disclosures                                                3/11/2018    1:45:00    1.75
Trial Day 5                                                                        3/12/2018    9:00:00    9.00
Trial Day 6                                                                        3/13/2018    8:20:00    8.33
Litigation team call                                                               3/15/2018    0:17:54    0.30
Pull trial testimony excerpts for closing statement                                3/15/2018    5:57:21    5.96
Trial Day 7                                                                        3/19/2018    6:30:00    6.50
Draft emails to clients re trial                                                   3/26/2018    0:18:08    0.30
Team mtg re drafting post-trial proposed findings of fact and conclusions of law   3/27/2018    0:53:44    0.90
Litigation team call                                                               3/28/2018    0:15:13    0.25
Draft post-trial proposed findings of fact and conclusions of law                  3/29/2018    4:54:54    4.92
Draft post-trial proposed findings of fact and conclusions of law                  3/30/2018    1:13:28    1.22
Draft post-trial proposed findings of fact and conclusions of law                   4/1/2018    4:15:40    4.26
Draft post-trial proposed findings of fact and conclusions of law                   4/2/2018   10:58:00   10.97
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Draft post-trial proposed findings of fact and conclusions of law                         4/3/2018    1:18:16    1.30
Team mtg re post-trial proposed findings of fact and conclusions of law                   4/4/2018    1:09:00    1.15
Draft post-trial proposed findings of fact and conclusions of law                         4/4/2018    4:57:11    4.95
Draft post-trial proposed findings of fact and conclusions of law                         4/5/2018    8:16:42    8.28
Mtg with R Danjuma re proposed findings of fact and conclusions of law                    4/5/2018    0:55:00    0.92
Draft post-trial proposed findings of fact and conclusions of law                         4/6/2018    2:49:56    2.83
Draft post-trial proposed findings of fact and conclusions of law                         4/9/2018    2:43:22    2.72
Draft post-trial proposed findings of fact and conclusions of law                        4/10/2018    6:47:47    6.80
Draft post-trial proposed findings of fact and conclusions of law                        4/11/2018    4:58:50    4.98
Litigation team call                                                                     4/11/2018    1:18:32    1.31
Draft post-trial proposed findings of fact and conclusions of law                        4/13/2018    2:14:59    2.25
Draft post-trial proposed findings of fact and conclusions of law                        4/15/2018    3:26:05    3.43
Draft post-trial proposed findings of fact and conclusions of law                        4/16/2018    2:41:03    2.68
Litigation team call                                                                     4/18/2018    0:38:26    0.64
Draft post-trial proposed findings of fact and conclusions of law                        4/23/2018   11:10:14   11.17
Litigation team call                                                                     4/25/2018    0:32:24    0.54
Draft emals re appeal of sanctions/contempt order                                         5/3/2018    0:12:06    0.20
Review/revise motion to dismiss sanctions/contempt appeal                                 5/3/2018    0:11:39    0.19
Draft emails with LWVK re court order on sanctions/contempt                               5/3/2018    0:12:00    0.20
Review/revise/finalize motion to dismiss sanctions/contempt appeal                        5/3/2018    0:16:02    0.27
Review court ruling ordering permanent injunction; draft emails to clients re same;
draft emails to litigation team re next steps                                            6/18/2018    2:04:00    2.07
Litigation team call                                                                     6/19/2018    0:50:00    0.83
Mtg with D Ho re appellate briefing                                                      6/19/2018    0:14:34    0.24
Call with M Ahrens re district court ruling                                              6/19/2018    0:09:44    0.16
Compile attorneys' fees                                                                  6/19/2018    0:19:27    0.32
Draft emails to clients re court ruling                                                  6/19/2018    0:21:13    0.35
investigate potential compliance issues                                                  6/20/2018    2:16:00    2.27
Compile measures necessary for permanent injunction compliance                           6/20/2018    0:11:39    0.19
Compile measures necessary for permanent injunction compliance                           6/20/2018    1:16:50    1.28
Compile measures necessary for permanent injunction compliance; draft letter re
same                                                                                     6/21/2018    2:05:34    2.09
Compile attorneys' fees                                                                  6/22/2018    0:56:05    0.93
Compile measures necessary for permanent injunction compliance; draft letter re
same                                                                                     6/22/2018    3:23:53    3.40
Call with D Ho and M Johnson re various compliance issues, appeal                        6/25/2018    0:33:00    0.55
Compile measures necessary for permanent injunction compliance; draft letter re
same                                                                                     6/25/2018    5:01:00    5.02
Appellate strategy mtg with D Cole                                                       6/26/2018    0:34:00    0.57
Research/draft motion to stay fee petitions until after exhaustion of appeals            6/28/2018    2:21:12    2.35
Research/draft motion to stay fee petitions until after exhaustion of appeals            6/29/2018    1:39:48    1.66
Call with M Johnson re stayinig fee petition                                             6/29/2018    0:15:00    0.25
Draft emails re staying fee petition                                                     6/29/2018    0:28:09    0.47
Mtg with R Danjuma re motion to stay fee petitiono; Call with G Roe re same;
finalize motion re same                                                                  6/29/2018    0:50:58    0.85
Finalize motion to stay fee petitions until after exhaustion of appeals                  6/29/2018    0:33:01    0.55
Draft emails re staying fee petition                                                      7/1/2018    0:15:00    0.25

Email/text with G. Roe re motion to stay fees proceedings clarification email to Court    7/1/2018    0:20:00    0.33
Draft emails re staying fee petition                                                      7/2/2018    0:26:09    0.44
Draft emails/texts with G. Roe re fees motion clarification email to Court                7/2/2018    0:14:18    0.24
Review def's permanent injunction compliance measures response                            7/2/2018    0:31:31    0.53
Draft joint status report on compliance measures                                          7/2/2018    2:35:06    2.59
Call with G Roe re compliance measures status report                                      7/2/2018    0:52:06    0.87
Draft email to G Roe re compliance measures f/up                                          7/2/2018    0:59:23    0.99
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Draft joint status report on compliance measures                                    7/5/2018   2:47:24   2.79
Review documents from defs for compliance verification                              7/5/2018   0:32:55   0.55
Draft joint status report on compliance measures                                    7/6/2018   0:21:34   0.36
Review documents from defs for compliance verification                              7/6/2018   2:15:19   2.26
Draft joint status report on compliance measures                                    7/6/2018   1:31:15   1.52
Draft joint status report on compliance measures                                    7/7/2018   1:24:00   1.40
Mtg with D Ho and R Danjuma re appeal strategy                                     7/10/2018   0:45:58   0.77
Review documents from defs for compliance verification                             7/10/2018   0:30:28   0.51
Review documents from defs for compliance verification                             7/11/2018   0:16:35   0.28
Review documents from defs for compliance verification                             7/12/2018   0:31:16   0.52
Mtg with D Ho & R Danjuma re appeal                                                7/25/2018   0:12:21   0.21
Mtg with D Ho & R Danjuma re appeal brief outline                                   8/2/2018   0:30:00   0.50
Review/edit outline for appeal brief                                                8/2/2018   0:25:25   0.42
Review/edit outline for appeal brief                                                8/3/2018   0:28:00   0.47
Review documents for compliance verification; call with individual re potential
compliance iviolation                                                              8/10/2018   1:03:09   1.05
Mtg with R Danjuma re appeal brief                                                 8/16/2018   0:24:32   0.41
Draft facts/procedural history portions of appellate brief                         8/28/2018   3:16:14   3.27
Draft facts/procedural history portions of appellate brief                          9/3/2018   3:48:34   3.81
Draft facts/procedural history portions of appellate brief                          9/4/2018   1:52:57   1.88
Draft facts/procedural history portions of appellate brief                         9/18/2018   0:49:36   0.83
Mtgs with R Danjuma re contempt appeal                                             9/18/2018   0:24:00   0.40
Draft facts/procedural history portions of appellate brief                         9/19/2018   0:59:53   1.00
Mtg re drafting logistics with R Danjuma                                           9/19/2018   0:26:52   0.45
Draft facts/procedural history portions of appellate brief                         9/20/2018   4:59:22   4.99
Draft NVRA section of legal argument for appellate brief                           9/20/2018   1:33:45   1.56
Draft facts/procedural history portions of appellate brief                         9/21/2018   6:52:01   6.87
Draft NVRA section of legal argument for appellate brief                           9/21/2018   0:29:57   0.50
Draft NVRA section of legal argument for appellate brief                           9/22/2018   0:49:25   0.82
Draft NVRA section of legal argument for appellate brief                           9/26/2018   0:57:03   0.95
Draft NVRA section of legal argument for appellate brief                           9/27/2018   3:26:57   3.45
Draft NVRA section of legal argument for appellate brief                           9/28/2018   0:43:42   0.73
Review appellants' brief                                                           9/28/2018   1:49:25   1.82
Mtg with D Ho re appellants' brief                                                 10/1/2018   0:14:14   0.24
Litigation team call re appellant's brief                                          10/1/2018   0:57:20   0.96
Mtg re drafting appellate brief with R Danjuma                                     10/1/2018   0:22:24   0.37
Revise appellate brief structure                                                   10/2/2018   0:35:07   0.59
Call with Bednasek counsel re coordinating appellate brief                         10/2/2018   0:25:26   0.42
Legal research for appellate brief                                                 10/3/2018   0:43:16   0.72
Investigate potential compliance issues                                            10/6/2018   0:41:25   0.69
Call re appellate brief with R Danjuma                                            10/11/2018   0:24:18   0.41
Legal research for appellate brief                                                10/17/2018   0:28:01   0.47
Mtg with R Danjuma re contempt appeal drafting/filing logistics                   10/18/2018   0:11:27   0.19
Legal research/draft NVRA section for appellate brief                             10/21/2018   4:06:38   4.11
Mtg with R Danjuma re NVRA claim                                                  10/24/2018   0:15:00   0.25
Call with R Danjuma re standing for Anderson-Burdick claim                        10/29/2018   0:08:04   0.13
Call with R Danjuma re standing for Anderson-Burdick claim                        10/30/2018   0:38:46   0.65
Mtg re drafting ouutstanding sections of appellate brief with R Danjuma            11/3/2018   0:18:00   0.30
Legal research/draft NVRA section for appellate brief                              11/4/2018   6:06:02   6.10
Mtg with R Danjuma re law of the case, drafting coordination, standing             11/5/2018   0:50:00   0.83
Call with R Danjuma re Anderson-Burdick claim                                      11/5/2018   0:05:58   0.10
Legal research/draft NVRA section for appellate brief                              11/5/2018   3:40:12   3.67
Review/edit initial draft of brief                                                 11/8/2018   0:59:05   0.98
Finish facts section, address comments in NVRA section of appellate brief         11/12/2018   6:11:55   6.20
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Finish facts section, background sections; address comments in NVRA section of
appellate brief                                                                  11/13/2018      9:36:06      9.60
Team call re appellate brief                                                     11/16/2018      0:42:11      0.70
Address comments and finish NVRA section of appellate brief                      11/18/2018      2:01:51      2.03
Address comments and finish NVRA section of appellate brief                      11/19/2018      4:12:47      4.21
Address comments and finish NVRA section of appellate brief                      11/20/2018      5:51:41      5.86
Finish facts section, address comments in NVRA section of appellate brief        11/21/2018      2:34:44      2.58
Address comments, streamline facts/background section, and finish NVRA section
of appellate brief                                                               11/21/2018      2:02:47      2.05
Address comments, streamline facts/background section, and finish NVRA section   11/23/2018      0:52:04      0.87
Address comments, streamline facts/background section, and finish NVRA section   11/24/2018      0:52:59      0.88
Finish pulling record cites for appellate brief                                  11/26/2018      0:51:59      0.87
Finish pulling record cites for appellate brief                                  11/26/2018      1:10:32      1.18
Participate in D Ho moot for Tenth Circui oral argument                            3/1/2019      1:30:00      1.50
Participate in D Ho moot for Tenth Circui oral argument                            3/7/2019      1:27:13      1.45
Merits appeal oral argument                                                       3/18/2019      2:15:00      2.25
Review Tenth Circuit decision affirming                                           4/29/2020      0:40:00      0.67
Draft emails to clients about Tenth Circuit ruling                                4/29/2020      0:19:15      0.32
Compile attorneys' fees estimate                                                  5/12/2020      0:43:52      0.73
Team mtg re cert petition                                                          8/3/2020      1:09:24      1.16
Litigation team call re cert petition                                              8/5/2020      0:21:38      0.36
Calls with team members re cert BIO                                               9/25/2020      1:08:28      1.14
Review/revise cert BIO                                                           10/16/2020      2:59:00      2.98
Review/revise cert BIO                                                           10/16/2020      2:38:00      2.63
Team mtg regarding cert BIO                                                      10/22/2020      1:17:29      1.29
Draft emails re cert BIO                                                         10/26/2020      0:13:43      0.23
Draft emails re cert BIO                                                         10/27/2020      0:26:52      0.45
Review/revise cert BIO                                                           10/29/2020      1:02:18      1.04
Review/revise cert BIO                                                           10/30/2020      1:47:16      1.79
Draft email to clients re SCOTUS cert denial                                     12/14/2020      0:23:47      0.40
Compile hours for fee petition                                                   12/14/2020      0:30:46      0.51
Compile hours for fee petition; review time sheets                                1/21/2021      6:30:46      6.51
Compile hours for fee petition; review time sheets                                1/22/2021      1:30:46      1.51
Total                                                                                         1348:14:02   1310.89
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               ATTACHMENT 5
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                                                Fish v. Kobach, 16-2105
                                         Emily Rong Zhang: 2017 - 2018 Hours

Project/Time entry                                                             Start date Time (h) Time (decimal)
Daubert Reply                                                                  9/18/2017 7:54:00              7.90
Daubert Reply                                                                  9/19/2017 0:34:00              0.57
Daubert Reply                                                                  9/20/2017 3:47:00              3.78
Daubert Reply                                                                  9/21/2017 1:05:00              1.08
Daubert Reply                                                                  9/25/2017 2:42:00              2.70
Daubert Reply                                                                  9/26/2017 0:30:00              0.50
Daubert Reply                                                                  9/26/2017 5:25:00              5.42
Daubert Reply                                                                  10/2/2017 3:19:00              3.32
Daubert Reply                                                                  10/2/2017 1:04:00              1.07
Daubert Reply                                                                  10/3/2017 1:52:00              1.87
Daubert Reply                                                                  10/3/2017 3:03:00              3.05
Daubert Reply                                                                  10/3/2017 2:09:00              2.15
Daubert Reply                                                                  10/5/2017 0:24:00              0.40
Daubert Reply                                                                  10/5/2017 0:34:00              0.57
Daubert Reply                                                                  10/5/2017 0:05:00              0.08
Daubert Reply                                                                  10/5/2017 0:11:00              0.18
Daubert Reply                                                                  10/5/2017 1:11:00              1.18
Daubert Reply                                                                  10/5/2017 0:34:00              0.57
Daubert Reply                                                                  10/5/2017 16:10:00            16.17
Daubert Reply                                                                  10/6/2017 0:51:00              0.85
Reading expert materials                                                       1/23/2018 4:21:00              4.35
Reading expert materials                                                       1/24/2018 8:37:00              8.62
Researching caselaw for Minnite Daubert                                        1/29/2018 4:30:00              4.50
Reading up on materials                                                        1/30/2018 1:54:00              1.90
Preparing Direct                                                               1/30/2018 4:08:00              4.13
Preparing response to Richman supp                                             1/31/2018 2:48:00              2.80
Reading Minnite Daubert                                                        1/31/2018 2:16:00              2.27
Researching deposition designation for defendant's expert                      1/31/2018 0:50:00              0.83
Researching deposition designation for defendant's expert                      1/31/2018 0:55:00              0.92
Call                                                                            2/1/2018 0:30:00              0.50
PFOF                                                                            2/1/2018 0:35:00              0.58
Reading Minnite Daubert                                                         2/1/2018 0:50:00              0.83
PFOF                                                                            2/1/2018 5:15:00              5.25
PFOF                                                                            2/2/2018 4:26:00              4.43
Reading Minnite Daubert                                                         2/5/2018 0:39:00              0.65
PFOF                                                                            2/5/2018 1:06:00              1.10
Pro Hac                                                                         2/5/2018 0:34:00              0.57
PFOF                                                                            2/5/2018 3:13:00              3.22
PFOF                                                                            2/6/2018 0:28:00              0.47
PFOF                                                                            2/6/2018 0:25:00              0.42
Preparing response to Richman supp                                              2/6/2018 0:40:00              0.67
PFOF                                                                            2/6/2018 0:23:00              0.38
Preparing response to Richman supp                                              2/6/2018 0:30:00              0.50
Preparing response to Richman supp                                              2/6/2018 1:36:00              1.60
Preparing Direct                                                                2/6/2018 2:00:00              2.00
Reading cross draft                                                             2/7/2018 0:53:00              0.88
Dechert meeting                                                                 2/7/2018 2:00:00              2.00
Fixing cross                                                                    2/8/2018 0:55:00              0.92
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PFOF                                                              2/9/2018 0:38:00      0.63
Fixing cross                                                      2/9/2018 0:00:00      0.00
Fixing cross                                                      2/9/2018 8:02:00      8.03
Fixing cross                                                     2/12/2018 28:21:00    28.35
hersh direct                                                     2/13/2018 4:53:00      4.88
Ansolabehere call                                                2/14/2018 6:08:00      6.13
Team call                                                        3/28/2018 0:24:00      0.40
PFOF                                                             3/28/2018 5:34:00      5.57
PFOF                                                             3/29/2018 2:01:00      2.02
PFOF                                                             3/29/2018 2:12:00      2.20
PFOF                                                             3/30/2018 5:03:00      5.05
PFOF                                                              4/2/2018 8:32:00      8.53
PFOF                                                              4/4/2018 6:01:00      6.02
PFOF                                                              4/5/2018 4:07:00      4.12
PFOF                                                              4/9/2018 7:32:00      7.53
Fish call                                                        4/11/2018 0:30:00      0.50
PFOF                                                             4/12/2018 0:36:00      0.60
monitoring compliance with voter file and suspense lists          7/6/2018 2:30:00      2.50
monitoring compliance with voter file and suspense lists          7/9/2018 3:00:00      3.00
monitoring compliance with voter file and suspense lists         7/10/2018 1:35:00      1.58
monitoring compliance with voter file and suspense lists         7/11/2018 3:10:00      3.17
monitoring compliance with voter file and suspense lists         7/11/2018 16:31:00    16.52
monitoring compliance with voter file and suspense lists         7/12/2018 0:50:00      0.83
Total                                                                     228:51:00   228.85
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               ATTACHMENT 6
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                                                Fish v. Kobach, 16-2105
                                              Molly Rugg: 2015-2016 Hours

Project/Time entry                                                                       Start date Time (decimal)
Cite-check and proofread NVRA notice letter.                                               11/5/2015               1
Proofread and finalize NVRA notice letter; send to SoS.                                  11/20/2015                1
Team conference call.                                                                       2/3/2016               1
Cite-check complaint.                                                                       2/9/2016            0.5
Team conference call.                                                                      2/10/2016               1
Cite-check complaint; discuss filing logistics with attorneys.                             2/16/2016           3.75
Cite-check complaint.                                                                      2/17/2016            1.5
Team conference call.                                                                      2/17/2016               1

Finalize complaint; proofread class certification papers; prepare civil cover sheet.      2/17/2016             3.25
Finalize complaint, class cert motion/brief, civil cover sheet; file case and all
initiating papers; pay filing fee.                                                        2/18/2016             1.25
Prepare and file attorneys' pro hac vice admission papers.                                2/18/2016              2.5
Prepare and file attorneys' pro hac vice admission papers.                                2/19/2016              0.5
Cite-check PI brief.                                                                      2/19/2016             1.25
Cite-check PI brief.                                                                      2/22/2016             2.75
Cite-check PI brief.                                                                      2/23/2016                3
Finalize and file NS pro hac vice admission papers.                                       2/24/2016             0.25
Proofread Minnite expert report.                                                          2/24/2016                2
Finalize Minnite expert report.                                                           2/25/2016             0.75
Proofread and format McDonald expert report.                                              2/25/2016                2

Incorporate attorney changes to PI brief; finalize motion, brief, declaration, and all
exhibits; make tables of contents and authorities; file with court.                       2/26/2016             4.75
Prepare skeleton document for initial disclosures.                                         3/8/2016              0.5
Confer with D. Kan. clerk re: proper procedure for filing proof of service of
summons; file same.                                                                        3/9/2016             0.25
Finalize and serve discovery requests to Defendants; file COS for same; mail hard
copies.                                                                                    3/9/2016             1.25

Prepare draft for Fish Plaintiffs' components of the parties' 26(f) conference report.    3/11/2016                2
Incorporate edits from the other parties into the 26(f) report.                           3/15/2016              1.5
Proofread, cite-check, finalize, and file first amended complaint.                        3/17/2016                2
Proofread draft joint discovery issues motion.                                            3/22/2016              0.5
Finalize and file joint discovery issues motion.                                          3/22/2016             0.25

Finalize and file supplemental notice of discovery disputes; discuss same with DH.        3/23/2016              0.5
Research other cases' protective orders re: expert access to confidential
information.                                                                              3/24/2016             0.25
Add all dates from 3/24 scheduling order to team calendars.                               3/25/2016             0.25
Cite-check and proofread joint motion for protective order.                               3/25/2016             0.25

Prepare initial disclosures for service and COS for initial disclosures for filing.       3/30/2016              0.5
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Prepare motion to exceed page limit for reply in support of preliminary injunction.    4/11/2016     1
Cite-check reply in support of preliminary injunction motion.                          4/11/2016     5
Cite-check reply in support of preliminary injunction motion; prepare exhibits to
same.                                                                                  4/12/2016   4.75
Prepare index of exhibits to reply in support of PI brief.                             4/12/2016    0.5
Finalize and file PI reply brief, index of exhibits, exhibits, and motion for excess
pages.                                                                                 4/12/2016   2.75
Finalize motion for protective order regarding deposition scheduling and its
exhibits; create index of exhibits; file all.                                           5/2/2016     1
Proofread, finalize, and file reply in support of motion for protective order
regarding deposition scheduling.                                                        5/2/2016   0.25

Prepare and file notice of service of responses to Jordan's first interrogatories.      5/9/2016   0.25
Proofread Plaintiff Boynton's responses to Jordan Requests for Admission and
double-check same against original requests PDF.                                        5/9/2016   0.25
Research Defendants' proffered expert, Hans von Spakovsky.                              5/9/2016    1.5
Research Defendants' proffered expert, Hans von Spakovsky, in preparation for
deposition; write memo for DH re same.                                                 5/10/2016      3
Prepare draft of Plaintiffs' supplemental disclosures.                                 5/12/2016    0.5
Prepare letter to court in response to Defendants' 28(j) letter for filing.            5/16/2016    0.5

Convert Defs' discovery requests from PDF to Word for use in drafting responses.       5/23/2016    0.5
Research Defendants' proffered expert, Hans von Spakovsky, in preparation for
deposition.                                                                            5/23/2016    1.5
Research Defendants' proffered expert, Hans von Spakovsky, in preparation for
deposition.                                                                            5/24/2016     1

Prepare notices of appearance for attorneys in 10th Circuit interlocutory appeal.      5/24/2016     1
Prepare and file notices of appearance for attorneys in Kobach's 10th Circuit
interlocutory appeal.                                                                  5/25/2016   0.75
Research Defendants' proffered expert, Hans von Spakovsky, in preparation for
deposition.                                                                            5/27/2016   0.75
Prepare and file deposition notices for Defendant Jordan and DoV 30(b)(6)
designee.                                                                               6/1/2016    0.5
Cite-check opposition to Kobach's 10th Cir. stay motion.                                6/2/2016      2
Cite-check opposition to Kobach's 10th Cir. stay motion.                                6/3/2016   1.25
Incorporate edits into opposition to Kobach's 10th Cir. stay motion.                    6/6/2016    0.5
Incorporate edits into opposition to Kobach's 10th Cir. stay motion.                    6/7/2016      2
Proofread opposition to Kobach's 10th Cir. stay motion.                                 6/8/2016    0.5
Incorporate edits into opposition to Kobach's 10th Cir. stay motion.                    6/8/2016    0.5

Make table of authorities for opposition to Kobach's 10th Cir. stay motion.             6/8/2016    0.5
Finalize and file opposition to Kobach's 10th Cir. stay motion.                         6/8/2016   0.25

Format and proofread LWVK responses to Def. Jordan's first requests for admission.     6/15/2016   0.25
Proofread LWVK responses to Def. Jordan's 2d interrogatories.                          6/16/2016   0.25
Proofread and format motion to consolidate Kobach & Jordan appeals.                    6/20/2016   0.25
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Proofread and format response to Kobach motion for leave to file overlength 10th
Cir. briefs.                                                                        6/22/2016    0.25
Prepare and file notices of appearance for attorneys in Jordan's 10th Circuit
interlocutory appeal.                                                                7/5/2016     0.5

Cite-check and proofread 10th Cir. brief in Kobach appeal; discuss same with ROD.   7/11/2016     0.5
Cite-check and proofread motion to strike and correct record in 10th Cir.           7/12/2016     1.5
Cite-check and proofread 10th Cir. brief in Kobach appeal.                          7/12/2016     0.5
Cite-check and proofread 10th Cir. brief in Kobach appeal; make table of contents
for same.                                                                           7/13/2016       3
Cite-check and proofread 10th Cir. brief in Kobach appeal.                          7/15/2016     1.5
Total                                                                                           88.25
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               ATTACHMENT 7
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                                                     Fish v. Kobach, 16-2105
                                                Lila Carpenter: 2016-2020 Hours

Project/Time entry                                                                       Start date Time (h)    Time (decimal)
Double-checking section headings.                                                          7/19/2016                        0.5
Gathering Discovery materials, cross-checking                                              9/19/2016                           4
Cite-checking Motion/Brief for Enforcement, gathering exhibits.                            9/22/2016                           4
Proofing, finalizing cite-checking, adding in exhibit numbers, creating exhibit index,
adding cover pages to exhibits, filing                                                    9/23/2016                         5.5
Searching discovery documents                                                             12/1/2016   0:03:13              0.05
Downloading Filings from Pacer                                                            12/6/2016   0:25:16              0.42
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:00:11              0.00
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:26:04              0.43
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:03:33              0.06
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:04:16              0.07
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:52:14              0.87
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:43:15              0.72
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:06:37              0.11
Preparing Exhibits from SOF in Summary Judgment                                          12/12/2016   0:27:02              0.45
Preparing Exhibits from SOF in Summary Judgment                                          12/13/2016   3:26:42              3.45
Finding sources for facts cited to "stipulated facts" in SJ                              12/18/2016   1:18:25              1.31
Finding sources for facts cited to "stipulated facts" in SJ                              12/18/2016   0:36:19              0.61
Finding sources for facts cited to "stipulated facts" in SJ                              12/18/2016   0:03:41              0.06
Finding sources for facts cited to "stipulated facts" in SJ                              12/18/2016   1:11:56              1.20
Collecting Exhibits                                                                      12/18/2016   2:06:47              2.11
Discussing SJ Filing plan w. Orion and Sophia                                            12/19/2016   0:31:00              0.52
Pulling LWV Exhibits for Declaration                                                     12/19/2016   0:12:24              0.21
Legal cite check                                                                         12/20/2016   0:09:51              0.16
Legal cite check                                                                         12/20/2016   0:23:52              0.40
Legal cite check                                                                         12/20/2016   0:39:29              0.66
Legal cite check                                                                         12/20/2016   1:01:06              1.02
Legal cite check                                                                         12/20/2016   0:13:37              0.23
Legal cite check                                                                         12/20/2016   0:07:38              0.13
Legal cite check                                                                         12/20/2016   0:26:51              0.45
Legal cite check                                                                         12/20/2016   1:08:00              1.13
Legal cite check                                                                         12/20/2016   1:45:54              1.77
Collecting Exhibits                                                                      12/21/2016   0:10:23              0.17
Collecting Exhibits                                                                      12/21/2016   0:54:27              0.91
Collecting Exhibits                                                                      12/21/2016   0:21:56              0.37
Collecting Exhibits                                                                      12/21/2016   0:03:45              0.06
Collecting Exhibits                                                                      12/21/2016   1:53:57              1.90
Collecting Exhibits                                                                      12/21/2016   0:16:29              0.27
Redacting Exhibits                                                                       12/21/2016   0:58:56              0.98
Statutory Cite Check                                                                     12/21/2016   0:45:33              0.76
Statutory Cite Check                                                                     12/21/2016   1:05:52              1.10
Updating Exhibits                                                                        12/21/2016   0:57:39              0.96
Redacting Exhibits                                                                       12/21/2016   0:21:39              0.36
pulling together declarations w/ exhibits                                                12/21/2016   1:22:08              1.37
Updating Exhibits                                                                        12/22/2016   0:50:47              0.85
pulling together declarations w/ exhibits                                                12/22/2016   0:45:32              0.76
pulling together declarations w/ exhibits                                                12/22/2016   0:27:46              0.46
Inserting Exhibits into brief                                                            12/22/2016   1:24:00              1.40
Finding scheduling cites                                                                  1/23/2017   0:07:00              0.12
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Proof & Cite Check Motion to Compel                                 1/23/2017   2:49:00   2.82
Downloading Keener filings                                          1/24/2017   0:17:00   0.28
Daphne Ha PHV                                                       1/24/2017   0:15:00   0.25
Daphne Ha PHV                                                       1/24/2017   0:12:00   0.20
Mot. to Consolidate for Oral Arg. Formatting & Cite Check           1/25/2017   0:19:00   0.32
Mot. to Consolidate for Oral Arg. Formatting & Cite Check           1/25/2017   0:03:00   0.05
Mot. to Consolidate for Oral Arg. Formatting & Cite Check           1/25/2017   0:44:00   0.73
Mot. to Consolidate for Oral Arg. Formatting & Cite Check           1/25/2017   0:32:00   0.53
Mot. to Consolidate for Oral Arg. Formatting & Cite Check           1/25/2017   0:15:00   0.25
Proofing Compliance Letter                                          1/26/2017   0:14:00   0.23
Proofing Compliance Letter                                          1/26/2017   0:34:00   0.57
Downloading Def. PSJ response exhibits                              1/30/2017   0:27:00   0.45
Proofing mot. for ext. of time and filing                            2/7/2017   1:01:00   1.02
Finding missing cites in PSJ reply brief                            2/14/2017   1:07:00   1.12
Finding missing cites in PSJ reply brief                            2/14/2017   0:05:00   0.08
Finding missing cites in PSJ reply brief                            2/14/2017   0:29:00   0.48
Finding missing cites in PSJ reply brief                            2/14/2017   1:42:00   1.70
Finding missing cites in PSJ reply brief                            2/14/2017   0:26:00   0.43
Finding missing cites in PSJ reply brief                            2/14/2017   0:52:00   0.87
Updating Fact edits in PSJ reply brief                              2/15/2017   0:57:00   0.95
Proofing facts in PSJ reply brief                                   2/15/2017   0:54:00   0.90
Proofing facts in PSJ reply brief                                   2/15/2017   0:31:00   0.52
Drafting affidavit for exhibits for PSJ reply                       2/15/2017   0:07:00   0.12
Searching for League Cites                                          2/15/2017   0:31:00   0.52
Proofing facts in PSJ reply brief                                   2/15/2017   1:01:00   1.02
cite-checking argument in PSJ reply br                              2/15/2017   0:49:00   0.82
cite-checking argument in PSJ reply br                              2/15/2017   4:20:00   4.33
preparing declaration and exhibits to Reply PSJ                     2/15/2017   0:51:00   0.85
PSJ Reply Formatting and Proofing                                   2/15/2017   1:33:00   1.55
Filing Mot. for Ext. to file MTC                                    2/17/2017   0:08:00   0.13
Preparing for filing of Repl. to MTC                                2/21/2017   0:15:00   0.25
Cite-checking and Proofing Reply to MTC                             2/21/2017   2:05:00   2.08
Collecting and printing docs in Prep. for Caskey Dep.               2/24/2017   0:38:00   0.63
Collecting and printing docs in Prep. for Caskey Dep.               2/24/2017   0:36:00   0.60
Collecting and printing docs in Prep. for Caskey Dep.               2/24/2017   0:37:00   0.62
Collecting and printing docs in Prep. for Caskey Dep.               2/24/2017   0:27:00   0.45
Filing and Serving Baker Notice of Deposition                        3/1/2017   0:20:00   0.33
Filing motion for Ext. of time                                       3/1/2017   0:12:00   0.20
Inputing edits/proofing 8th Cir. Br.                                 3/2/2017   0:32:00   0.53
Inputing edits/proofing 8th Cir. Br.                                 3/2/2017   0:00:00   0.00
Inputing edits/proofing 8th Cir. Br.                                 3/2/2017   1:42:00   1.70
Filing Notices of Deposition                                         3/2/2017   0:18:00   0.30
Formatting ROG                                                       3/6/2017   0:22:00   0.37
Proofing ROG                                                         3/6/2017   0:41:00   0.68
Proofing ROG                                                         3/6/2017   0:07:00   0.12
Proofing ROG                                                         3/6/2017   0:47:00   0.78
Ansolabehere Expert Report Proof                                     3/9/2017   0:55:00   0.92
Ansolabehere Expert Report Proof                                    3/10/2017   1:07:00   1.12
Ansolabehere Expert Report Proof                                    3/10/2017   0:14:00   0.23
Ansolabehere Expert Report Proof                                    3/10/2017   0:45:00   0.75
Ansolabehere Expert Report Proof                                    3/13/2017   1:21:00   1.35
Hersh Expert Report Proof                                           3/13/2017   0:52:00   0.87
Hersh Expert Report Proof                                           3/13/2017   0:12:00   0.20
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Hersh Expert Report Proof                                           3/13/2017   0:40:00   0.67
Ansolabehere Expert Report Proof                                    3/15/2017   0:26:00   0.43
Ansolabehere Expert Report Proof                                    3/15/2017   0:08:00   0.13
Ansolabehere Expert Report Proof                                    3/15/2017   0:41:00   0.68
Hersh Expert Report Proof                                           3/15/2017   1:00:00   1.00
Preparing Expert Report PDFs                                        3/15/2017   0:17:00   0.28
Preparing Expert Report PDFs                                        3/15/2017   0:07:00   0.12
Hersh Expert Report Proof                                           3/15/2017   0:10:00   0.17
Proofing Minnite Report                                             3/15/2017   0:15:00   0.25
Proofing Minnite Report                                             3/15/2017   0:51:00   0.85
Proofing Minnite Report                                             3/15/2017   0:27:00   0.45
NOS for Expert Reports                                              3/16/2017   0:11:00   0.18
NOS for Expert Reports                                              3/16/2017   0:08:00   0.13
Searching ELVIS records                                             3/16/2017   1:09:00   1.15
Searching ELVIS records                                             3/16/2017   1:01:00   1.02
Finding a court reporter for Richman Depo.                          3/21/2017   0:35:00   0.58
Prepping for Caskey Depo                                            3/21/2017   0:38:00   0.63
Prepping for Caskey Depo                                            3/21/2017   0:07:00   0.12
Prepping for Caskey Depo                                            3/21/2017   1:06:00   1.10
Finding a court reporter for Richman Depo.                          3/22/2017   0:20:00   0.33
Prepping for Caskey Depo                                            3/23/2017   0:22:00   0.37
Prepping for Caskey Depo                                            3/23/2017   0:19:00   0.32
Sorting Sedgwick Cty Elvis records                                  3/23/2017   0:35:00   0.58
Drafting/Filing Richman Notice of Depo.                             3/23/2017   0:25:00   0.42
Drafting Richman Notice of Depo.                                    3/23/2017   0:09:00   0.15
Sorting Sedgwick Cty Elvis records                                  3/23/2017   2:41:00   2.68
Researching Richman                                                 4/10/2017   0:57:00   0.95
Researching Richman                                                 4/11/2017   0:47:00   0.78
Researching Richman                                                 4/11/2017   0:01:00   0.02
Researching Richman                                                 4/11/2017   1:10:00   1.17
Researching Richman                                                 4/11/2017   1:04:00   1.07
Researching Richman                                                 4/11/2017   0:22:00   0.37
Researching Richman                                                 4/11/2017   0:54:00   0.90
Researching Richman                                                 4/12/2017   0:47:00   0.78
Researching Richman                                                 4/12/2017   0:00:00   0.00
Researching Richman                                                 4/12/2017   0:26:00   0.43
Researching Richman                                                 4/12/2017   0:21:00   0.35
Researching Richman                                                 4/12/2017   1:09:00   1.15
Researching Richman                                                 4/12/2017   0:34:00   0.57
Researching Richman                                                 4/14/2017   0:21:00   0.35
Preparing for Richman Depo.                                         4/17/2017   1:07:00   1.12
Preparing for Richman Depo.                                         4/17/2017   0:55:00   0.92
Preparing for Richman Depo.                                         4/17/2017   0:41:00   0.68
Preparing for Richman Depo.                                         4/17/2017   0:05:00   0.08
Preparing for Richman Depo.                                         4/18/2017   0:46:00   0.77
Preparing for Richman Depo.                                         4/18/2017   0:27:00   0.45
Preparing for Richman Depo.                                         4/18/2017   0:21:00   0.35
Preparing for Richman Depo.                                         4/18/2017   0:20:00   0.33
Preparing for Richman Depo.                                         4/19/2017   0:23:00   0.38
Preparing for Richman Depo.                                         4/19/2017   0:22:00   0.37
Preparing for Richman Depo.                                         4/19/2017   0:16:00   0.27
Preparing for Richman Depo.                                         4/19/2017   0:14:00   0.23
Preparing for Richman Depo.                                         4/19/2017   0:19:00   0.32
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Preparing for Richman Depo.                                        4/19/2017   2:02:00   2.03
Coordinating with stenographer in Norfolk, VA                      4/20/2017   0:03:00   0.05
Checking Protective Order                                          4/24/2017   0:07:00   0.12
Checking Protective Order                                          4/24/2017   0:31:00   0.52
Preparing Richman Videos to Send                                   4/26/2017   0:20:00   0.33
Preparing Richman Videos to Send                                   4/27/2017   0:05:00   0.08
Preparing Richman Videos to Send                                   4/27/2017   0:10:00   0.17
Preparing instructions for filing in Fish                          4/27/2017   0:15:00   0.25
Proofing Mot. for Extension (resp. to 72(a))                       4/28/2017   0:11:00   0.18
Filing Mot. for Extension (resp. to 72(a))                         4/28/2017   0:05:00   0.08
Reviewing Resp. to 72(a)                                            5/1/2017   0:39:00   0.65
Reviewing Resp. to 72(a)                                            5/1/2017   0:20:00   0.33
Reviewing Resp. to 72(a)                                            5/1/2017   0:33:00   0.55
Reviewing Resp. to 72(a)                                            5/1/2017   1:16:00   1.27
Reviewing Resp. to 72(a)                                            5/1/2017   0:51:00   0.85
Reviewing Resp. to 72(a)                                            5/1/2017   0:22:00   0.37
Finalizing Resp. to 72(a)                                           5/1/2017   1:02:00   1.03
Pulling Caskey and Von Spakovsky Depo Exhibits                     5/16/2017   0:04:00   0.07
Pulling Caskey and Von Spakovsky Depo Exhibits                     5/16/2017   0:03:00   0.05
Pulling Caskey and Von Spakovsky Depo Exhibits                     5/16/2017   0:05:00   0.08
Cite-checking Mot. for Sanctions                                   5/19/2017   0:47:00   0.78
Cite-checking Mot. for Sanctions                                   5/19/2017   0:02:00   0.03
Cite-checking Mot. for Sanctions                                   5/19/2017   0:17:00   0.28
Cite-checking Mot. for Sanctions                                   5/19/2017   0:18:00   0.30
Cite-checking Mot. for Sanctions                                   5/19/2017   0:08:00   0.13
Cite-checking Mot. for Sanctions                                   5/19/2017   0:54:00   0.90
Cite-checking Mot. for Sanctions                                   5/19/2017   1:03:00   1.05
Proofing Mot. for Sanctions                                        5/22/2017   0:21:00   0.35
Proofing Mot. for Sanctions                                        5/22/2017   1:11:00   1.18
Cite-checking Mot. for Sanctions                                   5/22/2017   0:28:00   0.47
Proofing Mot. for Sanctions                                        5/22/2017   1:59:00   1.98
Preparing Pretrial Conf. Binder                                     6/2/2017   0:47:00   0.78
Collecting exhibits in SJ                                           6/2/2017   0:09:00   0.15
Collecting exhibits in SJ                                           6/2/2017   0:39:00   0.65
Collecting SJ Exhibits                                              6/8/2017   0:11:00   0.18
Collecting SJ Exhibits                                              6/8/2017   1:09:00   1.15
Collecting SJ Exhibits                                             6/13/2017   0:39:00   0.65
Collecting SJ Exhibits                                             6/13/2017   0:51:00   0.85
Collecting SJ Exhibits                                             6/13/2017   0:55:00   0.92
Cite-checking SJ facts                                             6/13/2017   0:44:00   0.73
Cite-checking SJ facts                                             6/14/2017   0:14:00   0.23
Cite-checking SJ facts                                             6/14/2017   0:50:00   0.83
Cite-checking SJ facts                                             6/14/2017   0:23:00   0.38
Cite-checking SJ facts                                             6/14/2017   0:35:00   0.58
Cite-checking SJ facts                                             6/15/2017   1:29:00   1.48
Cite-checking SJ facts                                             6/15/2017   0:11:00   0.18
Cite-checking SJ facts                                             6/15/2017   1:09:00   1.15
Cite-checking SJ facts                                             6/16/2017   0:40:00   0.67
Cite-checking SJ facts                                             6/16/2017   0:45:00   0.75
Cite-checking SJ facts                                             6/16/2017   0:35:00   0.58
Cite-checking SJ facts                                             6/16/2017   0:17:00   0.28
Cite-checking SJ facts                                             6/16/2017   0:10:00   0.17
Filing mot re: SJ schedule                                         6/16/2017   0:11:00   0.18
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Cite-checking SJ argument                                            6/19/2017   0:06:00   0.10
Cite-checking SJ argument                                            6/19/2017   0:21:00   0.35
Reviewing Em. Mot. to Amend PTO                                      6/19/2017   0:41:00   0.68
Reviewing Em. Mot. to Amend PTO                                      6/19/2017   0:37:00   0.62
Filing Mot. to Amend PTO                                             6/19/2017   0:11:00   0.18
Finding Cites in Sanctions Reply Br.                                 6/20/2017   0:20:00   0.33
Cite-checking Sanctions Reply Br.                                    6/20/2017   1:14:00   1.23
Cite-checking Sanctions Reply Br.                                    6/20/2017   2:25:00   2.42
Cite-checking Sanctions Reply Br.                                    6/20/2017   1:52:00   1.87
proofing Sanctions Reply Br                                          6/20/2017   1:17:00   1.28
Cite-checking Sanctions Reply Br.                                    6/20/2017   0:12:00   0.20
proofing Sanctions Reply Br                                          6/20/2017   0:11:00   0.18
Finalizing/Filing Sanctions Reply Br                                 6/20/2017   0:18:00   0.30
Cite-checking SJ argument                                            6/22/2017   0:14:00   0.23
Cite-checking SJ argument                                            6/22/2017   0:44:00   0.73
Cite-checking SJ argument                                            6/22/2017   0:00:00   0.00
Cite-checking SJ argument                                            6/22/2017   0:15:00   0.25
Cite-checking SJ argument                                            6/22/2017   0:01:00   0.02
Cite-checking SJ argument                                            6/22/2017   0:08:00   0.13
Cite-checking SJ argument                                            6/23/2017   1:07:00   1.12
Cite-checking SJ argument                                            6/23/2017   0:21:00   0.35
Cite-checking SJ argument                                            6/26/2017   1:22:00   1.37
Cite-checking SJ argument                                            6/26/2017   1:17:00   1.28
Cite-checking SJ argument                                            6/26/2017   0:35:00   0.58
Cite-checking SJ argument                                            6/26/2017   1:06:00   1.10
Cite-checking SJ argument                                            6/26/2017   0:18:00   0.30
Cite-checking SJ argument                                            6/26/2017   0:53:00   0.88
Cite-checking SJ argument                                            6/27/2017   1:01:00   1.02
Cite-checking SJ argument                                            6/27/2017   1:18:00   1.30
Cite-checking SJ argument                                            6/27/2017   0:19:00   0.32
Reviewing, inputting edits to SJ brief                               6/28/2017   0:48:00   0.80
Reviewing, inputting edits to SJ brief                               6/28/2017   1:06:00   1.10
Reviewing, inputting edits to SJ brief                               6/28/2017   0:20:00   0.33
Reviewing, inputting edits to SJ brief                               6/28/2017   0:41:00   0.68
Reviewing, inputting edits to SJ brief                               6/28/2017   1:14:00   1.23
Reviewing, inputting edits to SJ brief                               6/29/2017   0:12:00   0.20
Reviewing, inputting edits to SJ brief                               6/29/2017   0:08:00   0.13
Reviewing, inputting edits to SJ brief                               6/29/2017   1:55:00   1.92
Reviewing, inputting edits to SJ brief                               6/29/2017   0:33:00   0.55
TOC/TOA in SJ Brief                                                  6/29/2017   0:42:00   0.70
Preparing SJ Declaration                                             7/10/2017   0:48:00   0.80
Preparing SJ Declaration                                             7/11/2017   0:05:00   0.08
Preparing SJ Declaration                                             7/11/2017   0:29:00   0.48
Preparing SJ Declaration                                             7/11/2017   0:11:00   0.18
Preparing SJ Declaration                                             7/11/2017   0:51:00   0.85
Preparing SJ Declaration                                             7/11/2017   0:16:00   0.27
Reviewing Edits to SJ Br                                             7/11/2017   0:26:00   0.43
Reviewing Edits to SJ Br                                             7/12/2017   0:49:00   0.82
Reviewing Edits to SJ Br                                             7/12/2017   0:18:00   0.30
Reviewing Edits to SJ Br                                             7/12/2017   0:32:00   0.53
SJ SOF cite-check                                                    7/12/2017   0:17:00   0.28
SJ SOF cite-check                                                    7/12/2017   0:37:00   0.62
SJ SOF cite-check                                                    7/12/2017   0:44:00   0.73
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SJ SOF cite-check                                                   7/12/2017   0:51:00   0.85
SJ SOF cite-check                                                   7/12/2017   1:41:00   1.68
TOC/TOA in SJ Brief                                                 7/13/2017   0:31:00   0.52
TOC/TOA in SJ Brief                                                 7/13/2017   0:12:00   0.20
Discussion with Dale regarding Brief.                               7/13/2017   0:09:00   0.15
TOC/TOA in SJ Brief                                                 7/13/2017   0:38:00   0.63
TOC/TOA in SJ Brief                                                 7/13/2017   0:52:00   0.87
TOC/TOA in SJ Brief                                                 7/13/2017   0:48:00   0.80
Proofing SJ Brief                                                   7/13/2017   1:04:00   1.07
Preparing SJ Declaration                                            7/13/2017   1:14:00   1.23
Proofing SJ Brief                                                   7/14/2017   0:39:00   0.65
cite-checking mot. to unseal                                        7/14/2017   1:04:00   1.07
cite-checking mot. to unseal                                        7/14/2017   0:42:00   0.70
Reviewing Pro Forma Mot.                                            7/14/2017   0:11:00   0.18
Proofing SJ Brief                                                   7/14/2017   0:39:00   0.65
Proofing SJ Brief                                                   7/14/2017   0:52:00   0.87
Finalizing and Redacting SJ Brief                                   7/14/2017   0:09:00   0.15
Finalizing and Redacting SJ Brief                                   7/14/2017   0:34:00   0.57
Finalizing and Redacting SJ Brief                                   7/14/2017   0:29:00   0.48
Filing SJ + related mots.                                           7/14/2017   0:31:00   0.52
Filing SJ + related mots.                                           7/14/2017   0:35:00   0.58
Filing sealed documents                                             7/24/2017   0:25:00   0.42
Researching 10th Cir. Interlocutory Appeal                           8/2/2017   0:08:00   0.13
Researching 10th Cir. Interlocutory Appeal                           8/2/2017   1:15:00   1.25
Preparing 10th Cir. Appearances                                      8/7/2017   0:35:00   0.58
Cite-checking and proofing Repl. in Support of Unsealing            8/11/2017   1:07:00   1.12
Cite-checking and proofing Repl. in Support of Unsealing            8/11/2017   0:58:00   0.97
preparing to file under seal                                        8/11/2017   0:26:00   0.43
Cite-checking and proofing Repl. in Support of Unsealing            8/11/2017   1:02:00   1.03
Filing Sealed Documents                                             8/15/2017   0:34:00   0.57
Checking Exhibits in Resp./Repl. to SJ                              8/22/2017   0:14:00   0.23
cite-checking Resp./Repl. to SJ                                     8/23/2017   0:39:00   0.65
cite-checking Resp./Repl. to SJ                                     8/23/2017   1:02:00   1.03
cite-checking Resp./Repl. to SJ                                     8/23/2017   0:56:00   0.93
cite-checking Resp./Repl. to SJ                                     8/23/2017   3:06:00   3.10
cite-checking Resp./Repl. to SJ                                     8/23/2017   1:23:00   1.38
cite-checking Resp./Repl. to SJ                                     8/24/2017   1:26:00   1.43
cite-checking Resp./Repl. to SJ                                     8/24/2017   4:01:00   4.02
Drafting Mot. to Unseal                                             8/24/2017   0:27:00   0.45
Preparing Exhibits for SJ Resp./Repl.                               8/24/2017   0:31:00   0.52
Preparing Exhibits for SJ Resp./Repl.                               8/24/2017   1:30:00   1.50
cite-checking Resp./Repl. to SJ                                     8/24/2017   0:16:00   0.27
cite-checking Resp./Repl. to SJ                                     8/24/2017   1:05:00   1.08
cite-checking Resp./Repl. to SJ                                     8/24/2017   0:30:00   0.50
cite-checking Resp./Repl. to SJ                                     8/24/2017   1:48:00   1.80
cite-checking Resp./Repl. to SJ                                     8/24/2017   1:15:00   1.25
Preparing Exhibits for SJ Resp./Repl.                               8/25/2017   1:12:00   1.20
Finalizing Decl. for SJ Resp./Repl.                                 8/25/2017   0:52:00   0.87
Proofing SJ Resp./Repl.                                             8/25/2017   0:05:00   0.08
Researching Daubert Filing                                          8/25/2017   0:04:00   0.07
Proofing SJ Resp./Repl.                                             8/25/2017   1:10:00   1.17
Proofing/TOA SJ Resp./Repl.                                         8/25/2017   2:06:00   2.10
Proofing/TOA SJ Resp./Repl.                                         8/25/2017   1:44:00   1.73
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Filing Daubert Mots.                                                 8/25/2017   0:30:00   0.50
Proofing SJ Resp./Repl.                                              8/25/2017   1:05:00   1.08
Filing Sealed Documents                                              8/30/2017   0:13:00   0.22
Filing 10th Cir. Resp. to MTD                                        8/30/2017   0:29:00   0.48
Cite-checking, Proofing Richman reply Daubert                        10/3/2017   0:10:00   0.17
Cite-checking, Proofing Richman reply Daubert                        10/3/2017   0:17:00   0.28
Cite-checking, Proofing Richman reply Daubert                        10/3/2017   0:30:00   0.50
Cite-checking, Proofing Richman reply Daubert                        10/3/2017   0:44:00   0.73
Cite-checking, Proofing Richman reply Daubert                        10/4/2017   0:21:00   0.35
Cite-checking, Proofing Richman reply Daubert                        10/4/2017   0:33:00   0.55
Cite-checking, Proofing Richman reply Daubert                        10/4/2017   0:33:00   0.55
Cite-checking, Proofing Richman reply Daubert                        10/4/2017   3:34:00   3.57
Cite-checking, Proofing Richman reply Daubert                        10/5/2017   3:00:00   3.00
Formatting von Spakovsky reply Daubert and Exhibits                  10/5/2017   1:10:00   1.17
Formatting von Spakovsky reply Daubert and Exhibits                  10/6/2017   1:19:00   1.32
Cite-checking, Proofing Richman reply Daubert                        10/6/2017   0:07:00   0.12
Finalizing, filing Daubert Replies                                   10/6/2017   0:13:00   0.22
Finalizing, filing Daubert Replies                                   10/6/2017   0:52:00   0.87
Proofing, finalizing Notice Regarding Redaction/Unsealing           10/11/2017   0:15:00   0.25
Proofing, finalizing Notice Regarding Redaction/Unsealing           10/11/2017   0:21:00   0.35
Cite-checking/Reviewing/Proofing Br. on Unsealing                   10/19/2017   0:15:00   0.25
Cite-checking/Reviewing/Proofing Br. on Unsealing                   10/19/2017   0:35:00   0.58
Cite-checking/Reviewing/Proofing Br. on Unsealing                   10/19/2017   1:21:00   1.35
Cite-checking/Reviewing/Proofing Br. on Unsealing                   10/19/2017   0:35:00   0.58
Compiling Trump-Doc.-Related Filings                                10/24/2017   0:41:00   0.68
Compiling Trump-Doc.-Related Filings                                10/24/2017   0:41:00   0.68
Coordinating w/ Dechert for Trial Exhibits                           1/11/2018   0:35:00   0.58
Coordinating w/ Dechert for Trial Exhibits                           1/12/2018   0:05:00   0.08
Preparing Trial Exhibit List                                         1/12/2018   0:14:00   0.23
Preparing Trial Exhibit List                                         1/16/2018   1:35:00   1.58
Preparing Trial Exhibit List                                         1/16/2018   2:03:00   2.05
Preparing Trial Exhibit List                                         1/16/2018   0:15:00   0.25
Preparing Trial Exhibit List                                         1/16/2018   0:12:00   0.20
Preparing Trial Exhibit List                                         1/17/2018   0:48:00   0.80
Preparing Trial Exhibit List                                         1/17/2018   2:47:00   2.78
Preparing Trial Exhibit List                                         1/17/2018   0:51:00   0.85
Uploading Depo. Videos for Dechert                                   1/19/2018   1:06:00   1.10
Preparing Trial Exhibit List                                         1/19/2018   1:21:00   1.35
Preparing Trial Exhibit List                                         1/19/2018   1:00:00   1.00
Downloading numbered exhibits                                        1/22/2018   0:08:00   0.13
Downloading numbered exhibits                                        1/22/2018   0:48:00   0.80
Preparing Trial Exhibit List                                         1/22/2018   0:12:00   0.20
Updating Richman daubert                                             1/22/2018   0:47:00   0.78
Filing Dauberts                                                      1/22/2018   0:29:00   0.48
Preparing Trial Exhibit List                                         1/23/2018   0:51:00   0.85
Preparing Trial Exhibit List                                         1/23/2018   0:57:00   0.95
Preparing Trial Exhibit List                                         1/24/2018   0:21:00   0.35
Reviewing Exhibit, Witness List, Depo. Designations for Filing       1/30/2018   1:00:00   1.00
Reviewing Exhibit, Witness List, Depo. Designations for Filing       1/30/2018   0:47:00   0.78
Filing Exhibit List                                                  1/30/2018   0:16:00   0.27
Team Call                                                            1/31/2018   1:09:00   1.15
Reviewing Exhibit, Witness List, Depo. Designations for Filing       1/31/2018   0:33:00   0.55
Checking video and transcript syncs                                   2/1/2018   0:14:00   0.23
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Checking video and transcript syncs                                  2/1/2018    0:10:00    0.17
Mot. to Strike Richman Suppl.                                        2/2/2018    0:28:00    0.47
Mot. to Strike Richman Suppl.                                        2/2/2018    2:25:00    2.42
Mot. to Strike Richman Suppl.                                        2/2/2018    0:06:00    0.10
Mot. to Strike Richman Suppl.                                        2/2/2018    0:31:00    0.52
Citechecking, proofing Minnite Daubert Resp.                         2/5/2018    2:47:00    2.78
Citechecking, proofing Minnite Daubert Resp.                         2/5/2018    5:24:00    5.40
Reconciling Box and w-drive exhibits                                 2/7/2018    0:43:00    0.72
Reconciling Box and w-drive exhibits                                 2/7/2018    0:46:00    0.77
Downloading branded exhibits                                         2/8/2018    1:18:00    1.30
Combining Def.'s Ex. List, Searching for Duplicates                  2/9/2018    0:10:00    0.17
Combining Def.'s Ex. List, Searching for Duplicates                 2/12/2018    0:55:00    0.92
Combining Def.'s Ex. List, Searching for Duplicates                 2/12/2018    0:31:00    0.52
Combining Def.'s Ex. List, Searching for Duplicates                 2/12/2018    3:36:00    3.60
Reviewing Mot. for Judicial Notice                                  2/13/2018    1:09:00    1.15
Miscelleneous trial prep                                            2/13/2018    1:23:00    1.38
Filing Mots for Judicial Notice, to Strike McFerron                 2/13/2018    2:09:00    2.15
Filing Objections                                                   2/13/2018    0:45:00    0.75
Fish team call                                                      2/14/2018    0:06:00    0.10
Fish team call                                                      2/14/2018    1:40:00    1.67
Speaking with Ct Room Deputy, Reporter re Trial Logistics           2/14/2018    0:10:00    0.17
Cite-checking Prop. FoF and CoL                                     2/20/2018    1:58:00    1.97
Cite-checking Prop. FoF and CoL                                     2/20/2018    0:58:00    0.97
Filing Daubert Replies                                              2/20/2018    0:28:00    0.47
Cite-checking Prop. FoF and CoL                                     2/20/2018    0:34:00    0.57
Filing Objections to counter designations                           2/20/2018    0:16:00    0.27
Cite-checking Prop. FoF and CoL                                     2/20/2018    1:21:00    1.35
Cite checking resp. to Def.'s Mot in Limine                         2/20/2018    1:27:00    1.45
Cite checking resp. to Def.'s Mot in Limine                         2/20/2018    1:06:00    1.10
proofing Prop. FoF and CoL                                          2/20/2018    2:21:00    2.35
Fish team call                                                      2/21/2018    1:12:00    1.20
Coordinating Audio/video exhibit transcription                      2/22/2018    0:45:00    0.75
McFerron Deposition Excerpts                                        2/22/2018    1:32:00    1.53
McFerron Deposition Excerpts                                        2/23/2018    0:54:00    0.90
Fish logistics, misc. prep                                          2/27/2018    9:30:00    9.50
Fish logistics, misc. prep                                          2/28/2018    2:05:00    2.08
Fish logistics, misc. prep                                          2/28/2018    0:51:00    0.85
Fish logistics, misc. prep                                           3/1/2018    2:37:00    2.62
Fish logistics, misc. prep                                           3/1/2018    2:18:00    2.30
Fish logistics, misc. prep                                           3/1/2018    2:19:00    2.32
Setting up war room                                                  3/4/2018    5:34:00    5.57
Running Errands                                                      3/4/2018    2:30:00    2.50
Coordinating Printing                                                3/4/2018    1:04:00    1.07
Miscellaneous prep and research                                      3/4/2018    1:34:00    1.57
Miscellaneous prep and research                                      3/4/2018    1:50:00    1.83
Bates stamping Demonstratives                                        3/5/2018    1:30:00    1.50
Miscellaneous prep and research                                      3/5/2018   13:27:00   13.45
Trial                                                                3/6/2018   15:45:00   15.75
Trial                                                                3/7/2018   15:15:00   15.25
Trial                                                                3/8/2018   14:21:00   14.35
Trial                                                                3/9/2018   10:23:00   10.38
Trial                                                               3/10/2018    0:44:00    0.73
Trial                                                               3/10/2018    0:21:00    0.35
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Trial                                                                                 3/11/2018 2:58:00     2.97
Trial                                                                                 3/11/2018 0:56:00     0.93
Trial                                                                                 3/11/2018 9:49:00     9.82
Trial                                                                                 3/12/2018 11:02:00   11.03
Trial                                                                                 3/12/2018 4:25:00     4.42
Trial                                                                                 3/13/2018 11:35:00   11.58
Depo Transcript Redactions                                                            3/15/2018 0:52:00     0.87
Travel to KS                                                                          3/18/2018 7:34:00     7.57
Trial                                                                                 3/18/2018 8:00:00     8.00
Trial                                                                                 3/19/2018 15:00:00   15.00
Packing up war room                                                                   3/20/2018 1:30:00     1.50
Travel to NY                                                                          3/20/2018 4:43:00     4.72
Finding Exhibits for PFoF and CoL                                                     4/17/2018 1:50:00     1.83
Finding Exhibits for PFoF and CoL                                                     4/18/2018 4:35:00     4.58
Formatting PFoF/CoL                                                                   4/19/2018 0:52:00     0.87
Cite-checking PFoF/CoL                                                                4/19/2018 0:47:00     0.78
Cite-checking PFoF/CoL                                                                4/19/2018 5:12:00     5.20
Cite-checking PFoF/CoL                                                                4/20/2018 4:01:00     4.02
Cite-checking PFoF/CoL                                                                4/20/2018 4:27:00     4.45
Re-redacting PX 143                                                                   4/23/2018 1:30:00     1.50
Cite-checking PFoF/CoL                                                                4/23/2018 0:32:00     0.53
Cite-checking PFoF/CoL                                                                4/23/2018 9:51:00     9.85
Prepping 10th Circuit Appearance                                                       5/3/2018 1:30:00     1.50
Reviewing compliance letter                                                           5/10/2018 1:30:00     1.50
Reviewing compliance letter                                                           5/10/2018 0:14:00     0.23
Reviewing/finalizing Statement of Compliance                                          5/16/2018 0:15:00     0.25
Reviewing/finalizing Statement of Compliance                                          5/16/2018 0:39:00     0.65
Reviewing Sanction Fees Reply Br.                                                      6/7/2018 2:13:00     2.22
Reviewing Sanction Fees Reply Br.                                                      6/8/2018 0:18:00     0.30
Reviewing Sanction Fees Reply Br.                                                      6/8/2018 2:15:00     2.25
Reviewing Sanction Fees Reply Br.                                                     6/11/2018 1:47:00     1.78
Reviewing Sanction Fees Reply Br.                                                     6/11/2018 0:33:00     0.55
Finalizing/filing Sanction Fees Reply Br.                                             6/12/2018 0:46:00     0.77
Reviewing letter to J. Robinson re: APRI                                              6/14/2018 0:24:00     0.40
Drafting form letter to clients                                                       6/22/2018 0:44:00     0.73
Reviewing Compliance Letter                                                           6/25/2018 1:30:00     1.50
Reviewing Compliance Letter                                                           6/25/2018 0:25:00     0.42
Reviewing Compliance Letter                                                           6/25/2018 0:44:00     0.73
10th Cir. Appearances                                                                  7/5/2018 0:43:00     0.72
10th Cir. Appearances                                                                  7/5/2018 1:10:00     1.17
Proofing Jnt. Status Rep.                                                              7/6/2018 0:46:00     0.77
10th Cir. Appearances                                                                 7/11/2018 0:26:00     0.43
Mailing Fish Opinions to Plaintiffs                                                   7/11/2018 0:30:00     0.50
Researching conditional appeals                                                       7/11/2018 0:24:00     0.40
10th Cir. Appearances                                                                 7/12/2018 0:20:00     0.33
Transfering Kobach depo files to comms                                                 8/2/2018 0:03:00     0.05
Prepping notice of support of voluntary dismissal for filing (Jordan appeal)           8/3/2018 0:24:00     0.40
Prepping notice of support of voluntary dismissal for filing (Jordan appeal)           8/3/2018 0:11:00     0.18
Prepping notice of support of voluntary dismissal for filing/filing (Jordan appeal)    8/3/2018 0:01:00     0.02
Prepping notice of support of voluntary dismissal for filing/filing (Jordan appeal)    8/3/2018 0:17:00     0.28
Proofing, Cite-checking, formatting letter to opp. counsel re dep. video              9/10/2018 0:44:00     0.73
Proofing, Cite-checking, formatting letter to opp. counsel re dep. video              9/10/2018 0:09:00     0.15
Cite-checking Resp. to Mot. to Enforce Prot. Order                                    9/28/2018 1:42:00     1.70
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Cite-checking Resp. to Mot. to Enforce Prot. Order                                    9/28/2018 0:50:00         0.83
Cite-checking Resp. to Mot. to Enforce Prot. Order                                    9/28/2018 4:26:00         4.43
Proofing Resp. to Mot. to Enforce Prot. Order                                         9/28/2018 0:07:00         0.12
Proofing Mot for Clarification                                                        9/28/2018 0:07:00         0.12
Proofing Danjuma Decl.                                                                9/28/2018 0:11:00         0.18
Prepping Exhibits for Resp. to Mot. to Enforce                                        9/28/2018 0:14:00         0.23
Prepping Prop. order for Mot. to Clarify                                              9/28/2018 0:15:00         0.25
Proofing Mot for Clarification                                                        9/28/2018 0:29:00         0.48
Finalizing for filing, and filing Resp. to Mot. to Enforce, Mot. for Clarification    9/28/2018 0:28:00         0.47
Downloading Appeal Appendix Volumes                                                   10/1/2018 0:39:00         0.65
Researching 10th Cir. Appeal Filing Rules                                             10/2/2018 1:14:00         1.23
Researching 7th Cir. Appeal Filing Rules                                              10/3/2018 0:14:00         0.23
Downloading Appeal Appendix Volumes                                                  10/10/2018 0:20:00         0.33
Proofing and citechecking reply in Supp. of Mot. for Clarification                   10/16/2018 2:01:00         2.02
Proofing and citechecking reply in Supp. of Mot. for Clarification                   10/16/2018 0:23:00         0.38
Filing reply in Supp. of Mot. for Clarification                                      10/16/2018 0:03:00         0.05
Proofing, formatting, cite-checking mot. for joint response brief                    10/23/2018 1:09:00         1.15
Citechecking merits Appeal Br.                                                       11/27/2018 6:52:00         6.87
Citechecking merits Appeal Br.                                                       11/28/2018 0:33:00         0.55
Citechecking merits Appeal Br.                                                       11/28/2018 1:12:00         1.20
Citechecking merits Appeal Br.                                                       11/28/2018 10:04:00      10.07
Proofing, formatting merits Appeal Br.                                               11/29/2018 2:23:00         2.38
ToA for merits Appeal Br.                                                            11/29/2018 2:46:00         2.77
Final Proof and filing of merits Appeal Br.                                          11/29/2018 3:25:00         3.42
Pulling Att'y Hours                                                                   5/14/2020 0:59:47         1.00
Pulling Fish Atty Hours                                                               5/15/2020 0:29:45         0.50
Pulling Fish Atty Hours                                                               5/15/2020 0:31:41         0.53
Total                                                                                          579:32:15   593.5375
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               ATTACHMENT 8
                 TO EXHIBIT A
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                                                                                  American Civil Liberties Union
                                                                               Posted General Ledger Transactions
                                             Fish v. Schwab
PROFESSIONAL SERVICES (EXPERTS AND CONSULTANTS)
 12/3/2015 Payment to consultant Anna Zivarts for pre-litigation investigation re:                                     3,180.00
           effect of Kansas DPOC law
  1/2/2016 Payment to Russell Watkins for geocoding analysis for expert Michael                                        1,000.00
           McDonald's analysis
  1/2/2016 Payment to Michael McDonald for initial work on KS DPOC case.                                               1,700.00
           Invoice #1
 1/23/2016 Payment to consultant Anna Zivarts for pre-litigation investigation re:                                     1,080.00
           effect of Kansas DPOC law; invoice #2
  2/8/2016 Payment to Michael McDonald working on First Expert Report.                                                 4,350.00
           Invoice #2
  2/8/2016 Payment to Russell Watkins for geocoding analysis Invoice #2                                                  500.00
  3/3/2016 Payment to Michael McDonald for data analysis. Invoice #3                                                   3,900.00
  3/6/2016 Payment to Lorraine C. Minnite for expert consultant work in Kansas                                         9,500.00
           DPOC case.
 4/30/2016 Payment to Michael McDonald for work on Supplemental Report,                                                4,650.00
           Invoice #4
  6/3/2016 Payment to Michael McDonald for work preparing for and doing                                                6,000.00
           Deposition, Invoice #5
 6/10/2016 Payment to Matt A. Barreto for expert report in Kansas DPOC case                                            7,000.00

 6/15/2016 Payment to Lorraine C. Minnite for expert consultant work in Kansas                                         7,225.00
           DPOC case.
  3/1/2017 Eitan Hersh - payment to expert for work in Fish case                                                       3,100.00
 3/22/2017 Eitan Hersh - payment to expert for work in Fish case                                                       2,000.00
 3/23/2017 Stephen Ansolabehere - payment for expert consulting work                                                  10,500.00
  4/5/2017 Lorraine C. Minnite - payment to expert for time during Trial and                                           6,125.00
           travel expenses
 4/28/2017 Eitan Hersh - payment to expert for work in Fish case                                                       3,463.97
  5/2/2017 Stephen Ansolabehere - payment for expert consulting work                                                   4,750.00
  3/1/2018 Eitan Hersh - payment for work to prepare for Trial                                                         2,000.00
  3/8/2018 Michael McDonald - payment to expert for time during Trial and                                              6,100.00
           travel expenses
 3/16/2018 Payment to Lorraine C. Minnite for expert consultant work in Kansas                                         3,600.00
           DPOC case.
 3/22/2018 Stephen Ansolabehere - payment for expert consulting work                                                  21,500.00
           including expert reports and Trial
 3/29/2018 Eitan Hersh - payment for expert work in Trial                                                              5,416.67
 3/29/2018 Eitan Hersh - reimbursement of travel-related expenses incurred                                               122.09
           during Trial
           TOTAL                                                                                                    118,762.73




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                                                                             American Civil Liberties Union
                                                                          Posted General Ledger Transactions
COURT FEES AND TRANSCRIPTS
 9/14/2015 Kansas Secretary of State Office - paid to State for research time                                   847.34
           and seaching of KORA database for litigation related records.
 12/8/2015 Reimbursement of Doug Bonney ACLU KS for Voter Registration Data                                      50.00
           Request fee on 9/23/2015
 2/18/2016 Filing fees in Kansas POC case COURTS/USDC-KS-PG                                                     400.00
 2/18/2016 Service fees in Kansas POC case ARISTOCRAT INVESTIGATIONS                                            205.00
 2/18/2016 Pro hac vice fee for Sophia Lakin and Doug Bonney COURTS/USDC-                                       100.00
           KS-PG
 2/18/2016 Pro hac vice fee for Dale Ho COURTS/USDC-KS-PG                                                        50.00
 2/25/2016 Orion Danjuma's pro hac vice admission fee COURTS/USDC-DC                                            100.00
  3/9/2016 Service fees for serving Nick Jordan, defendant. ARISTOCRAT                                          105.00
           INVESTIGATIONS
 3/24/2016 Kelli Stewart - Transcript of Status Conference on 03/07/2016                                         18.90
 3/29/2016 Kimberly R. Greiner - payment for certified transcription fees                                       460.75
  5/4/2016 Sophia Lakin's admission fees in 10th circuit COURTS/USC                                             225.00
  5/4/2016 Dale's admission fees in the 10th circuit COURTS/U                                                   225.00
  5/4/2016 Admission fees for Orion Danjuma in the 10th Circ COURTS/U                                           225.00
  5/6/2016 Kelli Stewart - Transcript of PI Hearing on 04/14/2016                                               176.40
 5/17/2016 Payment to Appino & Biggs Reporting Service, Inc. for expedited                                      923.05
           transcript copies, Invoice 86834
 5/19/2016 Fees to serve Hans Spakovsky SAME DAY PROCESS SERV                                                    235.00
  6/6/2016 Payment to Esquire Deposition Solutions, LLC for Von Spakovsky                                      4,985.11
           deposition
  6/7/2016 Payment to Esquire Deposition Solutions, LLC for Von Spakovsky                                      1,893.50
           deposition
 6/15/2016 Payment to Appino & Biggs Reporting Service, Inc. for depo                                           842.80
           transcript copies, Invoice 87176
 6/20/2016 Payment to Appino & Biggs Reporting Service, Inc. for transcript                                    2,146.90
           copies, Invoice 87263
 6/21/2016 Payment to JD reporting for transcript copies in KS depo                                            2,335.70
 6/30/2016 Kelli Stewart - Transcription fees                                                                    707.85
  8/4/2016 Gainesville Reporters, Inc. - payment for transcript copies during                                    840.40
           Depositions
 8/25/2016 Associated Reporters - Deposit for court transcription service                                       100.00
 8/28/2016 Kim Grenier - Transcript copies of depositions                                                        76.65
 9/16/2016 Payment to Esquire Deposition Solutions, LLC for video copy of                                       110.50
           deposition
 9/30/2016 Associated Reporters - Payment for Transcription Service                                              52.90
 10/7/2016 Kelli Stewart - Transcription fees                                                                   145.20
10/26/2016 Clerk of the Court - Audio of Hearing held on 10/20/2016                                              54.23
10/28/2016 Cornerstone Court Reporting Company LLC - transcription during                                       235.55
           depositions
10/28/2016 Associated Reporters - Fee for Transcribing Audio from hearing                                       200.00
11/10/2016 Kelli Stewart - transcript fees                                                                      164.25
  1/6/2017 Charles Stricker - Reimbursement to plaintiff for paying KS birth                                     15.00
           certificate fee

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                                                                                   American Civil Liberties Union
                                                                                Posted General Ledger Transactions
 3/17/2017 Kelli Stewart - transcription fees                                                                            569.50
  4/5/2017 Zanaras Reporting & Video LLC - transcription of Minnite deposition                                         3,156.30
           in Philadelphia, PA
  4/6/2017 Advanced Court Reporting - payment for transcription of                                                     1,352.65
           Ansolabehere deposition
  4/7/2017 Advanced Court Reporting - payment for transcription of Hersh                                                677.50
           deposition
 4/30/2017 Zahn Court Reporting, Ltd. - payment for Depo of Jesse Richman                                              6,490.00
 7/26/2017 Jean Crawford - court reporter fee                                                                             35.10
  8/3/2017 TSG Reporting, Inc. - video transcription of Kris Kobach deposition                                           525.00
 8/22/2017 TSG Reporting, Inc. - transcription for Kris Kobach deposition                                                791.99
  2/7/2018 Emily Zhang's PHV fee. COURTS/USDC-KS-PG                                                                       50.00
 2/15/2018 Kelli Stewart - transcript of Pretrial Conference                                                             200.00
  3/2/2018 Kelli Stewart - payment for transcription and tech services during                                         16,500.00
           Trial
  3/6/2018 Payment to Esquire Deposition Solutions, LLC for video deposition set                                        524.40
           up
 3/21/2018 KC Document Solutions - payment for Document printing - including                                          13,539.56
           exhibits, briefs, and deposition transcripts for trial - and handling
           during Trial Invoice 1706
 3/26/2018 Kelli Stewart - remaining payment for transcription services during                                         1,685.00
           Trial
 12/7/2018 Counsel Press LLC - payment for printing of Appellate briefs. Invoice                                       1,565.08
           9096001
           TOTAL                                                                                                     66,915.06

TRAVEL EXPENSES
 1/22/2016 Sophia Lakin -   travel to KS for Kansas Proof of Citizenship case      Travel                              $487.28
 1/23/2016 Sophia Lakin -   AMEX fees for air travel to Kansas                     Travel (AMEX)                         $9.00
 1/23/2016 Sophia Lakin -   AMEX fees for car rental in Kansas AMERICAN            Travel (AMEX)                         $9.00
           EXPRESS FEE
 2/10/2016 Sophia Lakin -   Hotel in KS during POC related travel               travel                                 $386.90
 2/12/2016 Sophia Lakin -   Car Rental Enterprise in KS during POC litigation   travel                                 $449.90
 3/23/2016 Sophia Lakin -   Airfare to Kansas for PI Hearing DELTA AIR LIRLINES Travel                                 $217.70

 3/23/2016 Sophia Lakin - Booking fees for travel to Kansas for PI Hearing         Travel (AMEX)                         $9.00
 3/25/2016 Dale Ho - Airfare to Kansas for Fish Kobach PI Hearing DELTA            Travel                              $427.07
           AIRLINEs
 3/25/2016 Dale Ho - Booking fees for travel to Kansas for PI Hearing              Travel (AMEX)                         $9.00
  4/6/2016 Rodkangyil Danjuma - Fish v. Kobach PI Hearing airfare DELTA            Travel                              $759.65
  4/6/2016 Rodkangyil Danjuma - AMERICAN EXPRESS TKT FEE                           Travel (AMEX)                         $9.00
 4/13/2016 Rodkangyil Danjuma - Taxi to the airport-Fish v. Kobach PI h            Travel                               $40.56
 4/13/2016 Dale Ho - Taxi from home to Airport UBER                                Travel                               $33.75
 4/13/2016 Dale Ho - Travel from ACLU KS to hotel UBER                             Travel                               $16.53
 4/14/2016 Rodkangyil Danjuma - HILTON GARDEN INN KCK Hotel in KS during           Travel                              $159.63
           PI hearing
 4/14/2016 Rodkangyil Danjuma - Taxi from airport-home Fish v. Kobach P            Travel                               $40.56

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                                                                                American Civil Liberties Union
                                                                             Posted General Ledger Transactions
4/14/2016   Sophia Lakin - ENTERPRISE RENT A CAR in KS during PI hearing         Travel                           $182.23
4/14/2016   Sophia Lakin - HILTON GARDEN INN KCK hotel during PI hearing         Travel                           $165.58
4/14/2016   Dale Ho - HILTON GARDEN INN KCK Hotel during Hearing                 Travel                           $159.63
4/14/2016   Dale Ho - Change fees. DELTA AIRLINES                                Travel                           $797.21
4/14/2016   Dale Ho - Change fees AMERICAN EXPRESS TKT FEE                       Travel (AMEX)                     $22.00
4/15/2016   Dale Ho - Taxi from Airport to home TALLY LEASING CORPORATIO Travel                                    $41.60
4/29/2016   Sophia Lakin - Travel to Kansas for Fish Depositions DELTA AIR       Travel                           $653.60
            LINES
 5/2/2016   Sophia Lakin - Taxi from home to LGA to travel to KS WAY2RIDE        Travel                            $55.01
 5/3/2016   Sophia Lakin - Travel from Kansas City DELTA AIR LINES               Travel                           $191.01
 5/3/2016   Sophia Lakin - Change Fees AMERICAN EXPRESS TKT FEE                  Travel (AMEX)                     $22.00
 5/5/2016   Sophia Lakin - parking at hotel COURTYARD AT OLD TOWN                Travel                            $24.00
 5/5/2016   Sophia Lakin - Hotel in Wichita COURTYARD AT OLD TOWN                Travel                           $610.32
 5/5/2016   Sophia Lakin - taxi from airport to home after KS travel WAY2RIDE    Travel                            $63.36
 5/5/2016   Sophia Lakin - ENTERPRISE RAC Car Rental in KS                       Travel                           $168.36
5/23/2016   Dale Ho - Spakovsky Depo Travel AMTRAK AGENCY X                      Travel                           $316.00
5/23/2016   Dale Ho - booking fees AMERICAN EXPRESS TKT FEE                      Travel (AMEX)                      $9.00
5/24/2016   Dale Ho - Travel to KC for Class Cert Oral Argument DELTA AIRLINES Travel                             $487.12

5/24/2016 Dale Ho - booking fees for travel to Kansas AMERICAN EXPRESS           Travel (AMEX)                      $9.00
5/25/2016 Sophia Lakin - Philadelphia to Washington RT AMTRAK AGENCY X           Travel                           $313.00
5/25/2016 Sophia Lakin - Hotel in Philadelphia during Minnite Deposition         Travel                           $253.86
5/25/2016 Dale Ho - Travel from PHL to NYP AMTRAK AGENCY X                       Travel                            $55.00
5/25/2016 Dale Ho - booking fees for travel from PHL to NYP AMERICAN E           Travel (AMEX)                      $9.00
5/26/2016 Sophia Lakin - Train from Philadelphia to NYC after Minnite            Travel                           $154.00
          Deposition AMTRAK AG
5/26/2016 Sophia Lakin - AMERICAN EXPRESS TKT FEE for KS deposition travel       Travel (AMEX)                     $27.00

5/31/2016 Sophia Lakin - Taxi from Rutgers Camden to Philly for Minnite          Travel                            $15.08
          Deposition
5/31/2016 Dale Ho - Taxi in DC During Spakovsky Depo YELLOW CAB 328              Travel                            $13.81
5/31/2016 Sophia Lakin - Taxi in DC for Spakovsky depo TAXI CHARGE -DC           Travel                            $14.22
5/31/2016 Sophia Lakin - Taxi in Philly for Minnite Depo prep VTS PHIL           Travel                            $24.01
 6/1/2016 Dale Ho - Taxi in Philly during Fish v Kobach Minnite deposition VTS   Travel                             $7.45
          PHIL
 6/1/2016 Dale Ho - Taxi in DC during Fish v Kobach depos                        Travel                            $14.16
 6/1/2016 Dale Ho - Taxi in DC During Fish Kobach depos TAXI CHARGE -D           Travel                             $8.39
 6/1/2016 Sophia Lakin - Taxi in DC for Spakovsky depo                           Travel                            $15.54
 6/1/2016 Sophia Lakin - Flight to Kansas City for Depos/Prep DELTA AIRLINES     Travel                           $959.70

 6/1/2016 Sophia Lakin - in KS for depo prep AMERICAN EXPRESS TKT FEE            Travel (AMEX)                      $9.00
 6/1/2016 Rodkangyil Danjuma - Travel to Defend deposition of expert witness     Travel                           $520.20
          American Airlines
 6/1/2016 Rodkangyil Danjuma - Defend deposition of expert witness, Mi           Travel (AMEX)                      $9.00
 6/2/2016 Dale Ho - SONESTA PHILADELPHIA - Hotel in Philly for Minnite           Travel                           $276.05
          Deposition
 6/2/2016 Dale Ho - Amtrak Ticket change Fees AMTRAK AGENCY X                    Travel                            $52.00

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                                                                             Posted General Ledger Transactions
 6/2/2016   Dale Ho - Ticket change fees AMTRAK AGENCY X                         Travel                            $72.00
 6/2/2016   Dale Ho - RENAISSANCE WASHINGTON HOTEL - Hotel in DC during Travel                                    $223.28
            Spakovsky deposition
 6/2/2016   Sophia Lakin - RENAISSANCE WASHINGTON - hotel in DC for Depo Travel                                   $216.41
            prep
 6/2/2016   Rodkangyil Danjuma - Taxi during deposition related travel           Travel                            $29.26
 6/2/2016   Rodkangyil Danjuma - Taxi during deposition related travel           Travel                            $27.47
 6/2/2016   Sophia Lakin - in Philly for Minnite Depo VTS PHILADELPHIA           Travel                            $13.08
 6/2/2016   Sophia Lakin - Train Change fee AMTRAK AGENCY X                      Travel                           $124.00
 6/3/2016   Rodkangyil Danjuma - HOLIDAY INN GAINESVILLE - Hotel in FL           Travel                           $154.29
            during deposition of expert McDonald
 6/4/2016   Rodkangyil Danjuma - Taxi during travel to deposition of Michael     Travel                            $57.96
            McDonald
 6/6/2016   Sophia Lakin - Taxi while travelling for Fish depos WAY2RIDE         Travel                            $53.16
 6/6/2016   Sophia Lakin - Turnpike Toll, Fish Kobach travel KANSAS TURN         Travel                             $3.00
 6/7/2016   Sophia Lakin - Meeting room rental in Topeka for Depo prep           Travel                           $113.55
 6/7/2016   Sophia Lakin - Turnpike toll KS TURNPIKE AUTHORITY                   Travel                             $3.00
 6/8/2016   Sophia Lakin - RAMADA hotel in KS during deposition                  Travel                           $272.69
 6/8/2016   Sophia Lakin - Travel to Kansas for Class Cert DELTA AIR LINES       Travel                           $839.09
 6/8/2016   Sophia Lakin - HERTZ RAC FIREFLY car in KS during depo prep          Travel                           $203.68
 6/8/2016   Sophia Lakin - For travel to KS for Class Cert Hearing AMEX FEE      Travel (AMEX)                      $9.00
 6/8/2016   Rodkangyil Danjuma - Travel to KS for Class Certification argument Travel                             $469.36
            and deposition Delta Airlines
 6/8/2016   Rodkangyil Danjuma - Class Certification argument and deposi         Travel (AMEX)                      $9.00
 6/9/2016   Sophia Lakin - Taxi home after KS travel WAY2RIDE                    Travel                            $54.41
6/12/2016   Rodkangyil Danjuma - UBER - Taxi to airport to travel to KS          Travel                            $27.47
6/13/2016   Dale Ho - Travel to Airport for Fish Class cert hearing UBER         Travel                            $30.62
6/13/2016   Dale Ho - HILTON GARDEN INN KC - hotel in KC during Class Cert Travel                                 $189.41
            Hearing
6/13/2016   Dale Ho - taxi in KC for Class Cert hearing                          Travel                            $20.00
6/13/2016   Sophia Lakin - Class Cert Hearing - taxi WAY2RIDE                    Travel                            $53.21
6/14/2016   Dale Ho - Taxi from Airport, Class cert hearing related JTL          Travel                            $46.80
6/14/2016   Dale Ho - HERTZ RAC FIREFLY - Car Rental in KS during Class Cert Travel                               $338.48
            Hearing
6/15/2016   Sophia Lakin - HILTON GARDEN INN KC hotel in KC during hearing Travel                                 $201.32
6/15/2016   Rodkangyil Danjuma - Class Certification argument and deposition     Travel                             $7.00
            Parking
6/15/2016   Rodkangyil Danjuma - Turnpike tolls while in Kansas KANSAS           Travel                             $6.00
6/16/2016   Sophia Lakin - INTERCONTINENTAL KANSAS CITY hotel in KC              Travel                           $278.63
            during Depo prep
6/16/2016   Rodkangyil Danjuma - HILTON GARDEN INN KC - Hotel in KS during Travel                                 $603.96
            depositions
6/16/2016   Rodkangyil Danjuma - Taxi while traveling to Kansas TAXI-PAS         Travel                           $107.50
6/16/2016   Rodkangyil Danjuma - BUDGET RENT A CAR - Car in KS during            Travel                           $184.55
            depositions
6/20/2016   Sophia Lakin - Taxi from Richmond Airport to Hotel Airport Richman Travel                              $38.00
            Depo

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                                                                                  American Civil Liberties Union
                                                                               Posted General Ledger Transactions
6/21/2016   Sophia Lakin - Taxi from Airport to 30th St Station PHL TAXI Depo      Travel                            $33.95
            travel
6/22/2016   Sophia Lakin - Taxi from Penn Station to home NYC Yellow Cab after Travel                                $11.16
            Depo travel
7/23/2016   Sophia Lakin - Airfare to Denver for Fish Kobach Tenth Circuit Oral    Travel                           $404.20
            Argument
7/23/2016   Sophia Lakin - Airfare to Denver for Fish Kobach Tenth Circuit Oral    Travel (AMEX)                      $9.00
            Argument
 8/9/2016   Dale Ho - Airfare to Denver for Fish Kobach Tenth Circuit Oral         Travel                           $548.20
            Argument
 8/9/2016   Dale Ho - AMEX fees for travel to Denver Tenth Circuit Oral            Travel (AMEX)                      $9.00
            Argument AMERICAN EXPRESS TK
8/13/2016   Rodkangyil Danjuma - Flight to Denver for 10th Circ appeal U           Travel                           $390.20
8/13/2016   Rodkangyil Danjuma - AMERICAN EXPRESS TKT FEE                          Travel (AMEX)                      $9.00
8/20/2016   Rodkangyil Danjuma - Cab to airport for Denver trip UBER               Travel                            $69.32
8/21/2016   Dale Ho - Taxi from home to Airport UBER                               Travel                            $30.93
8/21/2016   Dale Ho - Taxi in CO during travel for Fish Tenth Circuit Oral         Travel                            $70.00
            Argument
8/22/2016   Sophia Lakin - Taxi to Airport MCGUINNESS MANAGEMENT                   Travel                            $68.76
8/22/2016   Rodkangyil Danjuma - Taxi in Denver UBER                               Travel                            $14.73
8/23/2016   Dale Ho - Taxi from Airport to home QUEENS MEDALLION LSNG IN Travel                                      $42.80
8/23/2016   Sophia Lakin - Taxi from Airport to Hotel UNION TAXI                   Travel                            $65.00
8/23/2016   Rodkangyil Danjuma - taxi back from airport Denver trip GREE           Travel                            $38.75
8/24/2016   Dale Ho - MARRIOTT 33759 DENVER CC - Hotel in CO during Oral Travel                                     $532.44
            Argument
8/24/2016   Sophia Lakin - Taxi from Hotel to DEN UBER                             Travel                            $33.77
8/24/2016   Sophia Lakin - Taxi from JFK to home WAY2RIDE                          Travel                            $68.76
8/24/2016   Sophia Lakin - MARRIOTT 33759 DENVER CC Hotel during Oral              Travel                           $302.94
            Argument
8/24/2016   Rodkangyil Danjuma - MARRIOTT 33759 DENVER CC - Hotel in               Travel                           $341.96
            Denver during Oral Argument
9/23/2016   Dale Ho - Travel to KC for Fish Status Conference DELTA AIRLINES Travel                                 $510.76

9/23/2016 Dale Ho - Travel to KC for Fish Status Conference AMERICAN E           Travel (AMEX)                        $9.00
9/26/2016 Sophia Lakin - Taxi in NYC during KS related travel ARTHUR CAB         Travel                              $30.96
          LEASING CORP
9/26/2016 Sophia Lakin - Change Fee AMERICAN EXPRESS TKT FEE                     Travel (AMEX)                       $22.00
9/27/2016 Rodkangyil Danjuma - trip to Kansas AMERICAN EXPRESS TKT FEE           Travel (AMEX)                        $9.00
9/27/2016 Rodkangyil Danjuma - trip to Kansas Delta Airlines                     Travel                             $683.40
9/28/2016 Sophia Lakin - Fish Kobach Show Cause Contempt Hearing DELTA           Travel                             $848.10
          AIRLINEs
9/29/2016 Sophia Lakin - UNITED MGMT GROUP INC taxi in NYC during KS             Travel                              $52.01
          related travel
9/29/2016 Sophia Lakin - Enterprise RAC Car in KS during Show Cause hearing      Travel                              $30.03

10/4/2016 Sophia Lakin - Fish Pretrial Conference travel DELTA AIR LINES         Travel                             $453.20
10/4/2016 Sophia Lakin - AMEX fee for Travel to KC AMERICAN EXPRESS TK           Travel (AMEX)                       $18.00

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                                                                              American Civil Liberties Union
                                                                           Posted General Ledger Transactions
10/19/2016   Sophia Lakin - Taxi to travel to KS for depo prep                 Travel                            $50.81
10/20/2016   Sophia Lakin - RESIDENCE INN KC CCP Hotel in KC during depo       Travel                           $220.46
             prep
10/20/2016   Sophia Lakin - Enterprise RAC Car in KS during depo prep          Travel                           $100.81
10/24/2016   Sophia Lakin - Taxi to travel to KS for depo prep                 Travel                            $63.36
  2/1/2017   Dale Ho - Travel to KC for Summary Judgment Hearing DELTA         Travel                           $262.40
             AIRLINES
  2/1/2017   Dale Ho - AMEX Fees Travel to KC for SJ Hearing AMERICAN EXP      Travel (AMEX)                      $9.00
 2/10/2017   Sophia Lakin - Travel to KC for Summary Judgment Hearing. DELTA Travel                             $286.40
             AIRLINEs
 2/10/2017   Sophia Lakin - Travel to KC for Summary Judgment Hearing. AMEX    Travel (AMEX)                      $9.00
             FEE
 2/22/2017   Rodkangyil Danjuma - Fish v. Kobach - Travel to Kansas for        Travel                           $538.00
             Summary Jdgmt Oral Arg
 2/27/2017   Dale Ho - Taxi to Moot. NYC-TAXI VERIFONE                         Travel                            $27.25
 2/27/2017   Dale Ho - Taxi home from Moot at Dechert. TAXI CLUB MANAGEME Travel                                 $44.15

  3/2/2017   Sophia Lakin - Taxi to Airport to travel to SJ Hearing CURB         Travel                          $60.41
  3/2/2017   Rodkangyil Danjuma - Taxi in KC during hearing                      Travel                          $13.33
  3/2/2017   Rodkangyil Danjuma - Taxi in KC during hearing                      Travel                          $14.09
  3/2/2017   Rodkangyil Danjuma - Taxi from airport in KS                        Travel                          $25.42
  3/2/2017   Rodkangyil Danjuma - Taxi to airport to travel to KS                Travel                          $59.75
  3/3/2017   Sophia Lakin - Taxi in NYC after KS related travel                  Travel                          $11.81
  3/3/2017   Sophia Lakin - Taxi from Airport GREEN APPLE MANAGEMENT CO          Travel                          $48.96
  3/4/2017   Dale Ho - HILTON GARDEN INN KC - hotel in KC during Fish Depos      Travel                         $218.40
  3/4/2017   Dale Ho - Taxi from Airport to home NYC YELLOW CAB                  Travel                          $46.62
  3/4/2017   Sophia Lakin - HILTON GARDEN INN KC hotel in KC during hearing      Travel                         $218.40
  3/4/2017   Sophia Lakin - HILTON GARDEN INN KC hotel in KC during hearing      Travel                         $218.40
  3/4/2017   Rodkangyil Danjuma - Fish v. Kobach 55 STAN OPERATING CORP          Travel                          $58.55
             Taxi during Fish related travel
  3/4/2017   Rodkangyil Danjuma - HILTON GARDEN INN KC Hotel in KS during        Travel                         $227.86
             hearing
  3/6/2017   Dale Ho - Airfare to KC for Fish depos DELTA AIR LINES              Travel                         $384.41
  3/6/2017   Dale Ho - Amex Booking Fee for trip to Depos AMERICAN EXPRES        Travel (AMEX)                    $9.00
 3/23/2017   Dale Ho - Travel to Norfolk for Richman Depo DELTA AIR LINES        Travel                         $680.00
 3/23/2017   Dale Ho - AMEX Fees travel to Norfolk AMERICAN EXPRESS TKT F        Travel (AMEX)                    $9.00
 3/27/2017   Dale Ho - HYATT PLACE TOPEKA Hotel in Topeka during depositions     Travel                         $290.38

 3/27/2017   Dale Ho - Parking in Topeka Garage Parking in KC                    Travel                           $3.00
 3/28/2017   Dale Ho - Parking in Topeka Garage Parking                          Travel                          $11.00
 3/28/2017   Sophia Lakin - Train to PHL for Deposition AMTRAK AGENCY            Travel                         $112.00
 3/28/2017   Sophia Lakin - AMEX fees for PHL Travel AMERICAN EXPRESS TKT        Travel (AMEX)                    $9.00
 3/29/2017   Dale Ho - Taxi from Airport to home TAXI CREDIT CARD CORP           Travel                          $47.25
 3/29/2017   Dale Ho - HERTZ RAC FIREFLY - Car Rental in KS during Depositions   Travel                         $297.09

 3/29/2017 Dale Ho - Change Fee to change Dale's KC to NY flights AMERI          Travel (AMEX)                    $9.00
 3/29/2017 Dale Ho - Parking in Topeka Garage Parking Garage                     Travel                           $5.00

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                                                                            American Civil Liberties Union
                                                                         Posted General Ledger Transactions
3/29/2017 Sophia Lakin - Change fee on Amex AMTRAK AGENCY X                  Travel                            $35.00
3/29/2017 Dale Ho - Exchange fee for later flight DELTA AIR LINES            Travel                           $200.00
3/30/2017 Dale Ho - Travel to BOS for expert depositions - Hersch and        Travel                           $166.91
          Ansolabehere DELTA AIR LIN
3/30/2017 Dale Ho - Travel to Boston for Depositions. AMERICAN EXPRESS         Travel (AMEX)                    $9.00
3/30/2017 Sophia Lakin - RITTENHOUSE 1715 HOTEL in PHL during Minnite          Travel                         $215.00
          Deposition
3/30/2017 Sophia Lakin - Taxi from Station to Hotel CURB                       Travel                          $10.19
3/31/2017 Sophia Lakin - Changed to later train. AMTRAK AGENCY X               Travel                          $56.00
3/31/2017 Sophia Lakin - Train change fee AMTRAK AGENCY X                      Travel                          $29.00
3/31/2017 Sophia Lakin - Taxi from Hotel to 30th St. Station. Lyft             Travel                           $7.02
 4/2/2017 Dale Ho - Meeting space in Boston to meet with experts for           Travel                         $147.00
          deposition prep. BREATHER.COM
 4/4/2017 Dale Ho - Fare difference. Booked later flight. AMERICAN AIR         Travel                         $166.97
 4/4/2017 Dale Ho - Taxi from LGA to home. GOTHAM YELLOW LLC                   Travel                          $45.35
 4/4/2017 Dale Ho - Change fee to later flight. AMERICAN EXPRESS TKT F         Travel (AMEX)                   $22.00
 4/4/2017 Dale Ho - THE LANGHAM HOTEL BOSTON - Hotel in Boston during          Travel                         $695.74
          depo prep with expert
 4/4/2017 Sophia Lakin - Travel to VA for Richman Deposition DELTA AIR         Travel                         $680.00
 4/4/2017 Sophia Lakin - Booking Fees for travel to Norfolk VA AMERICA         Travel (AMEX)                    $9.00
 4/5/2017 Dale Ho - Taxi from hotel to BOS Airport. LYFT.COM                   Travel                          $12.87
4/20/2017 Sophia Lakin - Taxi from home to LGA airport. Lyft                   Travel                          $44.62
4/21/2017 Dale Ho - Taxi from LGA to home. TAXI CLUB MANAGEMENT INC            Travel                          $42.25
4/21/2017 Sophia Lakin - COURTYARD BY MARRIOTT Hotel in VA during              Travel                         $103.46
          Richman Depo
4/21/2017 Sophia Lakin - Taxi from LGA to home. GOTHAM YELLOW LLC              Travel                          $45.96
4/21/2017 Dale Ho - Parking at hotel. COURTYARD BY MARRIOTT NORFOLK            Travel                          $19.00
4/21/2017 Dale Ho - COURTYARD BY MARRIOTT NORFOLK hotel in VA during           Travel                         $103.46
          deposition
 6/2/2017 Dale Ho - in KC for Pretrial Conference. DELTA AIR LINES             Travel                         $757.73
 6/2/2017 Dale Ho - in KC for Pretrial Conference. AMERICAN EXPRESS TK         Travel   (AMEX)                  $9.00
 6/3/2017 Sophia Lakin - Travel to KC for Pretrial conference. DELTA A         Travel                         $716.01
 6/4/2017 Sophia Lakin - Amex fee for travel to KC. AMERICAN EXPRESS T         Travel   (AMEX)                  $9.00
 6/5/2017 Sophia Lakin - Taxi from home to Airport. Lyft                       Travel                          $57.76
 6/5/2017 Sophia Lakin - AMEX fee for Hotel in KC. AMERICAN EXPRESS TK         Travel   (AMEX)                  $9.00
 6/5/2017 Dale Ho - Lunch in KC during pretrial conference. MARBLE TOP         Travel                          $13.76
 6/5/2017 Dale Ho - Taxi home after travelling from KS. NYC YELLOW CAB         Travel                          $42.88
 6/6/2017 Dale Ho - Taxi to LGA airport from home. LYFT.COM                    Travel                          $64.28
7/19/2017 Dale Ho - Travel to Kansas for Kobach Deposition. DELTA AIR          Travel                         $408.65
7/19/2017 Dale Ho - AMEX fee for travel to KC. AMERICAN EXPRESS TKT FE         Travel   (AMEX)                  $9.00
7/26/2017 Rodkangyil Danjuma - Flight to KS for lit related travel DELTA AIR   Travel                         $538.00
          LINES
 8/2/2017 Rodkangyil Danjuma - Taxi to airport to travel to KS                 Travel                          $49.08
 8/3/2017 Rodkangyil Danjuma - HILTON GARDEN INN KC - Hotel in KS during       Travel                         $185.62
          depositions
 8/3/2017 Rodkangyil Danjuma - Fish v. Kobach PHILLIPS 66-CONOCO-76 CA         Travel                           $6.74


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                                                                       American Civil Liberties Union
                                                                    Posted General Ledger Transactions
 8/3/2017 Rodkangyil Danjuma - Fish v. Kobach ALL TAXI MANAGEMENT INC Travel                              $53.16
 8/3/2017 Rodkangyil Danjuma - ALAMO RENT A CAR MCIT71 Car Rental in KS Travel                           $121.50

 8/3/2017   Dale Ho - HILTON GARDEN INN KC - Hotel in KC during Hearing               Travel             $162.27
 8/3/2017   Dale Ho - Travel to KC for Kobach deposition. LYFT.COM                    Travel              $36.12
 8/3/2017   Dale Ho - Taxi home after travelling from KS. NYC TAXI GROUP              Travel              $43.50
1/22/2018   Sophia Lakin - Travel to KS for witness trial prep.                       Travel             $425.44
1/22/2018   Sophia Lakin - Travel to KS for witness prep. AMERICAN EXPRE              Travel (AMEX)        $9.00
2/14/2018   Lorraine Minnite - Expert Lori Minnite's travel to KC for Fish trial.     Travel             $251.31
2/14/2018   Sophia Lakin - Travel to KS for Fish trial. AMERICAN EXPRESS              Travel (AMEX)        $9.00
2/14/2018   Sophia Lakin - Taxi to airport to travel to hearing. Lyft                 Travel              $47.42
2/14/2018   Emily Zhang - Travel to KS for Trial                                      Travel             $165.30
2/15/2018   Dale Ho - Travel to BOS to meet with experts. DELTA AIR LINE              Travel             $193.25
2/15/2018   Dale Ho - Travel to BOS to meet with experts. AMERICAN EXPRE              Travel (AMEX)        $9.00
2/15/2018   Sophia Lakin - Enterprise Car Rental in KS for pretrial travel to KS.     Travel             $115.56
2/15/2018   Sophia Lakin - Taxi home from LGA after witness prep in KS.               Travel              $56.00
2/15/2018   Sophia Lakin - Travel to KS for Fish trial. Delta                         Travel             $189.72
2/15/2018   Sophia Lakin - Residence Inns Hotel in Kansas for pre trial prep.         Travel             $188.00
2/15/2018   Sophia Lakin - Payment of Toll on KS turnpike. KANSAS TURNPIKE            Travel               $3.25
            AUTHORITY.
2/15/2018   Sophia Lakin - Expert's travel to KS. AMERICAN EXPRESS TKT F              Travel (AMEX)        $9.00
2/22/2018   Dale Ho - Taxi from BOS to expert meetings - Hersch and                   Travel              $27.48
            Ansolabehere - for trial testimony prep. BOSTON TAXI VTS
2/22/2018   Dale Ho - Taxi to Airport to travel to BOS. LYFT.COM                      Travel              $38.37
2/23/2018   Dale Ho - Taxi home after travelling from BOS. CCRMT MANAGME              Travel              $45.24
2/23/2018   Dale Ho - Taxi to BOS airport after expert meetings. LYFT.CO              Travel              $14.16
2/23/2018   Dale Ho - Travel to Kansas for Fish trial. DELTA AIR LINES                Travel             $466.65
2/23/2018   Dale Ho - Travel to KC for Fish trial AMERICAN EXPRESS TKT F              Travel (AMEX)        $9.00
2/24/2018   Dale Ho - Expert Eitan Hersh's travel to Fish trial. DELTA A              Travel             $343.06
2/24/2018   Dale Ho - Travel to KC for 2nd week of trial. DELTA AIR LINE              Travel             $189.72
2/24/2018   Dale Ho - Paralegal's travel to KC for Fish trial. AMERICAN               Travel             $258.47
2/27/2018   Dale Ho - Expert Steve Ansolabehere's travel to trial DELTA               Travel             $363.76
2/27/2018   Sophia Lakin - Travel back to/from NYC after 1st week of trial.           Travel             $676.26
 3/1/2018   Lori Minnite - Change fee to change Lori's flight to KS due to delay in   Travel             $415.00
            anticipated trial schedule
 3/3/2018   Sophia Lakin - Taxi to airport to travel to KS trial. Lyft                Travel              $48.16
 3/4/2018   Rodkangyil Danjuma - UBER to Airport to travel to KS                      Travel              $50.25
 3/4/2018   Lori Minnite - Taxi from Airport to participate in Trial                  Travel              $56.77
 3/5/2018   Dale Ho - Taxi to Airport to travel to trial in KS. LYFT.COM              Travel              $41.53
 3/8/2018   Dale Ho - Expert Ansolabehere's flight changed to accommodate             Travel             $330.33
            delay in anticipated trial schedule. DELTA AIR
 3/9/2018   Dale Ho - Paralegal's return after trial. DELTA AIR LINES                 Travel             $342.80
3/10/2018   Dale Ho - Dale's return to NYC after trial concluded. DELTA AIR           Travel             $171.95
            LINES
3/11/2018   Sophia Lakin - Return to NYC after conclusion of trial.                   Travel             $338.29
3/11/2018   Dale Ho - Expert Ansolabehere's travel to second week. DELTA              Travel             $497.04


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                                                                                American Civil Liberties Union
                                                                             Posted General Ledger Transactions
3/11/2018 Dale Ho - Expert Hersch's flights changed to accommodate delay in Travel                                 $353.99
          anticipated trial schedule. DELTA AIR LINES
3/12/2018 Rodkangyil Danjuma - Travelling for Fish v. Kobach Delta after trial   Travel                            $405.80

3/12/2018   Dale Ho - Paralegal's travel to KC for 2nd week of hearing. UNI         Travel                         $389.03
3/13/2018   Lori Minnite - Lorraine Minnite's return to PHL after trial             Travel                         $463.71
3/13/2018   Dale Ho - Change fee to change Eitan Hersch's flights. DELTA AIR        Travel                           $8.70
3/13/2018   Sophia Lakin - Taxi in KC during trial. Lyft                            Travel                          $12.18
3/13/2018   Emily Zhang - The Fontaine hotel for Expert witness Eitan Hersh         Travel                         $187.93
3/13/2018   Emily Zhang - The Fontaine Hotel hotel for Expert witness Stephen       Travel                         $187.93
            Ansolabehere
3/14/2018   Emily Zhang - Lyft in KS                                                Travel                           $28.00
3/14/2018   Emily Zhang - Lyft in KS                                                Travel                           $28.00
3/14/2018   Emily Zhang - Lyft in KS                                                Travel                           $39.00
3/14/2018   Emily Zhang - Hilton Hotel during Trial                                 Travel                        $1,358.00
3/14/2018   Emily Zhang - Travel from Trial                                         Travel                          $224.00
3/14/2018   Sophia Lakin - Car Rental in KS during Trial                            Travel                          $530.40
3/14/2018   Rodkangyil Danjuma - Taxi home after trial                              Travel                           $52.66
3/14/2018   Rodkangyil Danjuma - Gas for travelling (Fish V Kobach) PHIL            Travel                           $10.64
3/14/2018   Dale Ho - Taxi home after conclusion of trial. NYC-TAXI VERI            Travel                           $56.29
3/14/2018   Dale Ho - Taxi in KS during trial. LYFT.COM                             Travel                           $15.13
3/14/2018   Rodkangyil Danjuma - Car Rental in KS during Trial                      Travel                          $463.03
3/14/2018   Sophia Lakin - Taxi home after conclusion of trial                      travel                           $65.03
3/15/2018   Dale Ho - Hilton Garden Inn Kansas City Hotel in KC during Trial        Travel                        $1,358.00
3/15/2018   Lila Carpenter - Hotel in KC during Trial                               travel                        $1,493.80
3/15/2018   Sophia Lakin - Hotel in KC during Trial                                 travel                        $1,493.80
3/15/2018   Rodkangyil Danjuma - Hotel While on Trial for Fish V Kobach             Travel                        $1,358.00
3/15/2018   Dale Ho - Taxi to airport after trial. LYFT.COM                         Travel                           $31.00
3/16/2018   Rodkangyil Danjuma - Flying for Fish V Kobach Delta                     Travel                          $817.01
3/17/2018   Dale Ho - Taxi to Airport. MANHATTAN CHECKER MANAGEM                    Travel                           $31.60
3/18/2018   Dale Ho - Taxi from KC to airport. ALL AMERICA CO., INC                 Travel                           $57.00
3/19/2018   Dale Ho - Taxi from home to LGA airport. LYFT.COM                       Travel                           $39.07
3/19/2018   Dale Ho - Hotel for second week of trial                                Travel                          $135.80
3/19/2018   Emily Zhang Lila Carpenter - Flights for Paralegal and Fellow back to   Travel                          $768.60
            NYC after conclusion of KS trial
3/20/2018   Emily Zhang- Travel to 2nd week of trial                                Travel                         $353.30
3/20/2018   Rodkangyil Danjuma - Enterprise Car Rental                              Travel                          $97.12
3/20/2018   Rodkangyil Danjuma - TALLY LEASING CORPORATION - taxi                   Travel                          $74.10
3/20/2018   Dale Ho - Dale's return to NYC after conclusion of trial. DELTA         Travel                         $295.00
3/20/2018   Lila Carpenter - Hotel in KC during 2nd week of Trial                   Travel                         $135.80
3/20/2018   Emily Zhang - Hotel in KC during 2nd week of Trial                      Travel                         $135.80
3/21/2018   Rodkangyil Danjuma - HILTON GARDEN INN KC hotel 2nd week of             Travel                         $135.80
            trial
3/21/2018   Dale Ho - Taxi from hotel to Airport after second week of trial         Travel                           $34.90
3/24/2018   Dale Ho - Meeting space reservation fee. HILTON GARDEN INN K            Travel                        $2,418.87
1/23/2019   Dale Ho - Travel to Utah for Oral Argument in Fish case. DELTA          Travel                         $836.59
            AIRLINES.

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                                                                         Posted General Ledger Transactions
 1/23/2019 Dale Ho - Travel to SLC for Fish Kobach argument. AMERICAN E      Travel (AMEX)                           $9.00
 2/12/2019 Dale Ho - Travel to KC for moot. DELTA AIR LINES                  Travel                                $459.60
 2/13/2019 Dale Ho - Booking fee for travel from Utah. AMERICAN EXPRESS TKT Travel (AMEX)                            $9.00

 2/26/2019   Dale   Ho   - Travel from SLC to JFK after argument. (change) DE    Travel                            $289.00
  3/7/2019   Dale   Ho   - Taxi to airport to travel to KS                       Travel                             $43.23
  3/8/2019   Dale   Ho   - Taxi from Lawrence, KS to Kansas City                 Travel                             $69.45
  3/8/2019   Dale   Ho   - Taxi home after travelling from KS                    Travel                             $54.12
  3/9/2019   Dale   Ho   - Hotel in KC during Moot                               Travel                            $248.60
  3/9/2019   Dale   Ho   - Taxi from hotel to KC airport                         Travel                             $28.42
 3/17/2019   Dale   Ho   - Taxi from home to airport                             Travel                             $51.57
 3/17/2019   Dale   Ho   - Taxi from airport to Hotel                            Travel                             $31.25
 3/18/2019   Dale   Ho   - Taxi home after returning from argument in Utah       Travel                             $49.30
 3/19/2019   Dale   Ho   - Hotel in SLC during Oral Argument                     Travel                            $402.40
             *note that dates reflect dates of charge, not dates of travel       TOTAL                         $56,613.52

OFFICE SUPPLIES, BOOKS AND SUBSCRIPTIONS
 1/27/2016 Sophia Lakin - book for Kansas Proof of Citizenship case research     Book/Subs/Inter                    $32.61
 3/12/2016 Rodkangyil Danjuma - Article access for Fish v. Kobach research       Book/Subs/Inter                     $0.99
 4/11/2016 Rodkangyil Danjuma - Account to access Kansas City Star Article for   Book/Subs/Inter                    $12.95
           research
 4/30/2016 Dale Ho - Book for Spakovsky Depo Prep AMAZON.COM LLC                 Book/Subs/Inter                    $13.70
 5/20/2016 Dale Ho - Spakovsky depo prep materials AMAZON.COM LLC                Book/Subs/Inter                    $41.22
 4/19/2017 Sophia Lakin - External media for Deposition. WALGREENS #141          Office Supplies                    $27.21
 4/27/2017 Juan Diaz - External media to send Deposition docs Staples            Office Supplies                    $71.82
  3/3/2018 Lila Carpenter - Miscellaneous Supplies for Trial Team/War Target     Office Supplies                   $267.17
  3/5/2018 Dale Ho - office supplies during trial. CVS/PHARMACY #05697           Office Supplies                    $45.79
  3/5/2018 Dale Ho - office supplies during trial. OFFICE DEPOT 239              Office Supplies                   $374.70
                                                                                 TOTAL                            $888.16

PRINTING AND PUBLISHING FEES
  6/8/2016 Sophia Lakin - copies at hotel RAMADA                                 Pring & Pub                         $7.31
 6/14/2016 Sophia Lakin - printing during stay INTERCONTINENTAL KANAS C          Pring & Pub                        $12.85
 8/21/2016 Dale Ho - Printing at Hotel HOTEL BUSINESS CENTERS for oral           Pring & Pub                        $24.28
           argument in Tenth Circuit
                                                                                 TOTAL                             $44.44

COURIER
 8/23/2016 Sophia Lakin - UPS Fees THE UPS STORE #5172-B                         Courier                            $41.24
 8/24/2016 Dale Ho - Package handling fee MARRIOTT 33759 DENVER CC               Courier                            $15.00
 8/24/2016 Sophia Lakin - Handling package fees MARRIOTT 33759 DENVER C          Courier                            $10.00
                                                                                 TOTAL                             $66.24

                                                                                 TOTAL OF LISTED EXPENSES     $243,951.65




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